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                EXHIBIT A
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Exhibit No.   Description                                                                  Beginning Bates      End Bates
PX-0001       FILING - USA v. Fields, Guilty Plea Form (Federal)                           318cr1100000312      318cr1100000312
PX-0002       FILING - Photo of James Fields' bedroom                                      318cr1100000331      318cr1100000331
PX-0003       FILING - Photo of James Fields' bedroom                                      318cr1100000353      318cr1100000353
PX-0004       FILING - USA v. Fields, Statement of Offense (Federal)                       318cr1100000375      318cr1100000378
PX-0005       FILING - FBI document                                                        318cr1100000409      318cr1100000411
PX-0006       INTENTIONALLY LEFT BLANK
PX-0007       FILING - USA v. Fields, Transcript of May 9, 2018 Hearing                    318cr1100000457      318cr1100000461
PX-0008       FILING - Federal Indictment Against James Alex Fields                        318cr1100000536      318cr1100000545
PX-0009       FILING - USA v. Fields, Sentencing Memorandum of the United States           318cr1100000607      318cr100000656
PX-0010       FILING - USA v. Fields, Transcript of June 28, 2019 Sentencing Hearing       318cr1100000665      318cr1100000850
PX-0011       FILING - USA v. Fields, Exhibit and Witness List                             318cr1100000897      318cr1100001037
PX-0012       VID - Video recording of car attack                                          318cr1100001039      318cr1100001039
PX-0013       VID - Video recording of James Fields on August 12, 2017                     318cr1100001042      318cr1100001042
PX-0014       VID - Video recording of Redpump Video                                       318cr1100001043      318cr1100001043
PX-0015       PHOTO - Photo of events after car attack                                     ALVARADO00000016     ALVARADO00000016
              EMAIL - Email from Fairfax Oral & Maxillofacial Surgery to Chelsea
PX-0016       Alvarado                                                                     ALVARADO00000233-C   ALVARADO00000233-C
              EMAIL - Email from Fairfax Oral & Maxillofacial Surgery billing to Chelsea
PX-0017       Alvarado                                                                     ALVARADO00000234-C   ALVARADO00000234-C
PX-0018       SMS - Chelsea Alvarado to Mami                                               ALVARADO00000249-C   ALVARADO00000249-C
PX-0019       SMS - Chelsea Alvarado to Jessica                                            ALVARADO00000255-C   ALVARADO00000255-C
PX-0020       SMS - Chelsea Alvarado to Dr. P.                                             ALVARADO00000258-C   ALVARADO00000258-C
PX-0021       SMS - Chelsea Alvarado to Dr. P.                                             ALVARADO00000259-C   ALVARADO00000259-C
PX-0022       SMS - Chelsea Alvarado to Aubreisha H.                                       ALVARADO00000269-C   ALVARADO00000269-C
PX-0023       EMAIL - Email from Chelsea Alvarado to Joseph T.                             ALVARADO00000270-C   ALVARADO00000278-C
              MEDICAL - Billing record for Chelsea X. Alvarado from Memorial Regional
PX-0024       Medical Center                                                               ALVARADO00000279-C   ALVARADO00000279-C
              MEDICAL - Receipt for Chelsea X. Alvarado from Neurology Clinic at
PX-0025       SFMC                                                                         ALVARADO00000280-C   ALVARADO00000280-C
              MEDICAL - Receipt for Chelsea X. Alvarado from Commonwealth Family
PX-0026       Practice                                                                     ALVARADO00000281-C   ALVARADO00000281-C
              MEDICAL - Billing record for Chelsea X. Alvarado from Commonwealth
PX-0027       Radiology, PC                                                                ALVARADO00000282-C   ALVARADO00000282-C
              MEDICAL - Receipt for Chelsea X. Alvarado from Neurology Clinic at
PX-0028       SFMC                                                                         ALVARADO00000283-C   ALVARADO00000283-C
PX-0029       MEDICAL - Billing record for Chelsea X. Alvarado from Patient First          ALVARADO00000284-C   ALVARADO00000284-C
              MEDICAL - Receipt for Chelsea X. Alvarado from Bon Secours Health
PX-0030       System                                                                       ALVARADO00000285-C   ALVARADO00000285-C
              MEDICAL - Health record for Chelsea X. Alvarado from Tucker Psychiatric
PX-0031       Clinic                                                                       ALVARADO00000315-C   ALVARADO00000328-C

PX-0032       MEDICAL - Health record for Chelsea X. Alvarado's from Norma M., Ph.D. ALVARADO00000329-C         ALVARADO00000356-C
              MEDICAL - Health record for Chelsea X. Alvarado from Privia Medical
PX-0033       Group - Commonwealth Medical Practice                                      ALVARADO00000357-C     ALVARADO00000365-C
PX-0034       MEDICAL - Health record for Chelsea X. Alvarado from Patient First         ALVARADO00000389-C     ALVARADO00000394-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for Chelsea
PX-0035       Alvarado from Howard Hughes Medical Institute                              ALVARADO00000411-C     ALVARADO00000412-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for Chelsea
PX-0036       Alvarado from A Village Youth & Family Services                            ALVARADO00000413-C     ALVARADO00000414-C
PX-0037       MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours           ALVARADO00000417-C     ALVARADO00000417-C
PX-0038       MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours           ALVARADO00000464-C     ALVARADO00000470-C
              MEDICAL - Certification for health record for Chelsea X. Alvarado from Bon
PX-0039       Secours                                                                    ALVARADO00000471-C     ALVARADO00000472-C
              MEDICAL - Communications regarding request for Chelsea X. Alvarado’s
PX-0040       medical records from Patient First Corp – VA                               ALVARADO00000473-C     ALVARADO00000476-C
PX-0041       MEDICAL - Health record for Chelsea X. Alvarado from MCA Network           ALVARADO00000477-C     ALVARADO00000485-C
              DOC - Offer letter to Chelsea Alvarado from HHMIJ, Janelia Research
PX-0042       Campus                                                                     ALVARADO00000486-C     ALVARADO00000486-C
              MEDICAL - Health record for Chelsea X. Alvarado from Privia Medical
PX-0043       Group - Commonwealth Family Practice                                       ALVARADO00000487-C     ALVARADO00000508-C
              MEDICAL - Health record for Chelsea X. Alvarado from Virginia
PX-0044       Endocrinology Consultants                                                  ALVARADO00000509-C     ALVARADO00000528-C
PX-0045       MEDICAL - Insurance record for Chelsea X. Alvarado from Aetna              ALVARADO00000529-C     ALVARADO00000566-C

PX-0046       MEDICAL - Summary of claims paid by insurance for Chelsea X. Alvarado        ALVARADO00000567-C   ALVARADO00000699-C
              MEDICAL - Insurance record for Chelsea X. Alvarado from
PX-0047       UnitedHealthcare Insurance Company                                           ALVARADO00000700-C   ALVARADO00000920-C
PX-0048       MEDICAL - Insurance record for Chelsea X. Alvarado from Aetna                ALVARADO00000935-C   ALVARADO00000969-C
PX-0049       MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours             ALVARADO00000970-C   ALVARADO00001013-C
PX-0050       TWITTER – Tweet by Chelsea Alvarado                                          ALVARADO00001173-C   ALVARADO00001173-C
PX-0051       FB - Facebook post by Chelsea Alvarado                                       ALVARADO00001174-C   ALVARADO00001174-C
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Exhibit No.   Description                                                                 Beginning Bates       End Bates
PX-0052       FB: Direct message from Chelsea Alvarado to Brea                            ALVARADO00001178-C    ALVARADO00001178-C
PX-0053       FB - Direct message from Chelsea Alvarado to Luis                           ALVARADO00001179-C    ALVARADO00001179-C
PX-0054       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001201-C    ALVARADO00001201-C
PX-0055       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001203-C    ALVARADO00001203-C
PX-0056       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001204-C    ALVARADO00001204-C
PX-0057       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001209-C    ALVARADO00001209-C
PX-0058       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001210-C    ALVARADO00001210-C
PX-0059       FB - Facebook message from Chelsea Alvarado to John G.                      ALVARADO00001362-C    ALVARADO00001362-C
PX-0060       PHOTO - Photo of Natalie Romero's injuries                                  ALVARADO00001366-C    ALVARADO00001366-C
PX-0061       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001367-C    ALVARADO00001367-C
PX-0062       PHOTO - Photo of Chelsea Alvarado's injuries                                ALVARADO00001367-C    ALVARADO00001367-C
PX-0063       MEDICAL - Health record for Chelsea Alvarado                                ALVARADO00001436-C    ALVARADO00001448-C
              MEDICAL - Receipt for Chelsea Alvarado from Bon Secours St. Francis
PX-0064       Medical Center                                                              ALVARADO00001449      ALVARADO00001449
PX-0065       DOC - Letter from Commonwealth Family Practice to Chelsea Alvarado          ALVARADO00001450      ALVARADO00001450

              PR - AT&T - Phone Records for Matthew Heimbach (Subscriber Information,
              Historical Precision Location Information, Wireline Information, Response
PX-0066       Cover Sheet & Certification, Records Key, and International Information)    ATT_00000001          ATT_00000009
              PR - AT&T - Wireline Information for Nathan Damigo, Michael Hill, League
PX-0067       of the South, Elliott Kline, and Robert "Azzmador" Ray                      ATT_00000010          ATT_00000010
PX-0068       PR - AT&T - Wireless Subscriber Information for League of the South         ATT_00000011          ATT_00000011
              PR - AT&T - Historical Precision Location Information for Nathan Damigo,
PX-0069       Elliott Kline, and Robert "Azzmador" Ray                                    ATT_00000012          ATT_00000012
              PR - AT&T - Phone Records for Nathan Damigo, Michael Hill, League of the
              South, Elliott Kline, and Robert "Azzmador" Ray (Wireless Subscriber
PX-0070       Information, International Information, and Records Key)                    ATT_00000013          ATT_00000015

              PR - AT&T - Mobility (with cell location) Information for Nathan Damigo,
PX-0071       Michael Hill, League of the South, Elliott Kline, and Robert "Azzmador" Ray ATT_00000016          ATT_00000016
              PR - AT&T - Phone Records for Elliott Kline (Wireline Information, Records
              Key, Wireless Subscriber Information, Mobility (with cell location), Historical
PX-0072       Precision Location Information)                                                 ATT_00000017      ATT_00000021
              PR - AT&T - Phone Records for Matthew Parrott (Historical Precision
              Location Information, International Information, Response Cover Sheet &
              Certification, Wireless Subscriber Information, Records Key, Wireline
PX-0073       Information, Subpoena to AT&T)                                                  ATT_00000022      ATT_00000029
              PR - AT&T - Phone Records for Michael C. (Response Cover Sheet &
              Certification, International Information, Wireless Subscriber Information,
PX-0074       Records Key, and Historical Precision Location Information)                     ATT_00000030      ATT_00000035
              PR - AT&T - Historical Precision Location Information for Christopher
PX-0075       Cantwell                                                                        ATT_00000036      ATT_00000036
              PR - AT&T - Phone Records for Richard Spencer (Wireless Subscriber
PX-0076       Information, International Information)                                         ATT_00000037      ATT_00000039
PX-0077       PR - AT&T - International Information for Matthew Parrott                       ATT_00000040      ATT_00000040
PX-0078       PR - AT&T - Wireless Subscriber Information for Richard Spencer                 ATT_00000041      ATT_00000041
PX-0079       PR - AT&T - Wireless Subscriber Information for Christopher Cantwell            ATT_00000042      ATT_00000042
PX-0080       PR - AT&T - Response Cover Sheet and Certification for Richard Spencer          ATT_00000043      ATT_00000043
PX-0081       PR - AT&T - AT&T Records Key for Matthew Parrott                                ATT_00000044      ATT_00000044
              PR - AT&T - AT&T Records Key & Response Cover Sheet & Certification
PX-0082       for Christopher Cantwell                                                        ATT_00000045      ATT_00000046
PX-0083       PR - AT&T - AT&T Records Key for Richard Spencer                                ATT_00000047      ATT_00000047
PX-0084       PR - AT&T - Wireline Information for Christopher Cantwell                       ATT_00000048      ATT_00000048
PX-0085       PR - AT&T - Wireline Information for Matthew Parrott                            ATT_00000049      ATT_00000049
PX-0086       PR - AT&T - AT&T Records Key for Richard Spencer                                ATT_00000050      ATT_00000050
              PR - AT&T - Phone Records for Christopher Cantwell (Mobility (with cell
PX-0087       location) Information                                                           ATT_00000051      ATT_00000052
PX-0088       PR - AT&T - Response Cover Sheet and Certification for Matthew Parrott          ATT_00000053      ATT_00000053
              PR - AT&T - Phone Records for Richard Spencer (Wireline Information,
              Subpoena to AT&T, Historical Precision Location Information, Response
PX-0089       Cover Sheet & Certification)                                                    ATT_00000054      ATT_00000058
PX-0090       PR - AT&T - Mobility (with cell location) Information for Matthew Parrott       ATT_00000059      ATT_00000059
              PR - AT&T Phone Records for Richard Spencer (Mobility (with cell location)
PX-0091       Information)                                                                    ATT_00000060      ATT_00000061
PX-0092       VID - Video recording of August 12, 2017                                        BACHOM00000126    BACHOM00000126
PX-0093       VID - Video recording of August 12, 2017                                        BACHOM00000159    BACHOM00000159
PX-0094       SMS - Text Message from Thomas Baker to Phil B.                                 BAKER00000171-C   BAKER00000171-C
PX-0095       SMS - Text Message from Thomas Baker to Chris P.                                BAKER00000195-C   BAKER00000195-C
PX-0096       SMS - Text Message from Thomas Baker to Lenny L.                                BAKER00000224-C   BAKER00000224-C
PX-0097       SMS - Text Message from Thomas Baker to Jessey H.                               BAKER00000380-C   BAKER00000380-C
PX-0098       MEDICAL - Health record for Thomas Baker from UVA Health                        BAKER00000416-C   BAKER00000417-C
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Exhibit No.   Description                                                                Beginning Bates   End Bates
PX-0099       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000422-C   BAKER00000423-C
PX-0100       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000424-C   BAKER00000425-C
PX-0101       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000426-C   BAKER00000427-C
PX-0102       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000430-C   BAKER00000431-C
PX-0103       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000434-C   BAKER00000435-C
              MEDICAL - Health record for Thomas Baker from Sentara Martha Jefferson
PX-0104       Martha Jefferson Family Medicine                                           BAKER00000436-C   BAKER00000438-C
PX-0105       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000439-C   BAKER00000440-C
PX-0106       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000441-C   BAKER00000442-C
PX-0107       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000443-C   BAKER00000443-C
PX-0108       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000455-C   BAKER00000457-C
PX-0109       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000458-C   BAKER00000461-C
PX-0110       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000462-C   BAKER00000463-C
PX-0111       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000464-C   BAKER00000469-C

PX-0112       MEDICAL - Billing record for Thomas Baker from Charlottesville Radiology   BAKER00000483-C   BAKER00000488-C
PX-0113       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000494-C   BAKER00000501-C
PX-0114       MEDICAL - Itemized Statement for Thomas Baker from UVA Health              BAKER00000556-C   BAKER00000558-C
PX-0115       MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy       BAKER00000559-C   BAKER00000559-C
PX-0116       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000560-C   BAKER00000560-C
PX-0117       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000561-C   BAKER00000561-C
PX-0118       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000562-C   BAKER00000562-C
PX-0119       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000563-C   BAKER00000563-C
PX-0120       MEDICAL - Letter requesting medical records for Thomas Baker               BAKER00000564-C   BAKER00000636-C

PX-0121       MEDICAL - Billing record for Thomas Baker from Sentara Martha Jefferson    BAKER00000637-C   BAKER00000637-C
PX-0122       MEDICAL - Itemized Statement for Thomas Baker from UVA Health              BAKER00000641-C   BAKER00000653-C
PX-0123       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00000675-C   BAKER00000676-C
PX-0124       MEDICAL - Email from Common Ground Healing Arts to Thomas Baker            BAKER00001036-C   BAKER00001036-C
              MEDICAL - Email containing receipt for Thomas Baker from Cavalier
PX-0125       Medical Systems                                                            BAKER00001080-C   BAKER00001081-C
PX-0126       MEDICAL - Billing record for Thomas Baker from UVA Health                  BAKER00001190-C   BAKER00001192-C
PX-0127       MEDICAL - Billing record for Thomas Baker from UVA Health                  BAKER00001193-C   BAKER00001196-C
PX-0128       MEDICAL - Billing record for Thomas Baker from UVA Health                  BAKER00001197-C   BAKER00001200-C
PX-0129       MEDICAL - Billing record for Thomas Baker from UVA Health                  BAKER00001205-C   BAKER00001208-C
PX-0130       MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy       BAKER00001218-C   BAKER00001245-C
PX-0131       MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy       BAKER00001246-C   BAKER00001266-C
PX-0132       MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy       BAKER00001268-C   BAKER00001298-C
PX-0133       MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy       BAKER00001327-C   BAKER00001354-C
PX-0134       MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy       BAKER00001376-C   BAKER00001406-C
PX-0135       MEDICAL - Health record for Thomas Baker from UVA Health                   BAKER00001435-C   BAKER00001552-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2017 for Thomas
PX-0136       Baker from Ivy Nursery                                                     BAKER00001553     BAKER00001553
              MEDICAL - Receipt for Thomas Baker for Move Massage - Move Medical
PX-0137       Massage & Sports Therapy                                                   BAKER00001554     BAKER00001554
PX-0138       MEDICAL - Billing record for Thomas Baker from UVA Health                  BAKER00001557     BAKER00001560
              MEDICAL - Receipt for Thomas Baker for Move Massage - Move Medical
PX-0139       Massage & Sports Therapy                                                   BAKER00001561     BAKER00001561
              MEDICAL - Health record for Thomas Baker from Sentara Martha Jefferson
PX-0140       Martha Jefferson Family Medicine                                           BAKER00001601     BAKER00001601
PX-0141       DOC - Marcus Martin Letter regarding Return to Work                        BLAIR00000093-C   BLAIR00000093-C
PX-0142       MEDICAL - Health record for Marcus Martin from Virginia Victims Fund       BLAIR00000624-C   BLAIR00000624-C
              MEDICAL - Health record for Melissa Blair from Central Virginia Family
PX-0143       Physician                                                                  BLAIR00000737-C   BLAIR00000749-C
PX-0144       MEDICAL - Health record for Marissa Blair from MedExpress Urgent           BLAIR00000769-C   BLAIR00000771-C
              MEDICAL - Health record for Marissa Blair from Counseling Alliance of
PX-0145       Virginia                                                                   BLAIR00000842-C   BLAIR00000850-C
PX-0146       MEDICAL - Billing record for Marissa Blair from UVA Health                 BLAIR00000851-C   BLAIR00000853-C
              MEDICAL - Health record for Marissa Blair from Women's Health Services
PX-0147       of Central Virginia                                                        BLAIR00000854-C   BLAIR00000889-C
PX-0148       MEDICAL - Marissa Blair Statement of Certification for UHV Health          BLAIR00000890-C   BLAIR00000893-C
PX-0149       MEDICAL - Health record for Marissa Blair from UVA Health                  BLAIR00000894-C   BLAIR00000905-C
PX-0150       VID - Video recording by Marissa Blair of August 12, 2017                  BLAIR00000930-C   BLAIR00000930-C
PX-0151       MEDICAL - Billing record for Marissa Blair from UnitedHealthcare           BLAIR00000954-C   BLAIR00001003-C
PX-0152       MEDICAL - Marissa Blair's Insurance Claims                                 BLAIR00001004-C   BLAIR00001017-C
PX-0153       PHOTO - Photo of Marissa Blair's injuries                                  BLAIR00001863-C   BLAIR00001863-C
PX-0154       PHOTO - Photo of Marissa Blair's injuries                                  BLAIR00001868-C   BLAIR00001868-C
PX-0155       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00001884-C   BLAIR00001884-C
PX-0156       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00001906-C   BLAIR00001906-C
PX-0157       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00001907-C   BLAIR00001907-C
PX-0158       PHOTO - Photo of Marcus Martin in hospital                                 BLAIR00001908-C   BLAIR00001908-C
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Exhibit No.   Description                                                                Beginning Bates    End Bates
PX-0159       PHOTO - Photo of Marcus Martin in hospital                                 BLAIR00001911-C    BLAIR00001911-C
PX-0160       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00001917-C    BLAIR00001917-C
PX-0161       PHOTO - Photo of Marcus Martin and Marissa Blair on August 12, 2017        BLAIR00001922-C    BLAIR00001922-C
PX-0162       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00001927-C    BLAIR00001927-C
PX-0163       PHOTO - Screenshot of Marcus Martin on August 12, 2017                     BLAIR00001941-C    BLAIR00001941-C
PX-0164       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00001943-C    BLAIR00001943-C
PX-0165       PHOTO - Photo of Marcus Martin and Marissa Blair on August 12, 2017        BLAIR00001955-C    BLAIR00001955-C
PX-0166       PHOTO - Photo of Marcus Martin in hospital                                 BLAIR00001975-C    BLAIR00001975-C
PX-0167       PHOTO - Photo of Marcus Martin on August 12, 2017                          BLAIR00002022-C    BLAIR00002022-C
PX-0168       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00002038-C    BLAIR00002038-C
PX-0169       PHOTO - Photo of Marcus Martin's injuries                                  BLAIR00002056-C    BLAIR00002056-C
              AUD - Audio recording of Salting the Earth podcast Episode 29 with Richard
PX-0170       Spencer, Elliott Kline, and Robert Azzmador                                BRATHOVD0071       BRATHOVD0071
PX-0171       SMS - Text message conversation with Cesar A.                              CAAS_00000003      CAAS_00000003
PX-0172       SMS - Text message conversation with Cesar A.                              CAAS_00000006      CAAS_00000006
PX-0173       SMS - Text message conversation with Cesar A.                              CAAS_00000011      CAAS_00000011
PX-0174       SMS - Text message conversation with Cesar A.                              CAAS_00000018      CAAS_00000018
PX-0175       SMS - Text message conversation with Cesar A.                              CAAS_00000020      CAAS_00000020
PX-0176       SMS - Text message conversation with Cesar A.                              CAAS_00000032      CAAS_00000032
PX-0177       SMS - Text message conversation with Cesar A.                              CAAS_00000040      CAAS_00000040
PX-0178       SMS - Text message conversation with Cesar A.                              CAAS_00000057      CAAS_00000057
PX-0179       EMAIL - Email from Christopher Cantwell to Vasillios S.                    CC00033138         CC00033138
PX-0180       EMAIL - Email from Tony H. to Christopher Cantwell                         CC00049821         CC00049821
PX-0181       EMAIL - Email from Tony H. to Christopher Cantwell                         CC00053223         CC00053223
PX-0182       EMAIL - Email from Enterprise to Christopher Cantwell                      CC00057152         CC00057156
PX-0183       EMAIL - Email from Walmart to Christopher Cantwell                         CC00058313         CC00058318
PX-0184       EMAIL - Email from Boggs V. to Christopher Cantwell                        CC00077886         CC00077887
PX-0185       EMAIL - Email from Augustus Sol Invictus to Christopher Cantwell           CC00080041         CC00080041
PX-0186       EMAIL - Email from Christopher Cantwell to PJ P.                           CC00083152         CC00083153
PX-0187       EMAIL - Email from Augustus Sol Invictus to Christopher Cantwell           CC00088318         CC00088318
PX-0188       EMAIL - Email from Christopher Cantwell to Jason Kessler                   CC00191304         CC00191304
PX-0189       EMAIL - Email from Christopher Cantwell to Jorge C.                        CC00192117         CC00192118
PX-0190       EMAIL - Email from Christopher Cantwell to Jason Kessler                   CC00192143         CC00192143
PX-0191       EMAIL - Email from Christopher Cantwell to Krypto K.                       CC00192157         CC00192158
              FILING - Commonwealth v. Cantwell, Plea of Guilty to Misdemeanors, 17-cr-
PX-0192       784, 845                                                                   CC00206365         CC00206367
PX-0193       VID - Video recording of Leanne C. video                                   CHIA0000001        CHIA0000001
PX-0194       DOC - Document regarding League of the South                               City_00000028      City_00000028
PX-0195       FB - Facebook post by Tennessee League of the South                        City_00000125      City_00000125
PX-0196       FB - Facebook post by League of the South                                  City_00000155      City_00000155
PX-0197       FB - Facebook post by Virginia League of the South                         City_00000460      City_00000460
PX-0198       DOC - Flyer for Unite the Right                                            City_00000557      City_00000557
PX-0199       PHOTO - Photo taken during police investigation of crash                   City_00010549      City_00010549
PX-0200       PHOTO - Photo taken during police investigation of crash                   City_00010550      City_00010550
PX-0201       PHOTO - Photo taken during police investigation of crash                   City_00010562      City_00010562

PX-0202       AUD - Audio recording of James Fields' voicemails and phone call in prison    City_00010946   City_00010946
PX-0203       AUD - Audio recording of James Fields' phone call in prison                   City_00010969   City_00010969
PX-0204       AUD - Audio recording of James Fields' phone call in prison                   City_00011061   City_00011061
PX-0205       AUD - Audio recording of James Fields' phone call in prison                   City_00011068   City_00011068
PX-0206       AUD - Audio recording of James Fields' phone call in prison                   City_00011115   City_00011115
PX-0207       AUD - Audio recording of James Fields' phone call in prison                   City_00011171   City_00011171
PX-0208       AUD - Audio recording of James Fields' voicemail in prison                    City_00011174   City_00011174
PX-0209       AUD - Audio recording of James Fields' phone call in prison                   City_00011544   City_00011544
PX-0210       AUD - Audio recording of James Fields' phone call in prison                   City_00011613   City_00011613
PX-0211       AUD - Audio recording of James Fields' phone call in prison                   City_00011614   City_00011614
PX-0212       AUD - Audio recording of James Fields' phone call in prison                   City_00011616   City_00011616
PX-0213       AUD - Audio recording of James Fields' voicemail in prison                    City_00011671   City_00011671
PX-0214       AUD - Audio recording of James Fields' voicemail in prison                    City_00011809   City_00011809
PX-0215       FB - Facebook Geolocation data for James Fields                               City_00032356   City_00032356
PX-0216       IG - Post by James Fields                                                     CITY_00033056   CITY_00033056
PX-0217       IG - Post by James Fields                                                     CITY_00033057   CITY_00033057
PX-0218       INTENTIONALLY LEFT BLANK
PX-0219       AUD - Audio recording of James Fields' phone call in prison                   City_00033077   City_00033077

PX-0220       PHOTO - Photo of aerial map of James Fields' movements after the car attack   City_00033079   City_00033079
PX-0221       PHOTO - Photo of James Fields' driving after the car attack                   City_00033085   City_00033085
PX-0222       PHOTO - Photo of James Fields' driving after the car attack                   City_00033099   City_00033099
PX-0223       PHOTO - Photo of James Fields' driving after the car attack                   City_00033100   City_00033100
PX-0224       PHOTO - Photo of James Fields' driving after the car attack                   City_00033102   City_00033102
PX-0225       PHOTO - Photo of James Fields' driving after the car attack                   City_00033104   City_00033104
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Exhibit No.   Description                                                   Beginning Bates   End Bates
PX-0226       PHOTO - Photo of James Fields' driving after the car attack   City_00033105     City_00033105
PX-0227       PHOTO - Photo of James Fields' driving after the car attack   City_00033106     City_00033106
PX-0228       PHOTO - Photo of James Fields' driving after the car attack   City_00033107     City_00033107
PX-0229       PHOTO - Photo of James Fields' driving after the car attack   City_00033108     City_00033108
PX-0230       PHOTO - Photo of James Fields' driving after the car attack   City_00033109     City_00033109
PX-0231       PHOTO - Photo of James Fields' driving into the crowd         City_00033110     City_00033110
PX-0232       PHOTO - Photo of James Fields' driving after the car attack   City_00033112     City_00033112
PX-0233       PHOTO - Photo of James Fields' driving after the car attack   City_00033113     City_00033113
PX-0234       PHOTO - Photo of James Fields' driving after the car attack   City_00033114     City_00033114
PX-0235       PHOTO - Photo of James Fields' driving after the car attack   City_00033115     City_00033115
PX-0236       PHOTO - Photo of James Fields' driving after the car attack   City_00033116     City_00033116
PX-0237       PHOTO - Photo of James Fields' driving after the car attack   City_00033117     City_00033117
PX-0238       PHOTO - Photo of James Fields' driving after the car attack   City_00033118     City_00033118
PX-0239       PHOTO - Photo of James Fields' driving after the car attack   City_00033119     City_00033119
PX-0240       PHOTO - Photo of James Fields' driving after the car attack   City_00033120     City_00033120
PX-0241       PHOTO - Photo of James Fields' driving after the car attack   City_00033121     City_00033121
PX-0242       PHOTO - Photo of James Fields' driving after the car attack   City_00033122     City_00033122
PX-0243       PHOTO - Photo of James Fields' driving after the car attack   City_00033123     City_00033123
PX-0244       PHOTO - Photo of James Fields' driving after the car attack   City_00033124     City_00033124
PX-0245       PHOTO - Photo of James Fields' driving after the car attack   City_00033125     City_00033125
PX-0246       PHOTO - Photo of James Fields' driving after the car attack   City_00033126     City_00033126
PX-0247       PHOTO - Photo of James Fields' driving after the car attack   City_00033127     City_00033127
PX-0248       PHOTO - Photo of James Fields' driving after the car attack   City_00033128     City_00033128
PX-0249       PHOTO - Photo of James Fields' driving after the car attack   City_00033129     City_00033129
PX-0250       PHOTO - Photo of James Fields' driving after the car attack   City_00033130     City_00033130
PX-0251       PHOTO - Photo of James Fields' driving after the car attack   City_00033131     City_00033131
PX-0252       PHOTO - Photo of James Fields' driving after the car attack   City_00033132     City_00033132
PX-0253       PHOTO - Photo of James Fields' driving after the car attack   City_00033133     City_00033133
PX-0254       PHOTO - Photo of James Fields' driving into the crowd         City_00033134     City_00033134
PX-0255       PHOTO - Photo of James Fields' driving into the crowd         City_00033135     City_00033135
PX-0256       PHOTO - Photo of James Fields' driving after the car attack   City_00033136     City_00033136
PX-0257       PHOTO - Photo of James Fields' driving after the car attack   City_00033137     City_00033137
PX-0258       PHOTO - Photo of James Fields' driving after the car attack   City_00033138     City_00033138
PX-0259       PHOTO - Photo of James Fields' driving into the crowd         City_00033139     City_00033139
PX-0260       PHOTO - Photo of James Fields' driving after the car attack   City_00033140     City_00033140
PX-0261       PHOTO - Photo of James Fields' driving into the crowd         City_00033141     City_00033141
PX-0262       PHOTO - Photo of James Fields' driving into the crowd         City_00033142     City_00033142
PX-0263       PHOTO - Photo of James Fields' driving after the car attack   City_00033143     City_00033143
PX-0264       PHOTO - Photo of James Fields' driving into the crowd         City_00033144     City_00033144
PX-0265       PHOTO - Photo of James Fields' driving into the crowd         City_00033145     City_00033145
PX-0266       PHOTO - Photo of James Fields' driving into the crowd         City_00033146     City_00033146
PX-0267       PHOTO - Photo of James Fields' driving into the crowd         City_00033147     City_00033147
PX-0268       PHOTO - Photo of James Fields' driving into the crowd         City_00033148     City_00033148
PX-0269       PHOTO - Photo of James Fields' driving after the car attack   City_00033149     City_00033149
PX-0270       PHOTO - Photo of James Fields' driving after the car attack   City_00033150     City_00033150
PX-0271       PHOTO - Photo of James Fields' driving into the crowd         City_00033151     City_00033151
PX-0272       PHOTO - Photo of James Fields' driving into the crowd         City_00033152     City_00033152
PX-0273       PHOTO - Photo of James Fields' driving into the crowd         City_00033153     City_00033153
PX-0274       PHOTO - Photo of James Fields' driving into the crowd         City_00033154     City_00033154
PX-0275       PHOTO - Photo of James Fields' driving into the crowd         City_00033155     City_00033155
PX-0276       PHOTO - Photo of James Fields' driving into the crowd         City_00033156     City_00033156
PX-0277       PHOTO - Photo of James Fields' driving after the car attack   City_00033157     City_00033157
PX-0278       PHOTO - Photo of James Fields' driving into the crowd         City_00033158     City_00033158
PX-0279       PHOTO - Photo of James Fields' driving into the crowd         City_00033159     City_00033159
PX-0280       PHOTO - Photo of James Fields' driving into the crowd         City_00033160     City_00033160
PX-0281       PHOTO - Photo of James Fields' driving into the crowd         City_00033161     City_00033161
PX-0282       PHOTO - Photo of James Fields' driving into the crowd         City_00033162     City_00033162
PX-0283       PHOTO - Photo of James Fields' driving into the crowd         City_00033163     City_00033163
PX-0284       PHOTO - Photo of James Fields' driving into the crowd         City_00033164     City_00033164
PX-0285       PHOTO - Photo of James Fields' driving into the crowd         City_00033165     City_00033165
PX-0286       PHOTO - Photo of James Fields' driving into the crowd         City_00033166     City_00033166
PX-0287       PHOTO - Photo of James Fields' driving into the crowd         City_00033167     City_00033167
PX-0288       PHOTO - Photo of James Fields' driving into the crowd         City_00033168     City_00033168
PX-0289       PHOTO - Photo of James Fields' driving into the crowd         City_00033170     City_00033170
PX-0290       PHOTO - Photo of James Fields' driving into the crowd         City_00033171     City_00033171
PX-0291       PHOTO - Photo of James Fields' driving into the crowd         City_00033172     City_00033172
PX-0292       PHOTO - Photo of James Fields' driving into the crowd         City_00033173     City_00033173
PX-0293       PHOTO - Photo of James Fields' driving into the crowd         City_00033177     City_00033177
PX-0294       PHOTO - Photo of Thomas Baker in hospital                     City_00033192     City_00033192
PX-0295       PHOTO - Photo of Thomas Baker in hospital                     City_00033197     City_00033197
PX-0296       PHOTO - Photo of James Fields' car after car attack           City_00033203     City_00033203
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Exhibit No.   Description                                                               Beginning Bates       End Bates
PX-0297       VID - Video recording of Marissa Blair video                              City_00033216         City_00033216
PX-0298       PHOTO - Photo of James Fields' car after car attack                       City_00033226         City_00033226
PX-0299       PHOTO - Photo of cars struck by James Fields                              City_00033229         City_00033229
PX-0300       PHOTO - Photo of James Fields' car after car attack                       City_00033230         City_00033230
PX-0301       PHOTO - Photo of cars struck by James Fields                              City_00033238         City_00033238
PX-0302       PHOTO - Photo of James Fields' car after car attack                       City_00033244         City_00033244
PX-0303       PHOTO - Photo of crime scene after car attack                             City_00033245         City_00033245
PX-0304       PHOTO - Photo of cars struck by James Fields                              City_00033246         City_00033246
PX-0305       PHOTO - Photo of cars struck by James Fields                              City_00033251         City_00033251
PX-0306       PHOTO - Photo of crime scene after car attack                             City_00033253         City_00033253
PX-0307       PHOTO - Photo of crime scene after car attack                             City_00033259         City_00033259
PX-0308       PHOTO - Photo of cars struck by James Fields                              City_00033260         City_00033260
PX-0309       PHOTO - Photo of Marcus Martin's injuries                                 City_00033261         City_00033261
PX-0310       PHOTO - Photo of crime scene after car attack                             City_00033263         City_00033263
PX-0311       VID - Video recording of August 12, 2017                                  City_00033265         City_00033265
PX-0312       AUD - Audio recording of August 12, 2017                                  City_00033267         City_00033267
PX-0313       VID - Video recording by Brennan G. of August 12, 2017                    City_00033270         City_00033270
PX-0314       VID - Video recording of August 12, 2017                                  City_00033272         City_00033272
PX-0315       VID - Video recording of August 12, 2017                                  City_00033273         City_00033273
PX-0316       AUD - Audio recording of August 12, 2017                                  City_00033275         City_00033275
PX-0317       VID - Video recording of August 12, 2017                                  City_00033276         City_00033276
PX-0318       VID - Video recording of Det. Steve Y. body cam                           City_00033277         City_00033277
PX-0319       VID - Video recording of August 12, 2017                                  City_00033280         City_00033280
PX-0320       DOC - Compilation of documents                                            City_00037511         City_00038495
PX-0321       DOC - Diane D.'s statement of events of the August 11, 2017 Torch Rally   DIANE00001            DIANE00004
PX-0322       SMS - Screenshots of Group Me messages                                    DIANE00005            DIANE00011
PX-0323       VID - Video recording of Torch Rally taken by Diane D.                    DIANE00012            DIANE00012
PX-0324       DISC - Discord Production PA001                                           DIS00000001           DIS00000033
PX-0325       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000001   DISC-IMPACT00000001
PX-0326       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000002   DISC-IMPACT00000002
PX-0327       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000003   DISC-IMPACT00000004
PX-0328       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000005   DISC-IMPACT00000005
PX-0329       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000006   DISC-IMPACT00000006
PX-0330       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000007   DISC-IMPACT00000012
PX-0331       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000013   DISC-IMPACT00000013
PX-0332       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000014   DISC-IMPACT00000014
PX-0333       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000015   DISC-IMPACT00000017
PX-0334       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000018   DISC-IMPACT00000018
PX-0335       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000019   DISC-IMPACT00000025
PX-0336       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000026   DISC-IMPACT00000026
PX-0337       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000027   DISC-IMPACT00000027
PX-0338       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000028   DISC-IMPACT00000028
PX-0339       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000029   DISC-IMPACT00000029
PX-0340       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000030   DISC-IMPACT00000032
PX-0341       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000033   DISC-IMPACT00000033
PX-0342       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000034   DISC-IMPACT00000034
PX-0343       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000035   DISC-IMPACT00000035
PX-0344       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000036   DISC-IMPACT00000036
PX-0345       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000037   DISC-IMPACT00000037
PX-0346       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000038   DISC-IMPACT00000038
PX-0347       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000039   DISC-IMPACT00000039
PX-0348       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000040   DISC-IMPACT00000041
PX-0349       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000042   DISC-IMPACT00000042
PX-0350       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000043   DISC-IMPACT00000043
PX-0351       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000044   DISC-IMPACT00000044
PX-0352       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000045   DISC-IMPACT00000045
PX-0353       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000046   DISC-IMPACT00000046
PX-0354       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000047   DISC-IMPACT00000047
PX-0355       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000048   DISC-IMPACT00000048
PX-0356       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000049   DISC-IMPACT00000051
PX-0357       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000052   DISC-IMPACT00000052
PX-0358       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000053   DISC-IMPACT00000053
PX-0359       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000054   DISC-IMPACT00000055
PX-0360       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000056   DISC-IMPACT00000056
PX-0361       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000057   DISC-IMPACT00000057
PX-0362       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000058   DISC-IMPACT00000058
PX-0363       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000059   DISC-IMPACT00000059
PX-0364       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000060   DISC-IMPACT00000061
PX-0365       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000062   DISC-IMPACT00000062
PX-0366       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000063   DISC-IMPACT00000063
PX-0367       DISC - Impact Image of Discord Post                                       DISC-IMPACT00000064   DISC-IMPACT00000065
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0368       DISC - Impact Image of Discord Post   DISC-IMPACT00000066   DISC-IMPACT00000066
PX-0369       DISC - Impact Image of Discord Post   DISC-IMPACT00000067   DISC-IMPACT00000068
PX-0370       DISC - Impact Image of Discord Post   DISC-IMPACT00000069   DISC-IMPACT00000069
PX-0371       DISC - Impact Image of Discord Post   DISC-IMPACT00000070   DISC-IMPACT00000070
PX-0372       DISC - Impact Image of Discord Post   DISC-IMPACT00000071   DISC-IMPACT00000071
PX-0373       DISC - Impact Image of Discord Post   DISC-IMPACT00000072   DISC-IMPACT00000072
PX-0374       DISC - Impact Image of Discord Post   DISC-IMPACT00000073   DISC-IMPACT00000074
PX-0375       DISC - Impact Image of Discord Post   DISC-IMPACT00000075   DISC-IMPACT00000075
PX-0376       DISC - Impact Image of Discord Post   DISC-IMPACT00000076   DISC-IMPACT00000076
PX-0377       DISC - Impact Image of Discord Post   DISC-IMPACT00000077   DISC-IMPACT00000079
PX-0378       DISC - Impact Image of Discord Post   DISC-IMPACT00000080   DISC-IMPACT00000081
PX-0379       DISC - Impact Image of Discord Post   DISC-IMPACT00000082   DISC-IMPACT00000083
PX-0380       DISC - Impact Image of Discord Post   DISC-IMPACT00000084   DISC-IMPACT00000084
PX-0381       DISC - Impact Image of Discord Post   DISC-IMPACT00000085   DISC-IMPACT00000086
PX-0382       DISC - Impact Image of Discord Post   DISC-IMPACT00000087   DISC-IMPACT00000087
PX-0383       DISC - Impact Image of Discord Post   DISC-IMPACT00000088   DISC-IMPACT00000089
PX-0384       DISC - Impact Image of Discord Post   DISC-IMPACT00000090   DISC-IMPACT00000090
PX-0385       DISC - Impact Image of Discord Post   DISC-IMPACT00000091   DISC-IMPACT00000091
PX-0386       DISC - Impact Image of Discord Post   DISC-IMPACT00000092   DISC-IMPACT00000092
PX-0387       DISC - Impact Image of Discord Post   DISC-IMPACT00000093   DISC-IMPACT00000093
PX-0388       DISC - Impact Image of Discord Post   DISC-IMPACT00000094   DISC-IMPACT00000096
PX-0389       DISC - Impact Image of Discord Post   DISC-IMPACT00000097   DISC-IMPACT00000097
PX-0390       DISC - Impact Image of Discord Post   DISC-IMPACT00000098   DISC-IMPACT00000098
PX-0391       DISC - Impact Image of Discord Post   DISC-IMPACT00000099   DISC-IMPACT00000099
PX-0392       DISC - Impact Image of Discord Post   DISC-IMPACT00000100   DISC-IMPACT00000100
PX-0393       DISC - Impact Image of Discord Post   DISC-IMPACT00000101   DISC-IMPACT00000101
PX-0394       DISC - Impact Image of Discord Post   DISC-IMPACT00000102   DISC-IMPACT00000102
PX-0395       DISC - Impact Image of Discord Post   DISC-IMPACT00000103   DISC-IMPACT00000104
PX-0396       DISC - Impact Image of Discord Post   DISC-IMPACT00000105   DISC-IMPACT00000105
PX-0397       DISC - Impact Image of Discord Post   DISC-IMPACT00000106   DISC-IMPACT00000106
PX-0398       DISC - Impact Image of Discord Post   DISC-IMPACT00000107   DISC-IMPACT00000107
PX-0399       DISC - Impact Image of Discord Post   DISC-IMPACT00000108   DISC-IMPACT00000108
PX-0400       DISC - Impact Image of Discord Post   DISC-IMPACT00000109   DISC-IMPACT00000109
PX-0401       DISC - Impact Image of Discord Post   DISC-IMPACT00000110   DISC-IMPACT00000113
PX-0402       DISC - Impact Image of Discord Post   DISC-IMPACT00000114   DISC-IMPACT00000115
PX-0403       DISC - Impact Image of Discord Post   DISC-IMPACT00000116   DISC-IMPACT00000116
PX-0404       DISC - Impact Image of Discord Post   DISC-IMPACT00000117   DISC-IMPACT00000118
PX-0405       DISC - Impact Image of Discord Post   DISC-IMPACT00000119   DISC-IMPACT00000119
PX-0406       DISC - Impact Image of Discord Post   DISC-IMPACT00000120   DISC-IMPACT00000120
PX-0407       DISC - Impact Image of Discord Post   DISC-IMPACT00000121   DISC-IMPACT00000121
PX-0408       DISC - Impact Image of Discord Post   DISC-IMPACT00000122   DISC-IMPACT00000122
PX-0409       DISC - Impact Image of Discord Post   DISC-IMPACT00000123   DISC-IMPACT00000123
PX-0410       DISC - Impact Image of Discord Post   DISC-IMPACT00000124   DISC-IMPACT00000124
PX-0411       DISC - Impact Image of Discord Post   DISC-IMPACT00000125   DISC-IMPACT00000126
PX-0412       DISC - Impact Image of Discord Post   DISC-IMPACT00000127   DISC-IMPACT00000127
PX-0413       DISC - Impact Image of Discord Post   DISC-IMPACT00000128   DISC-IMPACT00000128
PX-0414       DISC - Impact Image of Discord Post   DISC-IMPACT00000129   DISC-IMPACT00000131
PX-0415       DISC - Impact Image of Discord Post   DISC-IMPACT00000132   DISC-IMPACT00000134
PX-0416       DISC - Impact Image of Discord Post   DISC-IMPACT00000135   DISC-IMPACT00000135
PX-0417       DISC - Impact Image of Discord Post   DISC-IMPACT00000136   DISC-IMPACT00000136
PX-0418       DISC - Impact Image of Discord Post   DISC-IMPACT00000137   DISC-IMPACT00000137
PX-0419       DISC - Impact Image of Discord Post   DISC-IMPACT00000138   DISC-IMPACT00000139
PX-0420       DISC - Impact Image of Discord Post   DISC-IMPACT00000140   DISC-IMPACT00000140
PX-0421       DISC - Impact Image of Discord Post   DISC-IMPACT00000141   DISC-IMPACT00000141
PX-0422       DISC - Impact Image of Discord Post   DISC-IMPACT00000142   DISC-IMPACT00000143
PX-0423       DISC - Impact Image of Discord Post   DISC-IMPACT00000144   DISC-IMPACT00000145
PX-0424       DISC - Impact Image of Discord Post   DISC-IMPACT00000146   DISC-IMPACT00000148
PX-0425       DISC - Impact Image of Discord Post   DISC-IMPACT00000149   DISC-IMPACT00000149
PX-0426       DISC - Impact Image of Discord Post   DISC-IMPACT00000150   DISC-IMPACT00000150
PX-0427       DISC - Impact Image of Discord Post   DISC-IMPACT00000151   DISC-IMPACT00000151
PX-0428       DISC - Impact Image of Discord Post   DISC-IMPACT00000152   DISC-IMPACT00000154
PX-0429       DISC - Impact Image of Discord Post   DISC-IMPACT00000155   DISC-IMPACT00000155
PX-0430       DISC - Impact Image of Discord Post   DISC-IMPACT00000156   DISC-IMPACT00000156
PX-0431       DISC - Impact Image of Discord Post   DISC-IMPACT00000157   DISC-IMPACT00000157
PX-0432       DISC - Impact Image of Discord Post   DISC-IMPACT00000158   DISC-IMPACT00000159
PX-0433       DISC - Impact Image of Discord Post   DISC-IMPACT00000160   DISC-IMPACT00000160
PX-0434       DISC - Impact Image of Discord Post   DISC-IMPACT00000161   DISC-IMPACT00000161
PX-0435       DISC - Impact Image of Discord Post   DISC-IMPACT00000162   DISC-IMPACT00000162
PX-0436       DISC - Impact Image of Discord Post   DISC-IMPACT00000163   DISC-IMPACT00000163
PX-0437       DISC - Impact Image of Discord Post   DISC-IMPACT00000164   DISC-IMPACT00000164
PX-0438       DISC - Impact Image of Discord Post   DISC-IMPACT00000165   DISC-IMPACT00000165
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0439       DISC - Impact Image of Discord Post   DISC-IMPACT00000166   DISC-IMPACT00000166
PX-0440       DISC - Impact Image of Discord Post   DISC-IMPACT00000167   DISC-IMPACT00000167
PX-0441       DISC - Impact Image of Discord Post   DISC-IMPACT00000168   DISC-IMPACT00000168
PX-0442       DISC - Impact Image of Discord Post   DISC-IMPACT00000169   DISC-IMPACT00000169
PX-0443       DISC - Impact Image of Discord Post   DISC-IMPACT00000170   DISC-IMPACT00000170
PX-0444       DISC - Impact Image of Discord Post   DISC-IMPACT00000171   DISC-IMPACT00000171
PX-0445       DISC - Impact Image of Discord Post   DISC-IMPACT00000172   DISC-IMPACT00000172
PX-0446       DISC - Impact Image of Discord Post   DISC-IMPACT00000173   DISC-IMPACT00000173
PX-0447       DISC - Impact Image of Discord Post   DISC-IMPACT00000174   DISC-IMPACT00000174
PX-0448       DISC - Impact Image of Discord Post   DISC-IMPACT00000175   DISC-IMPACT00000175
PX-0449       DISC - Impact Image of Discord Post   DISC-IMPACT00000176   DISC-IMPACT00000176
PX-0450       DISC - Impact Image of Discord Post   DISC-IMPACT00000177   DISC-IMPACT00000178
PX-0451       DISC - Impact Image of Discord Post   DISC-IMPACT00000179   DISC-IMPACT00000179
PX-0452       DISC - Impact Image of Discord Post   DISC-IMPACT00000180   DISC-IMPACT00000180
PX-0453       DISC - Impact Image of Discord Post   DISC-IMPACT00000181   DISC-IMPACT00000181
PX-0454       DISC - Impact Image of Discord Post   DISC-IMPACT00000182   DISC-IMPACT00000182
PX-0455       DISC - Impact Image of Discord Post   DISC-IMPACT00000183   DISC-IMPACT00000185
PX-0456       DISC - Impact Image of Discord Post   DISC-IMPACT00000186   DISC-IMPACT00000187
PX-0457       DISC - Impact Image of Discord Post   DISC-IMPACT00000188   DISC-IMPACT00000188
PX-0458       DISC - Impact Image of Discord Post   DISC-IMPACT00000189   DISC-IMPACT00000191
PX-0459       DISC - Impact Image of Discord Post   DISC-IMPACT00000192   DISC-IMPACT00000192
PX-0460       DISC - Impact Image of Discord Post   DISC-IMPACT00000193   DISC-IMPACT00000193
PX-0461       DISC - Impact Image of Discord Post   DISC-IMPACT00000194   DISC-IMPACT00000194
PX-0462       DISC - Impact Image of Discord Post   DISC-IMPACT00000195   DISC-IMPACT00000197
PX-0463       DISC - Impact Image of Discord Post   DISC-IMPACT00000198   DISC-IMPACT00000199
PX-0464       DISC - Impact Image of Discord Post   DISC-IMPACT00000200   DISC-IMPACT00000202
PX-0465       DISC - Impact Image of Discord Post   DISC-IMPACT00000203   DISC-IMPACT00000203
PX-0466       DISC - Impact Image of Discord Post   DISC-IMPACT00000204   DISC-IMPACT00000204
PX-0467       DISC - Impact Image of Discord Post   DISC-IMPACT00000205   DISC-IMPACT00000205
PX-0468       DISC - Impact Image of Discord Post   DISC-IMPACT00000206   DISC-IMPACT00000206
PX-0469       DISC - Impact Image of Discord Post   DISC-IMPACT00000207   DISC-IMPACT00000207
PX-0470       DISC - Impact Image of Discord Post   DISC-IMPACT00000208   DISC-IMPACT00000211
PX-0471       DISC - Impact Image of Discord Post   DISC-IMPACT00000212   DISC-IMPACT00000212
PX-0472       DISC - Impact Image of Discord Post   DISC-IMPACT00000213   DISC-IMPACT00000213
PX-0473       DISC - Impact Image of Discord Post   DISC-IMPACT00000214   DISC-IMPACT00000214
PX-0474       DISC - Impact Image of Discord Post   DISC-IMPACT00000215   DISC-IMPACT00000215
PX-0475       DISC - Impact Image of Discord Post   DISC-IMPACT00000216   DISC-IMPACT00000216
PX-0476       DISC - Impact Image of Discord Post   DISC-IMPACT00000217   DISC-IMPACT00000217
PX-0477       DISC - Impact Image of Discord Post   DISC-IMPACT00000218   DISC-IMPACT00000220
PX-0478       DISC - Impact Image of Discord Post   DISC-IMPACT00000221   DISC-IMPACT00000221
PX-0479       DISC - Impact Image of Discord Post   DISC-IMPACT00000222   DISC-IMPACT00000222
PX-0480       DISC - Impact Image of Discord Post   DISC-IMPACT00000223   DISC-IMPACT00000223
PX-0481       DISC - Impact Image of Discord Post   DISC-IMPACT00000224   DISC-IMPACT00000224
PX-0482       DISC - Impact Image of Discord Post   DISC-IMPACT00000225   DISC-IMPACT00000225
PX-0483       DISC - Impact Image of Discord Post   DISC-IMPACT00000226   DISC-IMPACT00000226
PX-0484       DISC - Impact Image of Discord Post   DISC-IMPACT00000227   DISC-IMPACT00000228
PX-0485       DISC - Impact Image of Discord Post   DISC-IMPACT00000229   DISC-IMPACT00000229
PX-0486       DISC - Impact Image of Discord Post   DISC-IMPACT00000230   DISC-IMPACT00000230
PX-0487       DISC - Impact Image of Discord Post   DISC-IMPACT00000231   DISC-IMPACT00000231
PX-0488       DISC - Impact Image of Discord Post   DISC-IMPACT00000232   DISC-IMPACT00000232
PX-0489       DISC - Impact Image of Discord Post   DISC-IMPACT00000233   DISC-IMPACT00000233
PX-0490       DISC - Impact Image of Discord Post   DISC-IMPACT00000234   DISC-IMPACT00000234
PX-0491       DISC - Impact Image of Discord Post   DISC-IMPACT00000235   DISC-IMPACT00000235
PX-0492       DISC - Impact Image of Discord Post   DISC-IMPACT00000236   DISC-IMPACT00000236
PX-0493       DISC - Impact Image of Discord Post   DISC-IMPACT00000237   DISC-IMPACT00000237
PX-0494       DISC - Impact Image of Discord Post   DISC-IMPACT00000238   DISC-IMPACT00000238
PX-0495       DISC - Impact Image of Discord Post   DISC-IMPACT00000239   DISC-IMPACT00000239
PX-0496       DISC - Impact Image of Discord Post   DISC-IMPACT00000240   DISC-IMPACT00000240
PX-0497       DISC - Impact Image of Discord Post   DISC-IMPACT00000241   DISC-IMPACT00000241
PX-0498       DISC - Impact Image of Discord Post   DISC-IMPACT00000242   DISC-IMPACT00000245
PX-0499       DISC - Impact Image of Discord Post   DISC-IMPACT00000246   DISC-IMPACT00000246
PX-0500       DISC - Impact Image of Discord Post   DISC-IMPACT00000247   DISC-IMPACT00000247
PX-0501       DISC - Impact Image of Discord Post   DISC-IMPACT00000248   DISC-IMPACT00000251
PX-0502       DISC - Impact Image of Discord Post   DISC-IMPACT00000252   DISC-IMPACT00000252
PX-0503       DISC - Impact Image of Discord Post   DISC-IMPACT00000253   DISC-IMPACT00000253
PX-0504       DISC - Impact Image of Discord Post   DISC-IMPACT00000254   DISC-IMPACT00000254
PX-0505       DISC - Impact Image of Discord Post   DISC-IMPACT00000255   DISC-IMPACT00000255
PX-0506       DISC - Impact Image of Discord Post   DISC-IMPACT00000256   DISC-IMPACT00000256
PX-0507       DISC - Impact Image of Discord Post   DISC-IMPACT00000257   DISC-IMPACT00000257
PX-0508       DISC - Impact Image of Discord Post   DISC-IMPACT00000258   DISC-IMPACT00000258
PX-0509       DISC - Impact Image of Discord Post   DISC-IMPACT00000259   DISC-IMPACT00000259
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0510       DISC - Impact Image of Discord Post   DISC-IMPACT00000260   DISC-IMPACT00000260
PX-0511       DISC - Impact Image of Discord Post   DISC-IMPACT00000261   DISC-IMPACT00000261
PX-0512       DISC - Impact Image of Discord Post   DISC-IMPACT00000262   DISC-IMPACT00000262
PX-0513       DISC - Impact Image of Discord Post   DISC-IMPACT00000263   DISC-IMPACT00000263
PX-0514       DISC - Impact Image of Discord Post   DISC-IMPACT00000264   DISC-IMPACT00000264
PX-0515       DISC - Impact Image of Discord Post   DISC-IMPACT00000265   DISC-IMPACT00000265
PX-0516       DISC - Impact Image of Discord Post   DISC-IMPACT00000266   DISC-IMPACT00000267
PX-0517       DISC - Impact Image of Discord Post   DISC-IMPACT00000268   DISC-IMPACT00000268
PX-0518       DISC - Impact Image of Discord Post   DISC-IMPACT00000269   DISC-IMPACT00000269
PX-0519       DISC - Impact Image of Discord Post   DISC-IMPACT00000270   DISC-IMPACT00000270
PX-0520       DISC - Impact Image of Discord Post   DISC-IMPACT00000271   DISC-IMPACT00000271
PX-0521       DISC - Impact Image of Discord Post   DISC-IMPACT00000272   DISC-IMPACT00000272
PX-0522       DISC - Impact Image of Discord Post   DISC-IMPACT00000273   DISC-IMPACT00000273
PX-0523       DISC - Impact Image of Discord Post   DISC-IMPACT00000274   DISC-IMPACT00000274
PX-0524       DISC - Impact Image of Discord Post   DISC-IMPACT00000275   DISC-IMPACT00000275
PX-0525       DISC - Impact Image of Discord Post   DISC-IMPACT00000276   DISC-IMPACT00000276
PX-0526       DISC - Impact Image of Discord Post   DISC-IMPACT00000277   DISC-IMPACT00000277
PX-0527       DISC - Impact Image of Discord Post   DISC-IMPACT00000278   DISC-IMPACT00000278
PX-0528       DISC - Impact Image of Discord Post   DISC-IMPACT00000279   DISC-IMPACT00000279
PX-0529       DISC - Impact Image of Discord Post   DISC-IMPACT00000280   DISC-IMPACT00000280
PX-0530       DISC - Impact Image of Discord Post   DISC-IMPACT00000281   DISC-IMPACT00000281
PX-0531       DISC - Impact Image of Discord Post   DISC-IMPACT00000282   DISC-IMPACT00000282
PX-0532       DISC - Impact Image of Discord Post   DISC-IMPACT00000283   DISC-IMPACT00000283
PX-0533       DISC - Impact Image of Discord Post   DISC-IMPACT00000284   DISC-IMPACT00000285
PX-0534       DISC - Impact Image of Discord Post   DISC-IMPACT00000286   DISC-IMPACT00000286
PX-0535       DISC - Impact Image of Discord Post   DISC-IMPACT00000287   DISC-IMPACT00000287
PX-0536       DISC - Impact Image of Discord Post   DISC-IMPACT00000288   DISC-IMPACT00000288
PX-0537       DISC - Impact Image of Discord Post   DISC-IMPACT00000289   DISC-IMPACT00000291
PX-0538       DISC - Impact Image of Discord Post   DISC-IMPACT00000292   DISC-IMPACT00000292
PX-0539       DISC - Impact Image of Discord Post   DISC-IMPACT00000293   DISC-IMPACT00000293
PX-0540       DISC - Impact Image of Discord Post   DISC-IMPACT00000294   DISC-IMPACT00000295
PX-0541       DISC - Impact Image of Discord Post   DISC-IMPACT00000296   DISC-IMPACT00000296
PX-0542       DISC - Impact Image of Discord Post   DISC-IMPACT00000297   DISC-IMPACT00000297
PX-0543       DISC - Impact Image of Discord Post   DISC-IMPACT00000298   DISC-IMPACT00000299
PX-0544       DISC - Impact Image of Discord Post   DISC-IMPACT00000300   DISC-IMPACT00000300
PX-0545       DISC - Impact Image of Discord Post   DISC-IMPACT00000301   DISC-IMPACT00000301
PX-0546       DISC - Impact Image of Discord Post   DISC-IMPACT00000302   DISC-IMPACT00000303
PX-0547       DISC - Impact Image of Discord Post   DISC-IMPACT00000304   DISC-IMPACT00000306
PX-0548       DISC - Impact Image of Discord Post   DISC-IMPACT00000307   DISC-IMPACT00000307
PX-0549       DISC - Impact Image of Discord Post   DISC-IMPACT00000308   DISC-IMPACT00000308
PX-0550       DISC - Impact Image of Discord Post   DISC-IMPACT00000309   DISC-IMPACT00000309
PX-0551       DISC - Impact Image of Discord Post   DISC-IMPACT00000310   DISC-IMPACT00000310
PX-0552       DISC - Impact Image of Discord Post   DISC-IMPACT00000311   DISC-IMPACT00000311
PX-0553       DISC - Impact Image of Discord Post   DISC-IMPACT00000312   DISC-IMPACT00000312
PX-0554       DISC - Impact Image of Discord Post   DISC-IMPACT00000313   DISC-IMPACT00000313
PX-0555       DISC - Impact Image of Discord Post   DISC-IMPACT00000314   DISC-IMPACT00000314
PX-0556       DISC - Impact Image of Discord Post   DISC-IMPACT00000315   DISC-IMPACT00000320
PX-0557       DISC - Impact Image of Discord Post   DISC-IMPACT00000321   DISC-IMPACT00000321
PX-0558       DISC - Impact Image of Discord Post   DISC-IMPACT00000322   DISC-IMPACT00000323
PX-0559       DISC - Impact Image of Discord Post   DISC-IMPACT00000324   DISC-IMPACT00000324
PX-0560       DISC - Impact Image of Discord Post   DISC-IMPACT00000325   DISC-IMPACT00000325
PX-0561       DISC - Impact Image of Discord Post   DISC-IMPACT00000326   DISC-IMPACT00000326
PX-0562       DISC - Impact Image of Discord Post   DISC-IMPACT00000327   DISC-IMPACT00000327
PX-0563       DISC - Impact Image of Discord Post   DISC-IMPACT00000328   DISC-IMPACT00000328
PX-0564       DISC - Impact Image of Discord Post   DISC-IMPACT00000329   DISC-IMPACT00000336
PX-0565       DISC - Impact Image of Discord Post   DISC-IMPACT00000337   DISC-IMPACT00000337
PX-0566       DISC - Impact Image of Discord Post   DISC-IMPACT00000338   DISC-IMPACT00000338
PX-0567       DISC - Impact Image of Discord Post   DISC-IMPACT00000339   DISC-IMPACT00000339
PX-0568       DISC - Impact Image of Discord Post   DISC-IMPACT00000340   DISC-IMPACT00000340
PX-0569       DISC - Impact Image of Discord Post   DISC-IMPACT00000341   DISC-IMPACT00000341
PX-0570       DISC - Impact Image of Discord Post   DISC-IMPACT00000342   DISC-IMPACT00000342
PX-0571       DISC - Impact Image of Discord Post   DISC-IMPACT00000343   DISC-IMPACT00000343
PX-0572       DISC - Impact Image of Discord Post   DISC-IMPACT00000344   DISC-IMPACT00000344
PX-0573       DISC - Impact Image of Discord Post   DISC-IMPACT00000345   DISC-IMPACT00000346
PX-0574       DISC - Impact Image of Discord Post   DISC-IMPACT00000347   DISC-IMPACT00000348
PX-0575       DISC - Impact Image of Discord Post   DISC-IMPACT00000349   DISC-IMPACT00000349
PX-0576       DISC - Impact Image of Discord Post   DISC-IMPACT00000350   DISC-IMPACT00000350
PX-0577       DISC - Impact Image of Discord Post   DISC-IMPACT00000351   DISC-IMPACT00000351
PX-0578       DISC - Impact Image of Discord Post   DISC-IMPACT00000352   DISC-IMPACT00000352
PX-0579       DISC - Impact Image of Discord Post   DISC-IMPACT00000353   DISC-IMPACT00000356
PX-0580       DISC - Impact Image of Discord Post   DISC-IMPACT00000357   DISC-IMPACT00000358
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0581       DISC - Impact Image of Discord Post   DISC-IMPACT00000359   DISC-IMPACT00000360
PX-0582       DISC - Impact Image of Discord Post   DISC-IMPACT00000361   DISC-IMPACT00000367
PX-0583       DISC - Impact Image of Discord Post   DISC-IMPACT00000368   DISC-IMPACT00000368
PX-0584       DISC - Impact Image of Discord Post   DISC-IMPACT00000369   DISC-IMPACT00000373
PX-0585       DISC - Impact Image of Discord Post   DISC-IMPACT00000374   DISC-IMPACT00000375
PX-0586       DISC - Impact Image of Discord Post   DISC-IMPACT00000376   DISC-IMPACT00000378
PX-0587       DISC - Impact Image of Discord Post   DISC-IMPACT00000379   DISC-IMPACT00000380
PX-0588       DISC - Impact Image of Discord Post   DISC-IMPACT00000381   DISC-IMPACT00000382
PX-0589       DISC - Impact Image of Discord Post   DISC-IMPACT00000383   DISC-IMPACT00000384
PX-0590       DISC - Impact Image of Discord Post   DISC-IMPACT00000385   DISC-IMPACT00000385
PX-0591       DISC - Impact Image of Discord Post   DISC-IMPACT00000386   DISC-IMPACT00000386
PX-0592       DISC - Impact Image of Discord Post   DISC-IMPACT00000387   DISC-IMPACT00000387
PX-0593       DISC - Impact Image of Discord Post   DISC-IMPACT00000388   DISC-IMPACT00000388
PX-0594       DISC - Impact Image of Discord Post   DISC-IMPACT00000389   DISC-IMPACT00000391
PX-0595       DISC - Impact Image of Discord Post   DISC-IMPACT00000392   DISC-IMPACT00000392
PX-0596       DISC - Impact Image of Discord Post   DISC-IMPACT00000393   DISC-IMPACT00000393
PX-0597       DISC - Impact Image of Discord Post   DISC-IMPACT00000394   DISC-IMPACT00000407
PX-0598       DISC - Impact Image of Discord Post   DISC-IMPACT00000408   DISC-IMPACT00000413
PX-0599       DISC - Impact Image of Discord Post   DISC-IMPACT00000414   DISC-IMPACT00000415
PX-0600       DISC - Impact Image of Discord Post   DISC-IMPACT00000416   DISC-IMPACT00000416
PX-0601       DISC - Impact Image of Discord Post   DISC-IMPACT00000417   DISC-IMPACT00000418
PX-0602       DISC - Impact Image of Discord Post   DISC-IMPACT00000419   DISC-IMPACT00000425
PX-0603       DISC - Impact Image of Discord Post   DISC-IMPACT00000426   DISC-IMPACT00000426
PX-0604       DISC - Impact Image of Discord Post   DISC-IMPACT00000427   DISC-IMPACT00000429
PX-0605       DISC - Impact Image of Discord Post   DISC-IMPACT00000430   DISC-IMPACT00000430
PX-0606       DISC - Impact Image of Discord Post   DISC-IMPACT00000431   DISC-IMPACT00000432
PX-0607       DISC - Impact Image of Discord Post   DISC-IMPACT00000433   DISC-IMPACT00000434
PX-0608       DISC - Impact Image of Discord Post   DISC-IMPACT00000435   DISC-IMPACT00000435
PX-0609       DISC - Impact Image of Discord Post   DISC-IMPACT00000436   DISC-IMPACT00000438
PX-0610       DISC - Impact Image of Discord Post   DISC-IMPACT00000439   DISC-IMPACT00000439
PX-0611       DISC - Impact Image of Discord Post   DISC-IMPACT00000440   DISC-IMPACT00000440
PX-0612       DISC - Impact Image of Discord Post   DISC-IMPACT00000441   DISC-IMPACT00000448
PX-0613       DISC - Impact Image of Discord Post   DISC-IMPACT00000449   DISC-IMPACT00000449
PX-0614       DISC - Impact Image of Discord Post   DISC-IMPACT00000450   DISC-IMPACT00000450
PX-0615       DISC - Impact Image of Discord Post   DISC-IMPACT00000451   DISC-IMPACT00000452
PX-0616       DISC - Impact Image of Discord Post   DISC-IMPACT00000453   DISC-IMPACT00000453
PX-0617       DISC - Impact Image of Discord Post   DISC-IMPACT00000454   DISC-IMPACT00000454
PX-0618       DISC - Impact Image of Discord Post   DISC-IMPACT00000455   DISC-IMPACT00000457
PX-0619       DISC - Impact Image of Discord Post   DISC-IMPACT00000458   DISC-IMPACT00000461
PX-0620       DISC - Impact Image of Discord Post   DISC-IMPACT00000462   DISC-IMPACT00000462
PX-0621       DISC - Impact Image of Discord Post   DISC-IMPACT00000463   DISC-IMPACT00000465
PX-0622       DISC - Impact Image of Discord Post   DISC-IMPACT00000466   DISC-IMPACT00000466
PX-0623       DISC - Impact Image of Discord Post   DISC-IMPACT00000467   DISC-IMPACT00000467
PX-0624       DISC - Impact Image of Discord Post   DISC-IMPACT00000468   DISC-IMPACT00000468
PX-0625       DISC - Impact Image of Discord Post   DISC-IMPACT00000469   DISC-IMPACT00000469
PX-0626       DISC - Impact Image of Discord Post   DISC-IMPACT00000470   DISC-IMPACT00000471
PX-0627       DISC - Impact Image of Discord Post   DISC-IMPACT00000472   DISC-IMPACT00000472
PX-0628       DISC - Impact Image of Discord Post   DISC-IMPACT00000473   DISC-IMPACT00000475
PX-0629       DISC - Impact Image of Discord Post   DISC-IMPACT00000476   DISC-IMPACT00000476
PX-0630       DISC - Impact Image of Discord Post   DISC-IMPACT00000477   DISC-IMPACT00000477
PX-0631       DISC - Impact Image of Discord Post   DISC-IMPACT00000478   DISC-IMPACT00000478
PX-0632       DISC - Impact Image of Discord Post   DISC-IMPACT00000479   DISC-IMPACT00000479
PX-0633       DISC - Impact Image of Discord Post   DISC-IMPACT00000480   DISC-IMPACT00000483
PX-0634       DISC - Impact Image of Discord Post   DISC-IMPACT00000484   DISC-IMPACT00000485
PX-0635       DISC - Impact Image of Discord Post   DISC-IMPACT00000486   DISC-IMPACT00000488
PX-0636       DISC - Impact Image of Discord Post   DISC-IMPACT00000489   DISC-IMPACT00000489
PX-0637       DISC - Impact Image of Discord Post   DISC-IMPACT00000490   DISC-IMPACT00000490
PX-0638       DISC - Impact Image of Discord Post   DISC-IMPACT00000491   DISC-IMPACT00000492
PX-0639       DISC - Impact Image of Discord Post   DISC-IMPACT00000493   DISC-IMPACT00000493
PX-0640       DISC - Impact Image of Discord Post   DISC-IMPACT00000494   DISC-IMPACT00000495
PX-0641       DISC - Impact Image of Discord Post   DISC-IMPACT00000496   DISC-IMPACT00000498
PX-0642       DISC - Impact Image of Discord Post   DISC-IMPACT00000499   DISC-IMPACT00000501
PX-0643       DISC - Impact Image of Discord Post   DISC-IMPACT00000502   DISC-IMPACT00000502
PX-0644       DISC - Impact Image of Discord Post   DISC-IMPACT00000503   DISC-IMPACT00000505
PX-0645       DISC - Impact Image of Discord Post   DISC-IMPACT00000506   DISC-IMPACT00000507
PX-0646       DISC - Impact Image of Discord Post   DISC-IMPACT00000508   DISC-IMPACT00000508
PX-0647       DISC - Impact Image of Discord Post   DISC-IMPACT00000509   DISC-IMPACT00000509
PX-0648       DISC - Impact Image of Discord Post   DISC-IMPACT00000510   DISC-IMPACT00000511
PX-0649       DISC - Impact Image of Discord Post   DISC-IMPACT00000512   DISC-IMPACT00000513
PX-0650       DISC - Impact Image of Discord Post   DISC-IMPACT00000514   DISC-IMPACT00000514
PX-0651       DISC - Impact Image of Discord Post   DISC-IMPACT00000515   DISC-IMPACT00000516
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0652       DISC - Impact Image of Discord Post   DISC-IMPACT00000517   DISC-IMPACT00000518
PX-0653       DISC - Impact Image of Discord Post   DISC-IMPACT00000519   DISC-IMPACT00000520
PX-0654       DISC - Impact Image of Discord Post   DISC-IMPACT00000521   DISC-IMPACT00000523
PX-0655       DISC - Impact Image of Discord Post   DISC-IMPACT00000524   DISC-IMPACT00000525
PX-0656       DISC - Impact Image of Discord Post   DISC-IMPACT00000526   DISC-IMPACT00000528
PX-0657       DISC - Impact Image of Discord Post   DISC-IMPACT00000529   DISC-IMPACT00000529
PX-0658       DISC - Impact Image of Discord Post   DISC-IMPACT00000530   DISC-IMPACT00000531
PX-0659       DISC - Impact Image of Discord Post   DISC-IMPACT00000532   DISC-IMPACT00000533
PX-0660       DISC - Impact Image of Discord Post   DISC-IMPACT00000534   DISC-IMPACT00000534
PX-0661       DISC - Impact Image of Discord Post   DISC-IMPACT00000535   DISC-IMPACT00000535
PX-0662       DISC - Impact Image of Discord Post   DISC-IMPACT00000536   DISC-IMPACT00000536
PX-0663       DISC - Impact Image of Discord Post   DISC-IMPACT00000537   DISC-IMPACT00000537
PX-0664       DISC - Impact Image of Discord Post   DISC-IMPACT00000538   DISC-IMPACT00000538
PX-0665       DISC - Impact Image of Discord Post   DISC-IMPACT00000539   DISC-IMPACT00000539
PX-0666       DISC - Impact Image of Discord Post   DISC-IMPACT00000540   DISC-IMPACT00000540
PX-0667       DISC - Impact Image of Discord Post   DISC-IMPACT00000541   DISC-IMPACT00000541
PX-0668       DISC - Impact Image of Discord Post   DISC-IMPACT00000542   DISC-IMPACT00000542
PX-0669       DISC - Impact Image of Discord Post   DISC-IMPACT00000543   DISC-IMPACT00000543
PX-0670       DISC - Impact Image of Discord Post   DISC-IMPACT00000544   DISC-IMPACT00000546
PX-0671       DISC - Impact Image of Discord Post   DISC-IMPACT00000547   DISC-IMPACT00000548
PX-0672       DISC - Impact Image of Discord Post   DISC-IMPACT00000549   DISC-IMPACT00000553
PX-0673       DISC - Impact Image of Discord Post   DISC-IMPACT00000554   DISC-IMPACT00000554
PX-0674       DISC - Impact Image of Discord Post   DISC-IMPACT00000555   DISC-IMPACT00000555
PX-0675       DISC - Impact Image of Discord Post   DISC-IMPACT00000556   DISC-IMPACT00000556
PX-0676       DISC - Impact Image of Discord Post   DISC-IMPACT00000557   DISC-IMPACT00000557
PX-0677       DISC - Impact Image of Discord Post   DISC-IMPACT00000558   DISC-IMPACT00000558
PX-0678       DISC - Impact Image of Discord Post   DISC-IMPACT00000559   DISC-IMPACT00000559
PX-0679       DISC - Impact Image of Discord Post   DISC-IMPACT00000560   DISC-IMPACT00000561
PX-0680       DISC - Impact Image of Discord Post   DISC-IMPACT00000562   DISC-IMPACT00000568
PX-0681       DISC - Impact Image of Discord Post   DISC-IMPACT00000569   DISC-IMPACT00000572
PX-0682       DISC - Impact Image of Discord Post   DISC-IMPACT00000573   DISC-IMPACT00000573
PX-0683       DISC - Impact Image of Discord Post   DISC-IMPACT00000574   DISC-IMPACT00000575
PX-0684       DISC - Impact Image of Discord Post   DISC-IMPACT00000576   DISC-IMPACT00000577
PX-0685       DISC - Impact Image of Discord Post   DISC-IMPACT00000578   DISC-IMPACT00000596
PX-0686       DISC - Impact Image of Discord Post   DISC-IMPACT00000597   DISC-IMPACT00000597
PX-0687       DISC - Impact Image of Discord Post   DISC-IMPACT00000598   DISC-IMPACT00000598
PX-0688       DISC - Impact Image of Discord Post   DISC-IMPACT00000599   DISC-IMPACT00000599
PX-0689       DISC - Impact Image of Discord Post   DISC-IMPACT00000600   DISC-IMPACT00000600
PX-0690       DISC - Impact Image of Discord Post   DISC-IMPACT00000601   DISC-IMPACT00000601
PX-0691       DISC - Impact Image of Discord Post   DISC-IMPACT00000602   DISC-IMPACT00000602
PX-0692       DISC - Impact Image of Discord Post   DISC-IMPACT00000603   DISC-IMPACT00000603
PX-0693       DISC - Impact Image of Discord Post   DISC-IMPACT00000604   DISC-IMPACT00000604
PX-0694       DISC - Impact Image of Discord Post   DISC-IMPACT00000605   DISC-IMPACT00000605
PX-0695       DISC - Impact Image of Discord Post   DISC-IMPACT00000606   DISC-IMPACT00000606
PX-0696       DISC - Impact Image of Discord Post   DISC-IMPACT00000607   DISC-IMPACT00000607
PX-0697       DISC - Impact Image of Discord Post   DISC-IMPACT00000608   DISC-IMPACT00000608
PX-0698       DISC - Impact Image of Discord Post   DISC-IMPACT00000609   DISC-IMPACT00000609
PX-0699       DISC - Impact Image of Discord Post   DISC-IMPACT00000610   DISC-IMPACT00000610
PX-0700       DISC - Impact Image of Discord Post   DISC-IMPACT00000611   DISC-IMPACT00000611
PX-0701       DISC - Impact Image of Discord Post   DISC-IMPACT00000612   DISC-IMPACT00000612
PX-0702       DISC - Impact Image of Discord Post   DISC-IMPACT00000613   DISC-IMPACT00000613
PX-0703       DISC - Impact Image of Discord Post   DISC-IMPACT00000614   DISC-IMPACT00000614
PX-0704       DISC - Impact Image of Discord Post   DISC-IMPACT00000615   DISC-IMPACT00000616
PX-0705       DISC - Impact Image of Discord Post   DISC-IMPACT00000617   DISC-IMPACT00000617
PX-0706       DISC - Impact Image of Discord Post   DISC-IMPACT00000618   DISC-IMPACT00000618
PX-0707       DISC - Impact Image of Discord Post   DISC-IMPACT00000619   DISC-IMPACT00000621
PX-0708       DISC - Impact Image of Discord Post   DISC-IMPACT00000622   DISC-IMPACT00000623
PX-0709       DISC - Impact Image of Discord Post   DISC-IMPACT00000624   DISC-IMPACT00000625
PX-0710       DISC - Impact Image of Discord Post   DISC-IMPACT00000626   DISC-IMPACT00000626
PX-0711       DISC - Impact Image of Discord Post   DISC-IMPACT00000627   DISC-IMPACT00000627
PX-0712       DISC - Impact Image of Discord Post   DISC-IMPACT00000628   DISC-IMPACT00000628
PX-0713       DISC - Impact Image of Discord Post   DISC-IMPACT00000629   DISC-IMPACT00000629
PX-0714       DISC - Impact Image of Discord Post   DISC-IMPACT00000630   DISC-IMPACT00000631
PX-0715       DISC - Impact Image of Discord Post   DISC-IMPACT00000632   DISC-IMPACT00000633
PX-0716       DISC - Impact Image of Discord Post   DISC-IMPACT00000634   DISC-IMPACT00000634
PX-0717       DISC - Impact Image of Discord Post   DISC-IMPACT00000635   DISC-IMPACT00000635
PX-0718       DISC - Impact Image of Discord Post   DISC-IMPACT00000636   DISC-IMPACT00000636
PX-0719       DISC - Impact Image of Discord Post   DISC-IMPACT00000637   DISC-IMPACT00000637
PX-0720       DISC - Impact Image of Discord Post   DISC-IMPACT00000638   DISC-IMPACT00000639
PX-0721       DISC - Impact Image of Discord Post   DISC-IMPACT00000640   DISC-IMPACT00000640
PX-0722       DISC - Impact Image of Discord Post   DISC-IMPACT00000641   DISC-IMPACT00000641
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0723       DISC - Impact Image of Discord Post   DISC-IMPACT00000642   DISC-IMPACT00000642
PX-0724       DISC - Impact Image of Discord Post   DISC-IMPACT00000643   DISC-IMPACT00000652
PX-0725       DISC - Impact Image of Discord Post   DISC-IMPACT00000653   DISC-IMPACT00000653
PX-0726       DISC - Impact Image of Discord Post   DISC-IMPACT00000654   DISC-IMPACT00000654
PX-0727       DISC - Impact Image of Discord Post   DISC-IMPACT00000655   DISC-IMPACT00000655
PX-0728       DISC - Impact Image of Discord Post   DISC-IMPACT00000656   DISC-IMPACT00000656
PX-0729       DISC - Impact Image of Discord Post   DISC-IMPACT00000657   DISC-IMPACT00000657
PX-0730       DISC - Impact Image of Discord Post   DISC-IMPACT00000658   DISC-IMPACT00000658
PX-0731       DISC - Impact Image of Discord Post   DISC-IMPACT00000659   DISC-IMPACT00000659
PX-0732       DISC - Impact Image of Discord Post   DISC-IMPACT00000660   DISC-IMPACT00000660
PX-0733       DISC - Impact Image of Discord Post   DISC-IMPACT00000661   DISC-IMPACT00000661
PX-0734       DISC - Impact Image of Discord Post   DISC-IMPACT00000662   DISC-IMPACT00000662
PX-0735       DISC - Impact Image of Discord Post   DISC-IMPACT00000663   DISC-IMPACT00000663
PX-0736       DISC - Impact Image of Discord Post   DISC-IMPACT00000664   DISC-IMPACT00000664
PX-0737       DISC - Impact Image of Discord Post   DISC-IMPACT00000665   DISC-IMPACT00000665
PX-0738       DISC - Impact Image of Discord Post   DISC-IMPACT00000666   DISC-IMPACT00000666
PX-0739       DISC - Impact Image of Discord Post   DISC-IMPACT00000667   DISC-IMPACT00000667
PX-0740       DISC - Impact Image of Discord Post   DISC-IMPACT00000668   DISC-IMPACT00000668
PX-0741       DISC - Impact Image of Discord Post   DISC-IMPACT00000669   DISC-IMPACT00000669
PX-0742       DISC - Impact Image of Discord Post   DISC-IMPACT00000670   DISC-IMPACT00000670
PX-0743       DISC - Impact Image of Discord Post   DISC-IMPACT00000671   DISC-IMPACT00000671
PX-0744       DISC - Impact Image of Discord Post   DISC-IMPACT00000672   DISC-IMPACT00000672
PX-0745       DISC - Impact Image of Discord Post   DISC-IMPACT00000673   DISC-IMPACT00000673
PX-0746       DISC - Impact Image of Discord Post   DISC-IMPACT00000674   DISC-IMPACT00000674
PX-0747       DISC - Impact Image of Discord Post   DISC-IMPACT00000675   DISC-IMPACT00000675
PX-0748       DISC - Impact Image of Discord Post   DISC-IMPACT00000676   DISC-IMPACT00000676
PX-0749       DISC - Impact Image of Discord Post   DISC-IMPACT00000677   DISC-IMPACT00000677
PX-0750       DISC - Impact Image of Discord Post   DISC-IMPACT00000678   DISC-IMPACT00000678
PX-0751       DISC - Impact Image of Discord Post   DISC-IMPACT00000679   DISC-IMPACT00000679
PX-0752       DISC - Impact Image of Discord Post   DISC-IMPACT00000680   DISC-IMPACT00000680
PX-0753       DISC - Impact Image of Discord Post   DISC-IMPACT00000681   DISC-IMPACT00000681
PX-0754       DISC - Impact Image of Discord Post   DISC-IMPACT00000682   DISC-IMPACT00000682
PX-0755       DISC - Impact Image of Discord Post   DISC-IMPACT00000683   DISC-IMPACT00000683
PX-0756       DISC - Impact Image of Discord Post   DISC-IMPACT00000684   DISC-IMPACT00000684
PX-0757       DISC - Impact Image of Discord Post   DISC-IMPACT00000685   DISC-IMPACT00000685
PX-0758       DISC - Impact Image of Discord Post   DISC-IMPACT00000686   DISC-IMPACT00000686
PX-0759       DISC - Impact Image of Discord Post   DISC-IMPACT00000687   DISC-IMPACT00000687
PX-0760       DISC - Impact Image of Discord Post   DISC-IMPACT00000688   DISC-IMPACT00000688
PX-0761       DISC - Impact Image of Discord Post   DISC-IMPACT00000689   DISC-IMPACT00000689
PX-0762       DISC - Impact Image of Discord Post   DISC-IMPACT00000690   DISC-IMPACT00000690
PX-0763       DISC - Impact Image of Discord Post   DISC-IMPACT00000691   DISC-IMPACT00000691
PX-0764       DISC - Impact Image of Discord Post   DISC-IMPACT00000692   DISC-IMPACT00000692
PX-0765       DISC - Impact Image of Discord Post   DISC-IMPACT00000693   DISC-IMPACT00000693
PX-0766       DISC - Impact Image of Discord Post   DISC-IMPACT00000694   DISC-IMPACT00000694
PX-0767       DISC - Impact Image of Discord Post   DISC-IMPACT00000695   DISC-IMPACT00000695
PX-0768       DISC - Impact Image of Discord Post   DISC-IMPACT00000696   DISC-IMPACT00000696
PX-0769       DISC - Impact Image of Discord Post   DISC-IMPACT00000697   DISC-IMPACT00000697
PX-0770       DISC - Impact Image of Discord Post   DISC-IMPACT00000698   DISC-IMPACT00000698
PX-0771       DISC - Impact Image of Discord Post   DISC-IMPACT00000699   DISC-IMPACT00000699
PX-0772       DISC - Impact Image of Discord Post   DISC-IMPACT00000700   DISC-IMPACT00000700
PX-0773       DISC - Impact Image of Discord Post   DISC-IMPACT00000701   DISC-IMPACT00000701
PX-0774       DISC - Impact Image of Discord Post   DISC-IMPACT00000702   DISC-IMPACT00000702
PX-0775       DISC - Impact Image of Discord Post   DISC-IMPACT00000703   DISC-IMPACT00000703
PX-0776       DISC - Impact Image of Discord Post   DISC-IMPACT00000704   DISC-IMPACT00000704
PX-0777       DISC - Impact Image of Discord Post   DISC-IMPACT00000705   DISC-IMPACT00000705
PX-0778       DISC - Impact Image of Discord Post   DISC-IMPACT00000706   DISC-IMPACT00000706
PX-0779       DISC - Impact Image of Discord Post   DISC-IMPACT00000707   DISC-IMPACT00000707
PX-0780       DISC - Impact Image of Discord Post   DISC-IMPACT00000708   DISC-IMPACT00000708
PX-0781       DISC - Impact Image of Discord Post   DISC-IMPACT00000709   DISC-IMPACT00000709
PX-0782       DISC - Impact Image of Discord Post   DISC-IMPACT00000710   DISC-IMPACT00000710
PX-0783       DISC - Impact Image of Discord Post   DISC-IMPACT00000711   DISC-IMPACT00000711
PX-0784       DISC - Impact Image of Discord Post   DISC-IMPACT00000712   DISC-IMPACT00000712
PX-0785       DISC - Impact Image of Discord Post   DISC-IMPACT00000713   DISC-IMPACT00000713
PX-0786       DISC - Impact Image of Discord Post   DISC-IMPACT00000714   DISC-IMPACT00000714
PX-0787       DISC - Impact Image of Discord Post   DISC-IMPACT00000715   DISC-IMPACT00000715
PX-0788       DISC - Impact Image of Discord Post   DISC-IMPACT00000716   DISC-IMPACT00000716
PX-0789       DISC - Impact Image of Discord Post   DISC-IMPACT00000717   DISC-IMPACT00000717
PX-0790       DISC - Impact Image of Discord Post   DISC-IMPACT00000718   DISC-IMPACT00000718
PX-0791       DISC - Impact Image of Discord Post   DISC-IMPACT00000719   DISC-IMPACT00000719
PX-0792       DISC - Impact Image of Discord Post   DISC-IMPACT00000720   DISC-IMPACT00000720
PX-0793       DISC - Impact Image of Discord Post   DISC-IMPACT00000721   DISC-IMPACT00000721
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0794       DISC - Impact Image of Discord Post   DISC-IMPACT00000722   DISC-IMPACT00000722
PX-0795       DISC - Impact Image of Discord Post   DISC-IMPACT00000723   DISC-IMPACT00000723
PX-0796       DISC - Impact Image of Discord Post   DISC-IMPACT00000724   DISC-IMPACT00000724
PX-0797       DISC - Impact Image of Discord Post   DISC-IMPACT00000725   DISC-IMPACT00000725
PX-0798       DISC - Impact Image of Discord Post   DISC-IMPACT00000726   DISC-IMPACT00000726
PX-0799       DISC - Impact Image of Discord Post   DISC-IMPACT00000727   DISC-IMPACT00000727
PX-0800       DISC - Impact Image of Discord Post   DISC-IMPACT00000728   DISC-IMPACT00000728
PX-0801       DISC - Impact Image of Discord Post   DISC-IMPACT00000729   DISC-IMPACT00000729
PX-0802       DISC - Impact Image of Discord Post   DISC-IMPACT00000730   DISC-IMPACT00000730
PX-0803       DISC - Impact Image of Discord Post   DISC-IMPACT00000731   DISC-IMPACT00000731
PX-0804       DISC - Impact Image of Discord Post   DISC-IMPACT00000732   DISC-IMPACT00000732
PX-0805       DISC - Impact Image of Discord Post   DISC-IMPACT00000733   DISC-IMPACT00000733
PX-0806       DISC - Impact Image of Discord Post   DISC-IMPACT00000734   DISC-IMPACT00000734
PX-0807       DISC - Impact Image of Discord Post   DISC-IMPACT00000735   DISC-IMPACT00000735
PX-0808       DISC - Impact Image of Discord Post   DISC-IMPACT00000736   DISC-IMPACT00000736
PX-0809       DISC - Impact Image of Discord Post   DISC-IMPACT00000737   DISC-IMPACT00000737
PX-0810       DISC - Impact Image of Discord Post   DISC-IMPACT00000738   DISC-IMPACT00000738
PX-0811       DISC - Impact Image of Discord Post   DISC-IMPACT00000739   DISC-IMPACT00000739
PX-0812       DISC - Impact Image of Discord Post   DISC-IMPACT00000740   DISC-IMPACT00000740
PX-0813       DISC - Impact Image of Discord Post   DISC-IMPACT00000741   DISC-IMPACT00000741
PX-0814       DISC - Impact Image of Discord Post   DISC-IMPACT00000742   DISC-IMPACT00000742
PX-0815       DISC - Impact Image of Discord Post   DISC-IMPACT00000743   DISC-IMPACT00000743
PX-0816       DISC - Impact Image of Discord Post   DISC-IMPACT00000744   DISC-IMPACT00000744
PX-0817       DISC - Impact Image of Discord Post   DISC-IMPACT00000745   DISC-IMPACT00000745
PX-0818       DISC - Impact Image of Discord Post   DISC-IMPACT00000746   DISC-IMPACT00000746
PX-0819       DISC - Impact Image of Discord Post   DISC-IMPACT00000747   DISC-IMPACT00000748
PX-0820       DISC - Impact Image of Discord Post   DISC-IMPACT00000749   DISC-IMPACT00000749
PX-0821       DISC - Impact Image of Discord Post   DISC-IMPACT00000750   DISC-IMPACT00000750
PX-0822       DISC - Impact Image of Discord Post   DISC-IMPACT00000751   DISC-IMPACT00000757
PX-0823       DISC - Impact Image of Discord Post   DISC-IMPACT00000758   DISC-IMPACT00000758
PX-0824       DISC - Impact Image of Discord Post   DISC-IMPACT00000759   DISC-IMPACT00000759
PX-0825       DISC - Impact Image of Discord Post   DISC-IMPACT00000760   DISC-IMPACT00000760
PX-0826       DISC - Impact Image of Discord Post   DISC-IMPACT00000761   DISC-IMPACT00000761
PX-0827       DISC - Impact Image of Discord Post   DISC-IMPACT00000762   DISC-IMPACT00000762
PX-0828       DISC - Impact Image of Discord Post   DISC-IMPACT00000763   DISC-IMPACT00000768
PX-0829       DISC - Impact Image of Discord Post   DISC-IMPACT00000769   DISC-IMPACT00000769
PX-0830       DISC - Impact Image of Discord Post   DISC-IMPACT00000770   DISC-IMPACT00000770
PX-0831       DISC - Impact Image of Discord Post   DISC-IMPACT00000771   DISC-IMPACT00000772
PX-0832       DISC - Impact Image of Discord Post   DISC-IMPACT00000773   DISC-IMPACT00000773
PX-0833       DISC - Impact Image of Discord Post   DISC-IMPACT00000774   DISC-IMPACT00000774
PX-0834       DISC - Impact Image of Discord Post   DISC-IMPACT00000775   DISC-IMPACT00000775
PX-0835       DISC - Impact Image of Discord Post   DISC-IMPACT00000776   DISC-IMPACT00000776
PX-0836       DISC - Impact Image of Discord Post   DISC-IMPACT00000777   DISC-IMPACT00000778
PX-0837       DISC - Impact Image of Discord Post   DISC-IMPACT00000779   DISC-IMPACT00000779
PX-0838       DISC - Impact Image of Discord Post   DISC-IMPACT00000780   DISC-IMPACT00000780
PX-0839       DISC - Impact Image of Discord Post   DISC-IMPACT00000781   DISC-IMPACT00000781
PX-0840       DISC - Impact Image of Discord Post   DISC-IMPACT00000782   DISC-IMPACT00000782
PX-0841       DISC - Impact Image of Discord Post   DISC-IMPACT00000783   DISC-IMPACT00000783
PX-0842       DISC - Impact Image of Discord Post   DISC-IMPACT00000784   DISC-IMPACT00000784
PX-0843       DISC - Impact Image of Discord Post   DISC-IMPACT00000785   DISC-IMPACT00000785
PX-0844       DISC - Impact Image of Discord Post   DISC-IMPACT00000786   DISC-IMPACT00000786
PX-0845       DISC - Impact Image of Discord Post   DISC-IMPACT00000787   DISC-IMPACT00000787
PX-0846       DISC - Impact Image of Discord Post   DISC-IMPACT00000788   DISC-IMPACT00000788
PX-0847       DISC - Impact Image of Discord Post   DISC-IMPACT00000789   DISC-IMPACT00000789
PX-0848       DISC - Impact Image of Discord Post   DISC-IMPACT00000790   DISC-IMPACT00000790
PX-0849       DISC - Impact Image of Discord Post   DISC-IMPACT00000791   DISC-IMPACT00000791
PX-0850       DISC - Impact Image of Discord Post   DISC-IMPACT00000792   DISC-IMPACT00000792
PX-0851       DISC - Impact Image of Discord Post   DISC-IMPACT00000793   DISC-IMPACT00000793
PX-0852       DISC - Impact Image of Discord Post   DISC-IMPACT00000794   DISC-IMPACT00000794
PX-0853       DISC - Impact Image of Discord Post   DISC-IMPACT00000795   DISC-IMPACT00000795
PX-0854       DISC - Impact Image of Discord Post   DISC-IMPACT00000796   DISC-IMPACT00000796
PX-0855       DISC - Impact Image of Discord Post   DISC-IMPACT00000797   DISC-IMPACT00000797
PX-0856       DISC - Impact Image of Discord Post   DISC-IMPACT00000798   DISC-IMPACT00000798
PX-0857       DISC - Impact Image of Discord Post   DISC-IMPACT00000799   DISC-IMPACT00000799
PX-0858       DISC - Impact Image of Discord Post   DISC-IMPACT00000800   DISC-IMPACT00000800
PX-0859       DISC - Impact Image of Discord Post   DISC-IMPACT00000801   DISC-IMPACT00000801
PX-0860       DISC - Impact Image of Discord Post   DISC-IMPACT00000802   DISC-IMPACT00000802
PX-0861       DISC - Impact Image of Discord Post   DISC-IMPACT00000803   DISC-IMPACT00000803
PX-0862       DISC - Impact Image of Discord Post   DISC-IMPACT00000804   DISC-IMPACT00000805
PX-0863       DISC - Impact Image of Discord Post   DISC-IMPACT00000806   DISC-IMPACT00000806
PX-0864       DISC - Impact Image of Discord Post   DISC-IMPACT00000807   DISC-IMPACT00000807
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0865       DISC - Impact Image of Discord Post   DISC-IMPACT00000808   DISC-IMPACT00000808
PX-0866       DISC - Impact Image of Discord Post   DISC-IMPACT00000809   DISC-IMPACT00000809
PX-0867       DISC - Impact Image of Discord Post   DISC-IMPACT00000810   DISC-IMPACT00000810
PX-0868       DISC - Impact Image of Discord Post   DISC-IMPACT00000811   DISC-IMPACT00000811
PX-0869       DISC - Impact Image of Discord Post   DISC-IMPACT00000812   DISC-IMPACT00000812
PX-0870       DISC - Impact Image of Discord Post   DISC-IMPACT00000813   DISC-IMPACT00000813
PX-0871       DISC - Impact Image of Discord Post   DISC-IMPACT00000814   DISC-IMPACT00000814
PX-0872       DISC - Impact Image of Discord Post   DISC-IMPACT00000815   DISC-IMPACT00000815
PX-0873       DISC - Impact Image of Discord Post   DISC-IMPACT00000816   DISC-IMPACT00000816
PX-0874       DISC - Impact Image of Discord Post   DISC-IMPACT00000817   DISC-IMPACT00000817
PX-0875       DISC - Impact Image of Discord Post   DISC-IMPACT00000818   DISC-IMPACT00000818
PX-0876       DISC - Impact Image of Discord Post   DISC-IMPACT00000819   DISC-IMPACT00000819
PX-0877       DISC - Impact Image of Discord Post   DISC-IMPACT00000820   DISC-IMPACT00000820
PX-0878       DISC - Impact Image of Discord Post   DISC-IMPACT00000821   DISC-IMPACT00000821
PX-0879       DISC - Impact Image of Discord Post   DISC-IMPACT00000822   DISC-IMPACT00000822
PX-0880       DISC - Impact Image of Discord Post   DISC-IMPACT00000823   DISC-IMPACT00000823
PX-0881       DISC - Impact Image of Discord Post   DISC-IMPACT00000824   DISC-IMPACT00000824
PX-0882       DISC - Impact Image of Discord Post   DISC-IMPACT00000825   DISC-IMPACT00000825
PX-0883       DISC - Impact Image of Discord Post   DISC-IMPACT00000826   DISC-IMPACT00000826
PX-0884       DISC - Impact Image of Discord Post   DISC-IMPACT00000827   DISC-IMPACT00000827
PX-0885       DISC - Impact Image of Discord Post   DISC-IMPACT00000828   DISC-IMPACT00000828
PX-0886       DISC - Impact Image of Discord Post   DISC-IMPACT00000829   DISC-IMPACT00000829
PX-0887       DISC - Impact Image of Discord Post   DISC-IMPACT00000830   DISC-IMPACT00000830
PX-0888       DISC - Impact Image of Discord Post   DISC-IMPACT00000831   DISC-IMPACT00000831
PX-0889       DISC - Impact Image of Discord Post   DISC-IMPACT00000832   DISC-IMPACT00000832
PX-0890       DISC - Impact Image of Discord Post   DISC-IMPACT00000833   DISC-IMPACT00000833
PX-0891       DISC - Impact Image of Discord Post   DISC-IMPACT00000834   DISC-IMPACT00000834
PX-0892       DISC - Impact Image of Discord Post   DISC-IMPACT00000835   DISC-IMPACT00000835
PX-0893       DISC - Impact Image of Discord Post   DISC-IMPACT00000836   DISC-IMPACT00000836
PX-0894       DISC - Impact Image of Discord Post   DISC-IMPACT00000837   DISC-IMPACT00000837
PX-0895       DISC - Impact Image of Discord Post   DISC-IMPACT00000838   DISC-IMPACT00000838
PX-0896       DISC - Impact Image of Discord Post   DISC-IMPACT00000839   DISC-IMPACT00000839
PX-0897       DISC - Impact Image of Discord Post   DISC-IMPACT00000840   DISC-IMPACT00000840
PX-0898       DISC - Impact Image of Discord Post   DISC-IMPACT00000841   DISC-IMPACT00000841
PX-0899       DISC - Impact Image of Discord Post   DISC-IMPACT00000842   DISC-IMPACT00000842
PX-0900       DISC - Impact Image of Discord Post   DISC-IMPACT00000843   DISC-IMPACT00000843
PX-0901       DISC - Impact Image of Discord Post   DISC-IMPACT00000844   DISC-IMPACT00000844
PX-0902       DISC - Impact Image of Discord Post   DISC-IMPACT00000845   DISC-IMPACT00000845
PX-0903       DISC - Impact Image of Discord Post   DISC-IMPACT00000846   DISC-IMPACT00000846
PX-0904       DISC - Impact Image of Discord Post   DISC-IMPACT00000847   DISC-IMPACT00000847
PX-0905       DISC - Impact Image of Discord Post   DISC-IMPACT00000848   DISC-IMPACT00000848
PX-0906       DISC - Impact Image of Discord Post   DISC-IMPACT00000849   DISC-IMPACT00000849
PX-0907       DISC - Impact Image of Discord Post   DISC-IMPACT00000850   DISC-IMPACT00000850
PX-0908       DISC - Impact Image of Discord Post   DISC-IMPACT00000851   DISC-IMPACT00000851
PX-0909       DISC - Impact Image of Discord Post   DISC-IMPACT00000852   DISC-IMPACT00000852
PX-0910       DISC - Impact Image of Discord Post   DISC-IMPACT00000853   DISC-IMPACT00000853
PX-0911       DISC - Impact Image of Discord Post   DISC-IMPACT00000854   DISC-IMPACT00000854
PX-0912       DISC - Impact Image of Discord Post   DISC-IMPACT00000855   DISC-IMPACT00000857
PX-0913       DISC - Impact Image of Discord Post   DISC-IMPACT00000858   DISC-IMPACT00000859
PX-0914       DISC - Impact Image of Discord Post   DISC-IMPACT00000860   DISC-IMPACT00000860
PX-0915       DISC - Impact Image of Discord Post   DISC-IMPACT00000861   DISC-IMPACT00000861
PX-0916       DISC - Impact Image of Discord Post   DISC-IMPACT00000862   DISC-IMPACT00000862
PX-0917       DISC - Impact Image of Discord Post   DISC-IMPACT00000863   DISC-IMPACT00000863
PX-0918       DISC - Impact Image of Discord Post   DISC-IMPACT00000864   DISC-IMPACT00000864
PX-0919       DISC - Impact Image of Discord Post   DISC-IMPACT00000865   DISC-IMPACT00000865
PX-0920       DISC - Impact Image of Discord Post   DISC-IMPACT00000866   DISC-IMPACT00000867
PX-0921       DISC - Impact Image of Discord Post   DISC-IMPACT00000868   DISC-IMPACT00000868
PX-0922       DISC - Impact Image of Discord Post   DISC-IMPACT00000869   DISC-IMPACT00000869
PX-0923       DISC - Impact Image of Discord Post   DISC-IMPACT00000870   DISC-IMPACT00000871
PX-0924       DISC - Impact Image of Discord Post   DISC-IMPACT00000872   DISC-IMPACT00000872
PX-0925       DISC - Impact Image of Discord Post   DISC-IMPACT00000873   DISC-IMPACT00000873
PX-0926       DISC - Impact Image of Discord Post   DISC-IMPACT00000874   DISC-IMPACT00000874
PX-0927       DISC - Impact Image of Discord Post   DISC-IMPACT00000875   DISC-IMPACT00000876
PX-0928       DISC - Impact Image of Discord Post   DISC-IMPACT00000877   DISC-IMPACT00000877
PX-0929       DISC - Impact Image of Discord Post   DISC-IMPACT00000878   DISC-IMPACT00000878
PX-0930       DISC - Impact Image of Discord Post   DISC-IMPACT00000879   DISC-IMPACT00000879
PX-0931       DISC - Impact Image of Discord Post   DISC-IMPACT00000880   DISC-IMPACT00000880
PX-0932       DISC - Impact Image of Discord Post   DISC-IMPACT00000881   DISC-IMPACT00000881
PX-0933       DISC - Impact Image of Discord Post   DISC-IMPACT00000882   DISC-IMPACT00000882
PX-0934       DISC - Impact Image of Discord Post   DISC-IMPACT00000883   DISC-IMPACT00000883
PX-0935       DISC - Impact Image of Discord Post   DISC-IMPACT00000884   DISC-IMPACT00000884
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-0936       DISC - Impact Image of Discord Post   DISC-IMPACT00000885   DISC-IMPACT00000885
PX-0937       DISC - Impact Image of Discord Post   DISC-IMPACT00000886   DISC-IMPACT00000888
PX-0938       DISC - Impact Image of Discord Post   DISC-IMPACT00000889   DISC-IMPACT00000889
PX-0939       DISC - Impact Image of Discord Post   DISC-IMPACT00000890   DISC-IMPACT00000890
PX-0940       DISC - Impact Image of Discord Post   DISC-IMPACT00000891   DISC-IMPACT00000891
PX-0941       DISC - Impact Image of Discord Post   DISC-IMPACT00000892   DISC-IMPACT00000892
PX-0942       DISC - Impact Image of Discord Post   DISC-IMPACT00000893   DISC-IMPACT00000893
PX-0943       DISC - Impact Image of Discord Post   DISC-IMPACT00000894   DISC-IMPACT00000894
PX-0944       DISC - Impact Image of Discord Post   DISC-IMPACT00000895   DISC-IMPACT00000895
PX-0945       DISC - Impact Image of Discord Post   DISC-IMPACT00000896   DISC-IMPACT00000896
PX-0946       DISC - Impact Image of Discord Post   DISC-IMPACT00000897   DISC-IMPACT00000899
PX-0947       DISC - Impact Image of Discord Post   DISC-IMPACT00000900   DISC-IMPACT00000900
PX-0948       DISC - Impact Image of Discord Post   DISC-IMPACT00000901   DISC-IMPACT00000901
PX-0949       DISC - Impact Image of Discord Post   DISC-IMPACT00000902   DISC-IMPACT00000906
PX-0950       DISC - Impact Image of Discord Post   DISC-IMPACT00000907   DISC-IMPACT00000907
PX-0951       DISC - Impact Image of Discord Post   DISC-IMPACT00000908   DISC-IMPACT00000908
PX-0952       DISC - Impact Image of Discord Post   DISC-IMPACT00000909   DISC-IMPACT00000915
PX-0953       DISC - Impact Image of Discord Post   DISC-IMPACT00000916   DISC-IMPACT00000917
PX-0954       DISC - Impact Image of Discord Post   DISC-IMPACT00000918   DISC-IMPACT00000918
PX-0955       DISC - Impact Image of Discord Post   DISC-IMPACT00000919   DISC-IMPACT00000919
PX-0956       DISC - Impact Image of Discord Post   DISC-IMPACT00000920   DISC-IMPACT00000920
PX-0957       DISC - Impact Image of Discord Post   DISC-IMPACT00000921   DISC-IMPACT00000921
PX-0958       DISC - Impact Image of Discord Post   DISC-IMPACT00000922   DISC-IMPACT00000922
PX-0959       DISC - Impact Image of Discord Post   DISC-IMPACT00000923   DISC-IMPACT00000923
PX-0960       DISC - Impact Image of Discord Post   DISC-IMPACT00000924   DISC-IMPACT00000924
PX-0961       DISC - Impact Image of Discord Post   DISC-IMPACT00000925   DISC-IMPACT00000926
PX-0962       DISC - Impact Image of Discord Post   DISC-IMPACT00000927   DISC-IMPACT00000931
PX-0963       DISC - Impact Image of Discord Post   DISC-IMPACT00000932   DISC-IMPACT00000932
PX-0964       DISC - Impact Image of Discord Post   DISC-IMPACT00000933   DISC-IMPACT00000933
PX-0965       DISC - Impact Image of Discord Post   DISC-IMPACT00000934   DISC-IMPACT00000934
PX-0966       DISC - Impact Image of Discord Post   DISC-IMPACT00000935   DISC-IMPACT00000937
PX-0967       DISC - Impact Image of Discord Post   DISC-IMPACT00000938   DISC-IMPACT00000939
PX-0968       DISC - Impact Image of Discord Post   DISC-IMPACT00000940   DISC-IMPACT00000940
PX-0969       DISC - Impact Image of Discord Post   DISC-IMPACT00000941   DISC-IMPACT00000942
PX-0970       DISC - Impact Image of Discord Post   DISC-IMPACT00000943   DISC-IMPACT00000943
PX-0971       DISC - Impact Image of Discord Post   DISC-IMPACT00000944   DISC-IMPACT00000944
PX-0972       DISC - Impact Image of Discord Post   DISC-IMPACT00000945   DISC-IMPACT00000945
PX-0973       DISC - Impact Image of Discord Post   DISC-IMPACT00000946   DISC-IMPACT00000946
PX-0974       DISC - Impact Image of Discord Post   DISC-IMPACT00000947   DISC-IMPACT00000951
PX-0975       DISC - Impact Image of Discord Post   DISC-IMPACT00000952   DISC-IMPACT00000954
PX-0976       DISC - Impact Image of Discord Post   DISC-IMPACT00000955   DISC-IMPACT00000955
PX-0977       DISC - Impact Image of Discord Post   DISC-IMPACT00000956   DISC-IMPACT00000956
PX-0978       DISC - Impact Image of Discord Post   DISC-IMPACT00000957   DISC-IMPACT00000958
PX-0979       DISC - Impact Image of Discord Post   DISC-IMPACT00000959   DISC-IMPACT00000959
PX-0980       DISC - Impact Image of Discord Post   DISC-IMPACT00000960   DISC-IMPACT00000961
PX-0981       DISC - Impact Image of Discord Post   DISC-IMPACT00000962   DISC-IMPACT00000963
PX-0982       DISC - Impact Image of Discord Post   DISC-IMPACT00000964   DISC-IMPACT00000968
PX-0983       DISC - Impact Image of Discord Post   DISC-IMPACT00000969   DISC-IMPACT00000969
PX-0984       DISC - Impact Image of Discord Post   DISC-IMPACT00000970   DISC-IMPACT00000970
PX-0985       DISC - Impact Image of Discord Post   DISC-IMPACT00000971   DISC-IMPACT00000971
PX-0986       DISC - Impact Image of Discord Post   DISC-IMPACT00000972   DISC-IMPACT00000972
PX-0987       DISC - Impact Image of Discord Post   DISC-IMPACT00000973   DISC-IMPACT00000973
PX-0988       DISC - Impact Image of Discord Post   DISC-IMPACT00000974   DISC-IMPACT00000974
PX-0989       DISC - Impact Image of Discord Post   DISC-IMPACT00000975   DISC-IMPACT00000975
PX-0990       DISC - Impact Image of Discord Post   DISC-IMPACT00000976   DISC-IMPACT00000976
PX-0991       DISC - Impact Image of Discord Post   DISC-IMPACT00000977   DISC-IMPACT00000978
PX-0992       DISC - Impact Image of Discord Post   DISC-IMPACT00000979   DISC-IMPACT00000980
PX-0993       DISC - Impact Image of Discord Post   DISC-IMPACT00000981   DISC-IMPACT00000981
PX-0994       DISC - Impact Image of Discord Post   DISC-IMPACT00000982   DISC-IMPACT00000982
PX-0995       DISC - Impact Image of Discord Post   DISC-IMPACT00000983   DISC-IMPACT00000983
PX-0996       DISC - Impact Image of Discord Post   DISC-IMPACT00000984   DISC-IMPACT00000984
PX-0997       DISC - Impact Image of Discord Post   DISC-IMPACT00000985   DISC-IMPACT00000987
PX-0998       DISC - Impact Image of Discord Post   DISC-IMPACT00000988   DISC-IMPACT00000988
PX-0999       DISC - Impact Image of Discord Post   DISC-IMPACT00000989   DISC-IMPACT00000999
PX-1000       DISC - Impact Image of Discord Post   DISC-IMPACT00001000   DISC-IMPACT00001000
PX-1001       DISC - Impact Image of Discord Post   DISC-IMPACT00001001   DISC-IMPACT00001001
PX-1002       DISC - Impact Image of Discord Post   DISC-IMPACT00001002   DISC-IMPACT00001002
PX-1003       DISC - Impact Image of Discord Post   DISC-IMPACT00001003   DISC-IMPACT00001010
PX-1004       DISC - Impact Image of Discord Post   DISC-IMPACT00001011   DISC-IMPACT00001011
PX-1005       DISC - Impact Image of Discord Post   DISC-IMPACT00001012   DISC-IMPACT00001014
PX-1006       DISC - Impact Image of Discord Post   DISC-IMPACT00001015   DISC-IMPACT00001015
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-1007       DISC - Impact Image of Discord Post   DISC-IMPACT00001016   DISC-IMPACT00001018
PX-1008       DISC - Impact Image of Discord Post   DISC-IMPACT00001019   DISC-IMPACT00001019
PX-1009       DISC - Impact Image of Discord Post   DISC-IMPACT00001020   DISC-IMPACT00001020
PX-1010       DISC - Impact Image of Discord Post   DISC-IMPACT00001021   DISC-IMPACT00001021
PX-1011       DISC - Impact Image of Discord Post   DISC-IMPACT00001022   DISC-IMPACT00001022
PX-1012       DISC - Impact Image of Discord Post   DISC-IMPACT00001023   DISC-IMPACT00001027
PX-1013       DISC - Impact Image of Discord Post   DISC-IMPACT00001028   DISC-IMPACT00001028
PX-1014       DISC - Impact Image of Discord Post   DISC-IMPACT00001029   DISC-IMPACT00001033
PX-1015       DISC - Impact Image of Discord Post   DISC-IMPACT00001034   DISC-IMPACT00001034
PX-1016       DISC - Impact Image of Discord Post   DISC-IMPACT00001035   DISC-IMPACT00001035
PX-1017       DISC - Impact Image of Discord Post   DISC-IMPACT00001036   DISC-IMPACT00001037
PX-1018       DISC - Impact Image of Discord Post   DISC-IMPACT00001038   DISC-IMPACT00001038
PX-1019       DISC - Impact Image of Discord Post   DISC-IMPACT00001039   DISC-IMPACT00001039
PX-1020       DISC - Impact Image of Discord Post   DISC-IMPACT00001040   DISC-IMPACT00001040
PX-1021       DISC - Impact Image of Discord Post   DISC-IMPACT00001041   DISC-IMPACT00001041
PX-1022       DISC - Impact Image of Discord Post   DISC-IMPACT00001042   DISC-IMPACT00001044
PX-1023       DISC - Impact Image of Discord Post   DISC-IMPACT00001045   DISC-IMPACT00001049
PX-1024       DISC - Impact Image of Discord Post   DISC-IMPACT00001050   DISC-IMPACT00001052
PX-1025       DISC - Impact Image of Discord Post   DISC-IMPACT00001053   DISC-IMPACT00001053
PX-1026       DISC - Impact Image of Discord Post   DISC-IMPACT00001054   DISC-IMPACT00001054
PX-1027       DISC - Impact Image of Discord Post   DISC-IMPACT00001055   DISC-IMPACT00001055
PX-1028       DISC - Impact Image of Discord Post   DISC-IMPACT00001056   DISC-IMPACT00001056
PX-1029       DISC - Impact Image of Discord Post   DISC-IMPACT00001057   DISC-IMPACT00001057
PX-1030       DISC - Impact Image of Discord Post   DISC-IMPACT00001058   DISC-IMPACT00001058
PX-1031       DISC - Impact Image of Discord Post   DISC-IMPACT00001059   DISC-IMPACT00001060
PX-1032       DISC - Impact Image of Discord Post   DISC-IMPACT00001061   DISC-IMPACT00001061
PX-1033       DISC - Impact Image of Discord Post   DISC-IMPACT00001062   DISC-IMPACT00001062
PX-1034       DISC - Impact Image of Discord Post   DISC-IMPACT00001063   DISC-IMPACT00001063
PX-1035       DISC - Impact Image of Discord Post   DISC-IMPACT00001064   DISC-IMPACT00001065
PX-1036       DISC - Impact Image of Discord Post   DISC-IMPACT00001066   DISC-IMPACT00001066
PX-1037       DISC - Impact Image of Discord Post   DISC-IMPACT00001067   DISC-IMPACT00001067
PX-1038       DISC - Impact Image of Discord Post   DISC-IMPACT00001068   DISC-IMPACT00001068
PX-1039       DISC - Impact Image of Discord Post   DISC-IMPACT00001069   DISC-IMPACT00001069
PX-1040       DISC - Impact Image of Discord Post   DISC-IMPACT00001070   DISC-IMPACT00001070
PX-1041       DISC - Impact Image of Discord Post   DISC-IMPACT00001071   DISC-IMPACT00001071
PX-1042       DISC - Impact Image of Discord Post   DISC-IMPACT00001072   DISC-IMPACT00001072
PX-1043       DISC - Impact Image of Discord Post   DISC-IMPACT00001073   DISC-IMPACT00001073
PX-1044       DISC - Impact Image of Discord Post   DISC-IMPACT00001074   DISC-IMPACT00001074
PX-1045       DISC - Impact Image of Discord Post   DISC-IMPACT00001075   DISC-IMPACT00001075
PX-1046       DISC - Impact Image of Discord Post   DISC-IMPACT00001076   DISC-IMPACT00001080
PX-1047       DISC - Impact Image of Discord Post   DISC-IMPACT00001081   DISC-IMPACT00001081
PX-1048       DISC - Impact Image of Discord Post   DISC-IMPACT00001082   DISC-IMPACT00001082
PX-1049       DISC - Impact Image of Discord Post   DISC-IMPACT00001083   DISC-IMPACT00001083
PX-1050       DISC - Impact Image of Discord Post   DISC-IMPACT00001084   DISC-IMPACT00001084
PX-1051       DISC - Impact Image of Discord Post   DISC-IMPACT00001085   DISC-IMPACT00001086
PX-1052       DISC - Impact Image of Discord Post   DISC-IMPACT00001087   DISC-IMPACT00001087
PX-1053       DISC - Impact Image of Discord Post   DISC-IMPACT00001088   DISC-IMPACT00001089
PX-1054       DISC - Impact Image of Discord Post   DISC-IMPACT00001090   DISC-IMPACT00001090
PX-1055       DISC - Impact Image of Discord Post   DISC-IMPACT00001091   DISC-IMPACT00001091
PX-1056       DISC - Impact Image of Discord Post   DISC-IMPACT00001092   DISC-IMPACT00001092
PX-1057       DISC - Impact Image of Discord Post   DISC-IMPACT00001093   DISC-IMPACT00001094
PX-1058       DISC - Impact Image of Discord Post   DISC-IMPACT00001095   DISC-IMPACT00001097
PX-1059       DISC - Impact Image of Discord Post   DISC-IMPACT00001098   DISC-IMPACT00001098
PX-1060       DISC - Impact Image of Discord Post   DISC-IMPACT00001099   DISC-IMPACT00001102
PX-1061       DISC - Impact Image of Discord Post   DISC-IMPACT00001103   DISC-IMPACT00001103
PX-1062       DISC - Impact Image of Discord Post   DISC-IMPACT00001104   DISC-IMPACT00001108
PX-1063       DISC - Impact Image of Discord Post   DISC-IMPACT00001109   DISC-IMPACT00001109
PX-1064       DISC - Impact Image of Discord Post   DISC-IMPACT00001110   DISC-IMPACT00001110
PX-1065       DISC - Impact Image of Discord Post   DISC-IMPACT00001111   DISC-IMPACT00001111
PX-1066       DISC - Impact Image of Discord Post   DISC-IMPACT00001112   DISC-IMPACT00001112
PX-1067       DISC - Impact Image of Discord Post   DISC-IMPACT00001113   DISC-IMPACT00001114
PX-1068       DISC - Impact Image of Discord Post   DISC-IMPACT00001115   DISC-IMPACT00001115
PX-1069       DISC - Impact Image of Discord Post   DISC-IMPACT00001116   DISC-IMPACT00001116
PX-1070       DISC - Impact Image of Discord Post   DISC-IMPACT00001117   DISC-IMPACT00001117
PX-1071       DISC - Impact Image of Discord Post   DISC-IMPACT00001118   DISC-IMPACT00001119
PX-1072       DISC - Impact Image of Discord Post   DISC-IMPACT00001120   DISC-IMPACT00001121
PX-1073       DISC - Impact Image of Discord Post   DISC-IMPACT00001122   DISC-IMPACT00001122
PX-1074       DISC - Impact Image of Discord Post   DISC-IMPACT00001123   DISC-IMPACT00001125
PX-1075       DISC - Impact Image of Discord Post   DISC-IMPACT00001126   DISC-IMPACT00001128
PX-1076       DISC - Impact Image of Discord Post   DISC-IMPACT00001129   DISC-IMPACT00001133
PX-1077       DISC - Impact Image of Discord Post   DISC-IMPACT00001134   DISC-IMPACT00001135
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Exhibit No.   Description                           Beginning Bates       End Bates
PX-1078       DISC - Impact Image of Discord Post   DISC-IMPACT00001136   DISC-IMPACT00001136
PX-1079       DISC - Impact Image of Discord Post   DISC-IMPACT00001137   DISC-IMPACT00001137
PX-1080       DISC - Impact Image of Discord Post   DISC-IMPACT00001138   DISC-IMPACT00001138
PX-1081       DISC - Impact Image of Discord Post   DISC-IMPACT00001139   DISC-IMPACT00001139
PX-1082       DISC - Impact Image of Discord Post   DISC-IMPACT00001140   DISC-IMPACT00001140
PX-1083       DISC - Impact Image of Discord Post   DISC-IMPACT00001141   DISC-IMPACT00001141
PX-1084       DISC - Impact Image of Discord Post   DISC-IMPACT00001142   DISC-IMPACT00001142
PX-1085       DISC - Impact Image of Discord Post   DISC-IMPACT00001143   DISC-IMPACT00001143
PX-1086       DISC - Impact Image of Discord Post   DISC-IMPACT00001144   DISC-IMPACT00001144
PX-1087       DISC - Impact Image of Discord Post   DISC-IMPACT00001145   DISC-IMPACT00001145
PX-1088       DISC - Impact Image of Discord Post   DISC-IMPACT00001146   DISC-IMPACT00001146
PX-1089       DISC - Impact Image of Discord Post   DISC-IMPACT00001147   DISC-IMPACT00001147
PX-1090       DISC - Impact Image of Discord Post   DISC-IMPACT00001148   DISC-IMPACT00001148
PX-1091       DISC - Impact Image of Discord Post   DISC-IMPACT00001149   DISC-IMPACT00001149
PX-1092       DISC - Impact Image of Discord Post   DISC-IMPACT00001150   DISC-IMPACT00001150
PX-1093       DISC - Impact Image of Discord Post   DISC-IMPACT00001151   DISC-IMPACT00001151
PX-1094       DISC - Impact Image of Discord Post   DISC-IMPACT00001152   DISC-IMPACT00001152
PX-1095       DISC - Impact Image of Discord Post   DISC-IMPACT00001153   DISC-IMPACT00001153
PX-1096       DISC - Impact Image of Discord Post   DISC-IMPACT00001154   DISC-IMPACT00001154
PX-1097       DISC - Impact Image of Discord Post   DISC-IMPACT00001155   DISC-IMPACT00001156
PX-1098       DISC - Impact Image of Discord Post   DISC-IMPACT00001157   DISC-IMPACT00001157
PX-1099       DISC - Impact Image of Discord Post   DISC-IMPACT00001158   DISC-IMPACT00001158
PX-1100       DISC - Impact Image of Discord Post   DISC-IMPACT00001159   DISC-IMPACT00001159
PX-1101       DISC - Impact Image of Discord Post   DISC-IMPACT00001160   DISC-IMPACT00001160
PX-1102       DISC - Impact Image of Discord Post   DISC-IMPACT00001161   DISC-IMPACT00001164
PX-1103       DISC - Impact Image of Discord Post   DISC-IMPACT00001165   DISC-IMPACT00001165
PX-1104       DISC - Impact Image of Discord Post   DISC-IMPACT00001166   DISC-IMPACT00001166
PX-1105       DISC - Impact Image of Discord Post   DISC-IMPACT00001167   DISC-IMPACT00001167
PX-1106       DISC - Impact Image of Discord Post   DISC-IMPACT00001168   DISC-IMPACT00001168
PX-1107       DISC - Impact Image of Discord Post   DISC-IMPACT00001169   DISC-IMPACT00001169
PX-1108       DISC - Impact Image of Discord Post   DISC-IMPACT00001170   DISC-IMPACT00001170
PX-1109       DISC - Impact Image of Discord Post   DISC-IMPACT00001171   DISC-IMPACT00001171
PX-1110       DISC - Impact Image of Discord Post   DISC-IMPACT00001172   DISC-IMPACT00001172
PX-1111       DISC - Impact Image of Discord Post   DISC-IMPACT00001173   DISC-IMPACT00001173
PX-1112       DISC - Impact Image of Discord Post   DISC-IMPACT00001174   DISC-IMPACT00001174
PX-1113       DISC - Impact Image of Discord Post   DISC-IMPACT00001175   DISC-IMPACT00001175
PX-1114       DISC - Impact Image of Discord Post   DISC-IMPACT00001176   DISC-IMPACT00001177
PX-1115       DISC - Impact Image of Discord Post   DISC-IMPACT00001178   DISC-IMPACT00001179
PX-1116       DISC - Impact Image of Discord Post   DISC-IMPACT00001180   DISC-IMPACT00001180
PX-1117       DISC - Impact Image of Discord Post   DISC-IMPACT00001181   DISC-IMPACT00001182
PX-1118       DISC - Impact Image of Discord Post   DISC-IMPACT00001183   DISC-IMPACT00001183
PX-1119       DISC - Impact Image of Discord Post   DISC-IMPACT00001184   DISC-IMPACT00001184
PX-1120       DISC - Impact Image of Discord Post   DISC-IMPACT00001185   DISC-IMPACT00001185
PX-1121       DISC - Impact Image of Discord Post   DISC-IMPACT00001186   DISC-IMPACT00001186
PX-1122       DISC - Impact Image of Discord Post   DISC-IMPACT00001187   DISC-IMPACT00001187
PX-1123       DISC - Impact Image of Discord Post   DISC-IMPACT00001188   DISC-IMPACT00001188
PX-1124       DISC - Impact Image of Discord Post   DISC-IMPACT00001189   DISC-IMPACT00001189
PX-1125       DISC - Impact Image of Discord Post   DISC-IMPACT00001190   DISC-IMPACT00001190
PX-1126       DISC - Impact Image of Discord Post   DISC-IMPACT00001191   DISC-IMPACT00001191
PX-1127       DISC - Impact Image of Discord Post   DISC-IMPACT00001192   DISC-IMPACT00001192
PX-1128       DISC - Impact Image of Discord Post   DISC-IMPACT00001193   DISC-IMPACT00001193
PX-1129       DISC - Impact Image of Discord Post   DISC-IMPACT00001194   DISC-IMPACT00001194
PX-1130       DISC - Impact Image of Discord Post   DISC-IMPACT00001195   DISC-IMPACT00001196
PX-1131       DISC - Impact Image of Discord Post   DISC-IMPACT00001197   DISC-IMPACT00001199
PX-1132       DISC - Impact Image of Discord Post   DISC-IMPACT00001200   DISC-IMPACT00001200
PX-1133       DISC - Impact Image of Discord Post   DISC-IMPACT00001201   DISC-IMPACT00001201
PX-1134       DISC - Impact Image of Discord Post   DISC-IMPACT00001202   DISC-IMPACT00001202
PX-1135       DISC - Impact Image of Discord Post   DISC-IMPACT00001203   DISC-IMPACT00001203
PX-1136       DISC - Impact Image of Discord Post   DISC-IMPACT00001204   DISC-IMPACT00001204
PX-1137       DISC - Impact Image of Discord Post   DISC-IMPACT00001205   DISC-IMPACT00001205
PX-1138       DISC - Impact Image of Discord Post   DISC-IMPACT00001206   DISC-IMPACT00001206
PX-1139       DISC - Impact Image of Discord Post   DISC-IMPACT00001207   DISC-IMPACT00001207
PX-1140       DISC - Impact Image of Discord Post   DISC-IMPACT00001208   DISC-IMPACT00001208
PX-1141       DISC - Impact Image of Discord Post   DISC-IMPACT00001209   DISC-IMPACT00001209
PX-1142       DISC - Impact Image of Discord Post   DISC-IMPACT00001210   DISC-IMPACT00001210
PX-1143       DISC - Impact Image of Discord Post   DISC-IMPACT00001211   DISC-IMPACT00001212
PX-1144       DISC - Impact Image of Discord Post   DISC-IMPACT00001213   DISC-IMPACT00001214
PX-1145       DISC - Impact Image of Discord Post   DISC-IMPACT00001215   DISC-IMPACT00001215
PX-1146       DISC - Impact Image of Discord Post   DISC-IMPACT00001216   DISC-IMPACT00001216
PX-1147       DISC - Impact Image of Discord Post   DISC-IMPACT00001217   DISC-IMPACT00001217
PX-1148       DISC - Impact Image of Discord Post   DISC-IMPACT00001218   DISC-IMPACT00001219
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Exhibit No.   Description                                                                   Beginning Bates       End Bates
PX-1149       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001220   DISC-IMPACT00001221
PX-1150       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001222   DISC-IMPACT00001222
PX-1151       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001223   DISC-IMPACT00001223
PX-1152       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001224   DISC-IMPACT00001225
PX-1153       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001226   DISC-IMPACT00001226
PX-1154       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001227   DISC-IMPACT00001229
PX-1155       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001230   DISC-IMPACT00001230
PX-1156       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001231   DISC-IMPACT00001231
PX-1157       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001232   DISC-IMPACT00001234
PX-1158       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001235   DISC-IMPACT00001236
PX-1159       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001237   DISC-IMPACT00001237
PX-1160       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001238   DISC-IMPACT00001239
PX-1161       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001240   DISC-IMPACT00001240
PX-1162       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001241   DISC-IMPACT00001241
PX-1163       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001242   DISC-IMPACT00001243
PX-1164       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001244   DISC-IMPACT00001244
PX-1165       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001245   DISC-IMPACT00001245
PX-1166       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001246   DISC-IMPACT00001246
PX-1167       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001247   DISC-IMPACT00001247
PX-1168       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001248   DISC-IMPACT00001252
PX-1169       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001253   DISC-IMPACT00001253
PX-1170       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001254   DISC-IMPACT00001254
PX-1171       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001255   DISC-IMPACT00001255
PX-1172       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001256   DISC-IMPACT00001256
PX-1173       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001257   DISC-IMPACT00001257
PX-1174       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001258   DISC-IMPACT00001259
PX-1175       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001260   DISC-IMPACT00001260
PX-1176       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001261   DISC-IMPACT00001264
PX-1177       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001265   DISC-IMPACT00001265
PX-1178       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001266   DISC-IMPACT00001266
PX-1179       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001267   DISC-IMPACT00001267
PX-1180       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001268   DISC-IMPACT00001268
PX-1181       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001269   DISC-IMPACT00001269
PX-1182       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001270   DISC-IMPACT00001270
PX-1183       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001271   DISC-IMPACT00001271
PX-1184       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001272   DISC-IMPACT00001275
PX-1185       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001276   DISC-IMPACT00001278
PX-1186       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001279   DISC-IMPACT00001289
PX-1187       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001290   DISC-IMPACT00001290
PX-1188       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001291   DISC-IMPACT00001296
PX-1189       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001297   DISC-IMPACT00001297
PX-1190       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001298   DISC-IMPACT00001298
PX-1191       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001299   DISC-IMPACT00001299
PX-1192       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001300   DISC-IMPACT00001301
PX-1193       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001302   DISC-IMPACT00001303
PX-1194       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001304   DISC-IMPACT00001304
PX-1195       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001305   DISC-IMPACT00001305
PX-1196       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001306   DISC-IMPACT00001308
PX-1197       DISC - Impact Image of Discord Post                                           DISC-IMPACT00001309   DISC-IMPACT00001309
PX-1198       DISC - Discord Production PA004 - PA005                                       DISCORD-0002920       DISCORD-0005616
PX-1199       DISC - Discord Production PA008 - PA011                                       DISCORD-0005617       DISCORD-0008322
PX-1200       DISC - Discord Production PA007                                               DISCORD-0008323       DISCORD-0008323
PX-1201       DISC - Discord Production PA012 - PA013                                       DISCORD-0008324       DISCORD-0011370
PX-1202       PHOTO - Photo of Hitler that James Fields sent to his mother                  DOJ00000021245        DOJ00000021245
              PHOTO - Photo of August 11, 2017, torch march that James Fields sent to his
PX-1203       mother                                                                        DOJ00000021246        DOJ00000021246
              PHOTO - Photo of August 11, 2017, torch march that James Fields sent to his
PX-1204       mother                                                                        DOJ00000021247        DOJ00000021247
PX-1205       SMS - Samsung Return - Text Message from James Fields to his Mother           DOJ00000021248        DOJ00000021248
PX-1206       TWITTER – Image tweeted by James Fields                                       DOJ00000184           DOJ00000184
PX-1207       TWITTER – Image tweeted by James Fields                                       DOJ00000369           DOJ00000369
PX-1208       TWITTER – Image tweeted by James Fields                                       DOJ00000585           DOJ00000585
PX-1209       TWITTER – Image tweeted by James Fields                                       DOJ00000687           DOJ00000687
PX-1210       TWITTER – Image tweeted by James Fields                                       DOJ00000698           DOJ00000698
PX-1211       TWITTER – Image tweeted by James Fields                                       DOJ00000741           DOJ00000741
PX-1212       TWITTER – Image tweeted by James Fields                                       DOJ00001021           DOJ00001021
PX-1213       TWITTER – Image tweeted by James Fields                                       DOJ00001271           DOJ00001271
PX-1214       TWITTER – Image tweeted by James Fields                                       DOJ00001958           DOJ00001958
PX-1215       TWITTER – Image tweeted by James Fields                                       DOJ00002026           DOJ00002026
PX-1216       TWITTER – Image tweeted by James Fields                                       DOJ00002294           DOJ00002294
PX-1217       TWITTER – Image tweeted by James Fields                                       DOJ00002809           DOJ00002809
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Exhibit No.   Description                                                                 Beginning Bates     End Bates
PX-1218       TWITTER – Image tweeted by James Fields                                     DOJ00002905         DOJ00002905
PX-1219       TWITTER – Image tweeted by James Fields                                     DOJ00002958         DOJ00002958
PX-1220       TWITTER – Image tweeted by James Fields                                     DOJ00003097         DOJ00003097
PX-1221       TWITTER – Image tweeted by James Fields                                     DOJ00003146         DOJ00003146
PX-1222       TWITTER – Image tweeted by James Fields                                     DOJ00003210         DOJ00003210
PX-1223       TWITTER – Image tweeted by James Fields                                     DOJ00003223         DOJ00003223
PX-1224       TWITTER – Image tweeted by James Fields                                     DOJ00003427         DOJ00003427
PX-1225       TWITTER – Image tweeted by James Fields                                     DOJ00003734         DOJ00003734
PX-1226       TWITTER – Image tweeted by James Fields                                     DOJ00003741         DOJ00003741
PX-1227       TWITTER – Image tweeted by James Fields                                     DOJ00003765         DOJ00003765
PX-1228       TWITTER – Image tweeted by James Fields                                     DOJ00003778         DOJ00003778
PX-1229       TWITTER – Image tweeted by James Fields                                     DOJ00004000         DOJ00004000
PX-1230       TWITTER – Image tweeted by James Fields                                     DOJ00004146         DOJ00004146
PX-1231       TWITTER – Image tweeted by James Fields                                     DOJ00004148         DOJ00004148
PX-1232       TWITTER – Image tweeted by James Fields                                     DOJ00004310         DOJ00004310
PX-1233       TWITTER – Image tweeted by James Fields                                     DOJ00004347         DOJ00004347
PX-1234       TWITTER – Image tweeted by James Fields                                     DOJ00004614         DOJ00004614
PX-1235       TWITTER – Image tweeted by James Fields                                     DOJ00004720         DOJ00004720
PX-1236       TWITTER – Image tweeted by James Fields                                     DOJ00005076         DOJ00005076
PX-1237       TWITTER – Image tweeted by James Fields                                     DOJ00005311         DOJ00005311
PX-1238       TWITTER – Image tweeted by James Fields                                     DOJ00005344         DOJ00005344
PX-1239       TWITTER – Image tweeted by James Fields                                     DOJ00005493         DOJ00005493
PX-1240       TWITTER – Image tweeted by James Fields                                     DOJ00005599         DOJ00005599
PX-1241       TWITTER – Tweets by James Fields                                            DOJ00005615         DOJ00005916
PX-1242       TWITTER – Tweets by James Fields                                            DOJ00006273         DOJ00006807
PX-1243       TWITTER – Video tweeted by James Fields                                     DOJ00006937         DOJ00006937
PX-1244       DOC - Instagram Business Record for James Fields                            DOJ00007916         DOJ00008450
PX-1245       DOC - Facebook Business Record for James Fields                             DOJ00010957         DOJ00017007
PX-1246       DOC - Extraction Report for James Fields' phone                             DOJ00017008         DOJ00021244
PX-1247       TWITTER - UVA BSA Twitter                                                   WILLIS_00001321-C   WILLIS_00001322-C
PX-1248       SMS - Text message from Elliott Kline to Bree                               EK00000180          EK00000180
PX-1249       SMS - Text message from Elliott Kline to Patrick C.                         EK00000406          EK00000406
PX-1250       SMS - Text message conversation between "Coach" to Bree                     EK00000733          EK00000733
PX-1251       SMS - Text message conversation between "Coach" to Bree                     EK00000733          EK00000733
PX-1252       SMS - Text message from Elliott Kline to "Antifa Cat Lady"                  EK00001146          EK00001146
PX-1253       SMS - Text message from "Coach" to "Antifa Cat Lady"                        EK00001556          EK00001556
PX-1254       SMS - Text message from "Coach" to "Antifa Cat Lady"                        EK00001740          EK00001740
PX-1255       SMS - Text message from "Coach" to "Antifa Cat Lady"                        EK00001912          EK00001912
PX-1256       SMS - Text message from Antifa Cat Lady to Elliott Kline                    EK00002237          EK00002237
PX-1257       SMS - Text message from "Coach" to "Antifa Cat Lady"                        EK00003983          EK00003983
PX-1258       SMS - Text message from Elliott Kline to "Antifa Cat Lady"                  EK00004004          EK00004004
PX-1259       SMS - Text message from "Coach" to "Jayoh"                                  EK00004334          EK00004334
PX-1260       SMS - Text from "Coach"                                                     EK00004434          EK00004434
PX-1261       SMS - Text message from Augustus Invictus to "Coach"                        EK00004644          EK00004644

PX-1262       SMS - Text message conversation between Elliott Kline and August Invictus   EK00004647          EK00004648
PX-1263       SMS - Text message from August Invictus to Elliott Kline                    EK00004651          EK00004651
              SMS - Text message conversation between Elliott Kline, Jason Kessler, and
PX-1264       Erica                                                                       EK00004708          EK00004709
PX-1265       SMS - Text message from Elliott Kline to Jason Kessler and Erica            EK00004724          EK00004724
PX-1266       SMS - Text message from Erica to Jason Kessler and "Coach"                  EK00004731          EK00004731
PX-1267       SMS - Text message from "Coach" to Jason Kessler and Erica                  EK00004737          EK00004737
PX-1268       SMS - Text message from Elliott Kline to Balabon                            EK00004838          EK00004838
PX-1269       SMS - Text message from Mathias to Elliott Kline                            EK00004975          EK00004975
PX-1270       SMS - Text message from Elliott Kline to Nathan Damigo                      EK00005141          EK00005142
PX-1271       SMS - Text message between "Coach" and Damigo                               EK00005165          EK00005165
PX-1272       SMS - Text message from Elliott Kline to Nathan Damigo                      EK00005232          EK00005233

PX-1273       SMS - Text message conversation between Elliott Kline and Nathan Damigo     EK00005283          EK00005285
PX-1274       SMS - Text message from Nathan Damigo to Elliott Kline                      EK00005285          EK00005285
PX-1275       SMS - Text message between Nathan Damigo and Elliott Kline                  EK00005322          EK00005335
PX-1276       SMS - Text message from Nathan Damigo                                       EK00005330          EK00005330
PX-1277       SMS - Text message from Nathan Damigo                                       EK00005331          EK00005331
PX-1278       SMS - Text message from Nathan Damigo to "Coach"                            EK00005341          EK00005342
PX-1279       SMS - Text message from Nathan Damigo to "Coach"                            EK00005616          EK00005616
PX-1280       SMS - Text message from "Coach" to Nathan Damigo                            EK00005680          EK00005680
PX-1281       SMS - Text message conversation between "Coach" and Nathan Damigo           EK00005746          EK00005751
PX-1282       SMS - Text message conversation between "Coach" and Nathan Damigo           EK00005763          EK00005768
PX-1283       SMS - Text message from Elliott Kline                                       EK00005778          EK00005778
PX-1284       SMS - Text message from Elliott Kline                                       EK00006036          EK00006036
PX-1285       SMS - Text message from Elliott Kline to Richard Spencer                    EK00006529          EK00006529
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Exhibit No.   Description                                                                Beginning Bates   End Bates
PX-1286       SMS - Text message from Elliott Kline to Richard Spencer                   EK00006531        EK00006531
PX-1287       SMS - Text message from Richard Spencer to Elliott Kline                   EK00006532        EK00006532
PX-1288       SMS - Text message from Elliott Kline to Richard Spencer                   EK00006584        EK00006584
PX-1289       SMS - Text message from Elliott Kline to Richard Spencer                   EK00006617        EK00006617
PX-1290       SMS - Text message conversation between Richard Spencer and "Coach"        EK00006993        EK00006999
PX-1291       SMS - Text message from Richard Spencer to "Coach"                         EK00007004        EK00007004
PX-1292       SMS - Text message from Richard Spencer to "Coach"                         EK00007008        EK00007008
PX-1293       TWITTER - Screenshot of Jason Kessler quote retweet                        EK00007011        EK00007011
PX-1294       SMS - Text message from "Coach" to Richard Spencer                         EK00007022        EK00007022
PX-1295       SMS - Text message from "Coach" to Richard Spencer                         EK00007033        EK00007033
PX-1296       SMS - Text message from "Coach" to Richard Spencer                         EK00007042        EK00007042
PX-1297       SMS - Text message from Richard Spencer to "Coach"                         EK00007258        EK00007258
PX-1298       SMS - Text message from Elliott Kline                                      EK00009163        EK00009163
PX-1299       SMS - Text message from Erica to Elliott Kline                             EK00009502        EK00009502
PX-1300       SMS - Text message from "Coach" to Jason Kessler                           EK00009654        EK00009654
PX-1301       SMS - Text message from Elliott Kline to Jason Kessler                     EK00009660        EK00009660
PX-1302       SMS - Text message from "Coach" to Jason Kessler                           EK00009661        EK00009661
PX-1303       SMS - Text message from Jason Kessler to Elliott Kline                     EK00009692        EK00009693
PX-1304       SMS - Text message conversation between "Coach" and Jason Kessler          EK00009712        EK00009714
PX-1305       SMS - Text message from Jason Kessler to Elliott Kline                     EK00009720        EK00009720
PX-1306       SMS - Text message conversation between "Coach" and Jason Kessler          EK00009832        EK00009834
PX-1307       SMS - Text message from Elliott Kline to Jason Kessler                     EK00009854        EK00009854
PX-1308       SMS - Text message from Jason Kessler to Elliott Kline                     EK00009861        EK00009861
PX-1309       SMS - Text message conversation between "Coach" and Jason Kessler          EK00009866        EK00009867
PX-1310       SMS - Text message from "Coach" to Jason Kessler                           EK00010045        EK00010045
PX-1311       SMS - Text message from "Coach" to Jason Kessler                           EK00010134        EK00010134
PX-1312       SMS - Text message from "Coach" to Jason Kessler                           EK00010219        EK00010219
PX-1313       SMS - Text message conversation between Jason Kessler and "Coach"          EK00010238        EK00010241
PX-1314       SMS - Text message from "Coach" to Jason Kessler                           EK00010246        EK00010246
PX-1315       SMS - Text message from Jason Kessler to "Coach"                           EK00010259        EK00010259
PX-1316       SMS - Text message from "Coach" to Jason Kessler                           EK00010263        EK00010263
PX-1317       SMS - Text message from "Coach" to Jason Kessler                           EK00010273        EK00010273
PX-1318       SMS - Text message from "Coach" to Jason Kessler                           EK00010317        EK00010317
PX-1319       SMS - Text message from "Coach" to Jason Kessler                           EK00010325        EK00010325
PX-1320       SMS - Text message from "Coach" to Jason Kessler                           EK00010334        EK00010334
PX-1321       SMS - Text message from Elliott Kline                                      EK00010631        EK00010631
PX-1322       SMS - Text message conversation between "Coach" and Tom K.                 EK00010770        EK00010771
PX-1323       SMS - Text message from Elliott Kline to Jason Kessler                     EK00011009        EK00011009
PX-1324       SMS - Text message from "Coach"                                            EK00011180        EK00011180
PX-1325       SMS - Text message from Elliott Kline to Gavin M.                          EK00011362        EK00011362
PX-1326       SMS - Text message from Coach to Rob S.                                    EK00011588        EK00011588
PX-1327       SMS - Text message from Elliott Kline                                      EK00013007        EK00013007
PX-1328       SMS - Text message from Christopher Cantwell to Elliott Kline              EK00013304        EK00013304
PX-1329       SMS - Text message from Christopher Cantwell to Elliott Kline              EK00013963        EK00013963
PX-1330       SMS - Text message from Matthew Heimbach to Elliott Kline                  EK00014221        EK00014221
PX-1331       SMS - Text message from Matthew Heimbach to Elliott Kline                  EK00014263        EK00014263
PX-1332       SMS - Text message from Matthew Heimbach to Elliott Kline                  EK00014271        EK00014271
                                                                                                           EK00014323
PX-1333       SMS - Text message from Jason Kessler to Elliott Kline                     EK00014323
PX-1334       SMS - Text message to Elliott Kline                                        EK00014485        EK00014485
              EMAIL - Email from Identity Evropa to undisclosed-recipients and bcc'ing
PX-1335       deplorabletruth                                                            EK00018581        EK00018581
PX-1336       DOC - Document regarding security orders for Unite the Right               EK00018968        EK00018981
PX-1337       DOC - Document regarding security orders for Unite the Right               EK00018984        EK00018994
PX-1338       DOC - Document regarding operational orders for Unite the Right            EK00019001        EK00019010
PX-1339       DOC - Document regarding nondisclosure agreement                           EK00019582        EK00019589
PX-1340       EMAIL - Email from Elliott Kline to Tim P.                                 EK00019694        EK00019695
PX-1341       EMAIL - Email from Robert C. to Elliott Kline                              EK00019775        EK00019784
PX-1342       DOC - Document regarding rally in Auburn                                   EK00020187        EK00020191
PX-1343       DOC - Document regarding Robert E. Lee statute                             EK00021006        EK00021007
PX-1344       EMAIL - Email from Deplorable Truth to Evan M.                             EK00021522        EK00021523
PX-1345       DOC - Document regarding general orders for Unite the Right                EK00021867        EK00021875
PX-1346       TWITTER - Tweet by Elliott Kline                                           EK00024359        EK00024359
PX-1347       DOC - Document regarding initial operational order for Unite the Right     EK00024796        EK00024803
PX-1348       EMAIL - Email from Identity Evropa to Elliott Kline                        EK00070628        EK00070629
PX-1349       PHOTO - Photo of Red Pump video (Fed 39)                                   FENTON00005330    FENTON00005330
PX-1350       PHOTO - Photo of Red Pump video (Fed 39)                                   FENTON00005845    FENTON00005845
PX-1351       PHOTO - Photo of Red Pump video (Fed 39)                                   FENTON00005939    FENTON00005939
PX-1352       PHOTO - Photo of Red Pump video (Fed 39)                                   FENTON00006109    FENTON00006109
PX-1353       PHOTO - Photo of police helicopter video (Fed 37)                          FENTON00011015    FENTON00011015
PX-1354       PHOTO - Photo of police helicopter video (Fed 37)                          FENTON00011060    FENTON00011060
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Exhibit No.   Description                                                                   Beginning Bates   End Bates
PX-1355       PHOTO - Photo of police helicopter video (Fed 37)                             FENTON00011763    FENTON00011763
PX-1356       PHOTO - Photo of Challenger (Fed 41)                                          FENTON00013428    FENTON00013428
PX-1357       PHOTO - Photo of James Fields' driving into the crowd (Fed 41)                FENTON00013731    FENTON00013731
PX-1358       PHOTO - Photo of Challenger (Fed 41)                                          FENTON00013778    FENTON00013778
PX-1359       PHOTO - Photo of James Fields' driving into the crowd (Fed 41)                FENTON00013843    FENTON00013843
PX-1360       PHOTO - Photo of marchers along 2nd Street (Fed 40)                           FENTON00016495    FENTON00016495
PX-1361       PHOTO - Photo of southbound intersection of crime scene                       FENTON00017320    FENTON00017320
PX-1362       PHOTO - Photo of James Fields's car                                           FENTON00017447    FENTON00017447
PX-1363       PHOTO - Photo of northbound intersection of crime scene                       FENTON00017513    FENTON00017513
PX-1364       PHOTO - Photo of Southbound intersection of crime scene                       FENTON00017548    FENTON00017548
PX-1365       PHOTO - Photo of James Fields' car after car attack                           FENTON00017615    FENTON00017615
PX-1366       PHOTO - Photo of northbound intersection of crime scene                       FENTON00017723    FENTON00017723
PX-1367       PHOTO - Photo of James Fields' car after car attack                           FENTON00017734    FENTON00017734
PX-1368       VID - Video reconstruction of the car attack                                  FENTON00017870    FENTON00017870
PX-1369       VID - Video reconstruction of the car attack                                  FENTON00017881    FENTON00017881
PX-1370       VID - Video reconstruction of the car attack                                  FENTON00017882    FENTON00017882
PX-1371       VID - Video reconstruction of the car attack                                  FENTON00017902    FENTON00017902
PX-1372       VID - Video reconstruction of the car attack                                  FENTON00017904    FENTON00017904
PX-1373       VID - Video reconstruction of the car attack                                  FENTON00017905    FENTON00017905
PX-1374       VID - Video reconstruction of the car attack                                  FENTON00017937    FENTON00017937
PX-1375       PR - Google - Phone Records for Elliott Kline                                 GOOGLE00000001    GOOGLE00000002
              PR - GOOGLE - Phone Records for Christopher Cantwell (Certification &
PX-1376       Google Voice Records)                                                         GOOGLE00000003    GOOGLE00000004
              PR - GOOGLE - Phone Records for Matthew Parrott (Certification & Google
PX-1377       Voice Records)                                                                GOOGLE00000005    GOOGLE00000006
PX-1378       AUD - Audio recording of Southern Nationalist Radio Podcast, Episode 63
              AUD - Audio recording of Southern Nationalist Radio Podcast, Episode 48
PX-1379       with Michael Hill
PX-1380       TWITTER - Tweet by Identity Evropa                                            IE00000770        IE00000770
PX-1381       TWITTER - Tweet by Identity Evropa                                            IE00000808        IE00000808
PX-1382       FB - Facebook post by Jason Kessler
PX-1383       PHOTO - Photo of Hitler
PX-1384       INTENTIONALLY LEFT BLANK
PX-1385       INTENTIONALLY LEFT BLANK
PX-1386       SMS - Text message from Jason Kessler to Davy C.                              JK00026615        JK00026616
PX-1387       SMS - Text Message from Jason Kessler to Nathan Damigo                        JK00026799        JK00026799
PX-1388       SMS - Text Message from Jason Kessler to Nathan Damigo                        JK00026808        JK00026808
PX-1389       SMS - Text message from Jason Kessler to Richard Spencer                      JK00027294        JK00027294
PX-1390       SMS - Text message from Jason Kessler to Richard Spencer                      JK00027314        JK00027314
PX-1391       SMS - Text message from Richard Spencer to Jason Kessler                      JK00027326        JK00027326
PX-1392       SMS - Text message from Jason Kessler to Richard Spencer                      JK00027398        JK00027398
PX-1393       SMS - Text message from Jason Kessler to Richard Spencer                      JK00027419        JK00027419

PX-1394       SMS - Text message conversation between Baked Alaska and Jason Kessler        JK00027707        JK00027707
PX-1395       SMS - Text message from Jason Kessler                                         JK00027721        JK00027721
PX-1396       SMS - Text message from Jason Kessler to August Invictus                      JK00028420        JK00028421
PX-1397       SMS - Text message from Jason Kessler to Elliott Kline                        JK00030136        JK00030136
PX-1398       SMS - Text message conversation with Elliott Kline                            JK00030159        JK00030163
PX-1399       SMS - Text message from Jason Kessler to Elliott Kline                        JK00030207        JK00030208
PX-1400       SMS - Text message from Jason Kessler to Elliott Kline                        JK00030209        JK00030210
PX-1401       SMS - Text message from Jason Kessler to Elliott Kline                        JK00030593        JK00030593
PX-1402       DOC - Document regarding white genocide                                       JK00053125        JK00053129
PX-1403       EMAIL - Email from Burt to Jason Kessler                                      JK00059738        JK00059738
PX-1404       EMAIL - Email from Jason Kessler                                              JK00064301        JK00064302
PX-1405       EMAIL - Email from NSM to Jason Kessler                                       JK00064894        JK00064895
              AUD - Audio recording of conversation between Jason Kessler and
PX-1406       Christopher Cantwell about August 11, 2017                                    JK00067288        JK00067288
PX-1407       ARTICLE - Press release regarding marches on Charlottesville, VA              JK00072011        JK00072012
PX-1408       EMAIL - Email from Dennis D. to Jason H.                                      JK00072017        JK00072018
PX-1409       AUD - Audio recording of Robert B. speech                                     JK00077263        JK00077263
PX-1410       EMAIL - Email from Jason Kessler to Jeff Schoep                               JK00084126        JK00084129
PX-1411       EMAIL - Email from Jason Kessler to Tony H.                                   JK00096649        JK00096650
              SMS - Text message conversation between Jason Kessler and Augustus
PX-1412       Invictus                                                                      JK00102914        JK00102939
PX-1413       INTENTIONALLY LEFT BLANK
              SMS - Text message conversation between individuals including Jason
PX-1414       Kessler and Elliott Kline                                                     JK00103324        JK00103324
              SMS - Text message conversation between Jason Kessler, "Erica," and Elliott
PX-1415       Kline                                                                         JK00103342        JK00103349
              SMS - Text message conversation between Matthew Heimbach and Jason
PX-1416       Kessler                                                                       JK00103534        JK00103546
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PX-1417       SMS - Text message conversation between Jason Kessler and Michael Hill     JK00103547        JK00103547
PX-1418       DOC - Document regarding schedule for Unite the Right                      JK00106550        JK00106550
PX-1419       DISC - Discord post                                                        JK00112807        JK00112807
PX-1420       DISC - Unicorn Riot Discord Leaks                                          JK00113563        JK00113761
PX-1421       DOC - Document regarding operational order for Unite the Right             JK00113770        JK00113779
PX-1422       DOC – Document regarding speech for Charlottesville                        JK00115181        JK00115185
              SMS - Text message conversation between Jason Kessler and Christopher
PX-1423       Cantwell                                                                   JK00121377        JK00121378
PX-1424       SMS - Text message conversation with Jeff Schoep                           JK00121736        JK00121736
              SMS – Text message conversation between Matthew Heimbach and Jason
PX-1425       Kessler                                                                    JK00121798        JK00121807
PX-1426       SMS - Text messages between Jason Kessler and T. H.                        JK00121935        JK00121941
PX-1427       DOC - Affidavit of Angela T.                                               JK00122085        JK00122089
PX-1428       DOC - Document regarding initial operational order for Unite the Right     JK00396590        JK00396596
              FB – Facebook conversation with Nathan Damigo, Augustus Invictus and 3
PX-1429       others                                                                     JK00397727        JK00397728
PX-1430       FB – Facebook conversation with Hunter S. and 11 others                    JK00397729        JK00397871
PX-1431       FB – Facebook conversation including Jason Kessler                         JK00398901        JK00398923
PX-1432       FB – Facebook conversation including Jason Kessler                         JK00398954        JK00398970
PX-1433       FB – Facebook conversation including Jason Kessler                         JK00398995        JK00399487
PX-1434       FB – Facebook conversation including Jason Kessler                         JK00400437        JK00400620
PX-1435       FB - Facebook conversation between Matthew Parrott and Ambien Falcon       JK00401140        JK00401143

PX-1436       FB - Facebook conversation between Ambien Falcon and Matthew Heimbach      JK00401264        JK00401278
PX-1437       FB - Facebook conversation between Ambien Falcon and Colton M.             JK00401619        JK00401632
PX-1438       FB - Facebook conversation between Ambien Falcon and Sacco V.              JK00401639        JK00401643
PX-1439       FB - Facebook conversation between Ambien Falcon and Erika                 JK00402454        JK00402455
PX-1440       FB - Facebook conversation between Ambien Falcon and Denny D.              JK00402666        JK00402686
PX-1441       FB - Facebook conversation between Jason Kessler and James M.              JK00402752        JK00402753
PX-1442       FB - Facebook conversation between Ambien Falcon and Michael Hill          JK00403531        JK00403531
PX-1443       FB – Facebook conversation with Vasillios P.                               JK00403614        JK00403614
PX-1444       FB - Facebook conversation between Ambien Falcon and Derrick D.            JK00403988        JK00404041
PX-1445       PHOTO - Photo of Michael Tubbs                                             JK00413451        JK00413451
PX-1446       PHOTO - Photo of Jason Kessler                                             JK00414325        JK00414325
PX-1447       POST - Screenshot of Comment by Matthew Heimbach on Daily Stormer          JK00418645        JK00418645
PX-1448       TWITTER – Tweet by Jason Kessler                                           JK00419079        JK00419079
PX-1449       TWITTER – Tweet by Jason Kessler                                           JK00420433        JK00420433
              SMS - Text message conversation including Jason Kessler, Elliott Kline,
PX-1450       Richard Spencer, Michael Hill, and Augustus Invictus                       JK00437186        JK00437187
PX-1451       SMS - Text message from Jason Kessler to Pat D.                            JK00437206        JK00437206
              SMS - Text message conversation between Jason Kessler and Robert
PX-1452       "Azzmador" Ray                                                             JK00437246        JK00437246
PX-1453       SMS – Text message from Jason Kessler to Christopher Cantwell              JK00437309        JK00437309
PX-1454       SMS – Text message conversation between Elliott Kline and Jason Kessler    JK00449118        JK00449211
              SMS - Text message conversation between Jason Kessler and Richard
PX-1455       Spencer:                                                                   JK00449275        JK00449290
PX-1456       FB - Facebook conversation between Jason Kessler and Karl K.               JK00449339        JK00449532
PX-1457       TWITTER – Tweets by Jason Kessler                                          JK00449926        JK00449926
PX-1458       SMS - Text Messages between Jason Kessler and Elliott Kline                JK00450844        JK00450916
PX-1459       FB - "Ambien Falcon" timeline                                              JK00451093        JK00451233
              FB - Facebook conversation between Ambien Falcon and deleted accounts by
PX-1460       Richard Spencer and others                                                 JK00451236        JK00451306
PX-1461       FB - Facebook conversation between Ambien Falcon and others                JK00451310        JK00451310
PX-1462       FB - Facebook conversation between Ambien Falcon and Brad G.               JK00451738        JK00451754
PX-1463       FB - Facebook post by Tim R.                                               JK00462023        JK00462023
PX-1464       FB - Facebook conversation between Jason Kessler and JC H.                 JK00649067        JK00649070
PX-1465       FB - Facebook conversation between Jason Kessler and Michael Hill          JK00650839        JK00650839
PX-1466       DOC - National Socialist Movement document regarding Pikeville             JS00000347        JS00000348
PX-1467       DOC - National Socialist Movement after action report                      JS00000350        JS00000351
PX-1468       DOC - National Social Movement after action report for Unite the Right     JS00000352        JS00000354
PX-1469       INTENTIONALLY LEFT BLANK
PX-1470       DOC - National Socialist Movement press release                            JS00000365        JS00000366
PX-1471       DOC - National Socialist Movement press release                            JS00000368        JS00000369
PX-1472       DOC - National Socialist Movement regarding joining NSM                    JS00000370        JS00000371
PX-1473       DOC - National Socialist Movement Membership Application                   JS00000372        JS00000372
PX-1474       DOC - National Socialist Movement document regarding new standards         JS00000374        JS00000376
PX-1475       INTENTIONALLY LEFT BLANK
PX-1476       DOC - NSM Document regarding principles                                    JS00000803        JS00000809
PX-1477       DOC - Document explaining national socialism                               JS00000819        JS00000829
PX-1478       INTENTIONALLY LEFT BLANK
PX-1479       DOC - National Socialist Movement announcement                             JS00001144        JS00001144
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Exhibit No.   Description                                                             Beginning Bates    End Bates
PX-1480       INTENTIONALLY LEFT BLANK
PX-1481       DOC - National Socialist Movement announcement                          JS00004596         JS00004597
PX-1482       INTENTIONALLY LEFT BLANK
PX-1483       VK - VK conversation between Jeff Schoep and Ike B.                     JS00007637         JS00007637
PX-1484       VK - VK conversation between Jeff Schoep and Richard                    JS00007638         JS00007640
PX-1485       VK - VK conversation between Jeff Schoep and James C.                   JS00007642         JS00007642
PX-1486       VK - VK conversation between the Irish Bostonian and Jeff Schoep        JS00007643         JS00007643
PX-1487       VK - VK conversation between Chad B. and Jeff Schoep                    JS00007645         JS00007647
PX-1488       VK - VK conversation between Chad R. and Jeff Schoep                    JS00007648         JS00007649
PX-1489       VK - VK conversation between Gerin A. and Jeff Schoep                   JS00007650         JS00007650
PX-1490       INTENTIONALLY LEFT BLANK
PX-1491       INTENTIONALLY LEFT BLANK
PX-1492       VK - VK posts by Jeff Schoep                                            JS00007666         JS00007680
PX-1493       SMS - Text message conversation between Melissa and Jeff Schoep         JS00010407         JS00010451
PX-1494       EMAIL – Email from VK to Brad G.                                        LOS00053882        LOS00053882
PX-1495       EMAIL - Email from Hunter W. to Robert Z.                               LOS00065122        LOS00065123
PX-1496       EMAIL - Email from Andrew A. to Hunter W.                               LOS00066780        LOS00066791
PX-1497       DOC - Transcript of speech                                              LOS00569941        LOS00569963
PX-1498       EMAIL - Email from Michael Hill to League of the South                  LOS00798046        LOS00798046
PX-1499       EMAIL - Email from Michael Hill to League of the South                  LOS00801134        LOS00801134
PX-1500       EMAIL - Email from Michael Hill to League of the South                  LOS00801530        LOS00801530
PX-1501       SMS - Text message from James Fields to his Mother                      Lunsford00012914   Lunsford00012991
PX-1502       VID - Video recording of events after the car attack                    Lunsford00021320   Lunsford00021320
PX-1503       VID - Video recording by Thomas P. of August 12, 2017                   Lunsford00056683   Lunsford00056683
PX-1504       VID - Video recording by Faith G. of August 12, 2017                    Lunsford00056822   Lunsford00056822
PX-1505       VID - Video recording of Fields car attack                              Lunsford00056859   Lunsford00056859
PX-1506       MEDICAL - Receipt for Marcus Martin from Roberts Home Medical, Inc.     MARTIN00000017-C   MARTIN00000019-C
PX-1507       MEDICAL - Health record for Marcus Martin from UVA Health               MARTIN00000020-C   MARTIN00000023-C
PX-1508       MEDICAL - Billing record for Marcus Martin from UVA Imaging             MARTIN00000024-C   MARTIN00000024-C
PX-1509       MEDICAL - Billing record from Roberts Home Medical, Inc.                MARTIN00000025-C   MARTIN00000025-C
PX-1510       MEDICAL - Health record for Marcus Martin from UVA Health               MARTIN00000026-C   MARTIN00000035-C
PX-1511       SMS - Text Message from Marcus Martin to Ma                             MARTIN00000037-C   MARTIN00000037-C
PX-1512       SMS - Text Message from Marcus Martin to Marissa Blair                  MARTIN00000072-C   MARTIN00000072-C
PX-1513       MEDICAL - Health record for Marcus Martin from various facilities       MARTIN00000097-C   MARTIN00000501-C
PX-1514       SMS - Text Message from Marcus Martin to Marissa Blair                  MARTIN00000506-C   MARTIN00000506-C
PX-1515       DOC - Marcus Martin Employment History                                  MARTIN00000509-C   MARTIN00000509-C
PX-1516       MEDICAL - Marcus Martin Statement of Certification for UHV Health       MARTIN00000510-C   MARTIN00000510-C
PX-1517       FINANCIAL - Paystub for Marcus Martin from J.W. Townsend                MARTIN00000514-C   MARTIN00000519-C
              MEDICAL - Billing record for Marcus Martin from Roberts Home Medical,
PX-1518       Inc.                                                                    MARTIN00000520-C   MARTIN00000522-C
              MEDICAL - Billing record for Marcus Martin from Roberts Home Medical,
PX-1519       Inc.                                                                    MARTIN00000523-C   MARTIN00000523-C
              FINANCIAL - Form 1040, U.S. Individual Tax Return for 2017 for Marcus
PX-1520       Martin                                                                  MARTIN00000524-C   MARTIN00000527-C
              FINANCIAL - Monetary Determination re Loss Wages for 2019 for Marcus
PX-1521       Martin                                                                  MARTIN00000535-C   MARTIN00000535-C
              FINANCIAL - Form 1040, U.S. Individual Tax Return for 2018 for Marcus
PX-1522       Martin                                                                  MARTIN00000537-C   MARTIN00000537-C
PX-1523       MEDICAL - Billing record for Marcus Martin from UVA Health              MARTIN00000549-C   MARTIN00000549-C
PX-1524       MEDICAL - Billing record for Marcus Martin from UVA Health              MARTIN00000550-C   MARTIN00000567-C
PX-1525       MEDICAL - Health record for Marcus Martin - UVA Health                  MARTIN00000568-C   MARTIN00000635-C
PX-1526       MEDICAL - Billing record for Marcus Martin from OptimaHealth            MARTIN00000636-C   MARTIN00000651-C
              MEDICAL - Health record for Marcus Martin from Counseling Alliance of
PX-1527       Virginia                                                                MARTIN00000652-C   MARTIN00000658-C
PX-1528       PHOTO - Photo of Marcus Martin's injuries                               MARTIN00000990-C   MARTIN00000990-C
PX-1529       MEDICAL - Marcus Martin Health Record from UVA Health                   MARTIN00001523     MARTIN00001574
PX-1530       MEDICAL - Marcus Martin Health Record from UVA Health                   MARTIN00001575     MARTIN00001623
PX-1531       MEDICAL - Marcus Martin Health Record from UVA Health                   MARTIN00001624     MARTIN00001624
PX-1532       MEDICAL - Marcus Martin Health Record from UVA Health                   MARTIN00001625     MARTIN00001625
PX-1533       MEDICAL - Marcus Martin Billing Detail from UVA Health                  MARTIN00001626     MARTIN00001651
PX-1534       EMAIL - Email to Michael Tubbs, Pat H., Paul L., and Gordie L.          MH00000016         MH00000016
PX-1535       EMAIL - Email from Jason Kessler                                        MH00000135         MH00000142
PX-1536       EMAIL - Email from Commander Schoep to NSM World                        MH00003377         MH00003377
PX-1537       EMAIL - Email from Michael Hill                                         MH00003422         MH00003422
PX-1538       SMS - Text message from Jason Kessler to Michael Hill                   MH00007396         MH00007396
PX-1539       SMS - Text message from Michael Hill to Michael Tubbs                   MH00007408         MH00007408
PX-1540       SMS - Text message from Michael Hill to Michael Tubbs                   MH00007410         MH00007410
PX-1541       EMAIL - Email regarding updated resources list                          MH00013868         MH00013868
PX-1542       EMAIL - Email regarding security updates                                MH00014494         MH00014516
PX-1543       EMAIL – Email from KyLS_Man to LSPres                                   MH00014517         MH00014519
PX-1544       EMAIL – Email from KyLS_Man to LSPres                                   MH00014517         MH00014519
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Exhibit No.   Description                                                                 Beginning Bates   End Bates
PX-1545       EMAIL – Email from KyLS_Man to LSPres                                       MH00014520        MH00014522
PX-1546       EMAIL - Email from Mark T. to League Security & Intel Chief                 MH00014542        MH00014544
PX-1547       EMAIL - Email from LSCoc to LSPres                                          MH00014556        MH00014557
PX-1548       EMAIL - Email from LSPres to Michael Tubbs                                  MH00014869        MH00014869
PX-1549       EMAIL - Email from LSPres to KyLS_Man                                       MH00014984        MH00014984
PX-1550       EMAIL - Email from LSPres to Gordon L.                                      MH00015437        MH00015437
PX-1551       EMAIL - Email from LSPres to Michael Tubbs                                  MH00015493        MH00015493
PX-1552       EMAIL - Email from LSPres to KyLS_Man                                       MH00015502        MH00015506
PX-1553       EMAIL - Email from LSPres to LSCoC                                          MH00015529        MH00015530
PX-1554       EMAIL - Email from LSPres to KyLS_Man                                       MH00015534        MH00015534
PX-1555       EMAIL - Email from LSPres to Michael Tubbs, Pat H., and others              MH00015558        MH00015558
PX-1556       EMAIL - Email from Michael Hill to LSBOD and LSStaff                        MH00022155        MH00022155
PX-1557       EMAIL - Email from Michael Hill to Anthony C.                               MH00026385        MH00026385
PX-1558       EMAIL - Email from Michael Hill                                             MH00026423        MH00026423
PX-1559       EMAIL - Email from Michael Hill to Jason B.                                 MH00026678        MH00026679
PX-1560       EMAIL - Email from Michael Hill to JCLSbiz, LSCoC, and kyls_man             MH00026903        MH00026905
PX-1561       EMAIL - Email from Michael Hill                                             MH00026984        MH00026984
PX-1562       EMAIL - Email from Michael Hill to webmaster                                MH00027089        MH00027089
PX-1563       EMAIL - Email from Michael Hill to commander                                MH00027375        MH00027377
PX-1564       EMAIL - Email from Michael Hill                                             MH00027697        MH00027698
PX-1565       EMAIL - Email from Michael Hill                                             MH00027967        MH00027967
PX-1566       EMAIL - Email from Michael Hill                                             MH00028288        MH00028288
PX-1567       EMAIL - Email from Michael Hill to LSBOD and LSStaff                        MH00028698        MH00028698
PX-1568       EMAIL - Email from Michael Hill                                             MH00030593        MH00030596
PX-1569       EMAIL - Email from VK to Matthew Parrott                                    MP00002280        MP00002280
PX-1570       EMAIL - Email from Matthew Heimbach to Matthew Parrott                      MP00002370        MP00002370
              DOC - FEC Form 1 - Statement of Organization "Traditionalist Worker Party
PX-1571       National Committee"                                                         MP00004862        MP00004865
PX-1572       EMAIL - Email from Shane D. to Matthew Parrott                              MP00014367        MP00014367
PX-1573       EMAIL - Email from Matthew Heimbach to Matthew Parrott                      MP00015215        MP00015215
PX-1574       EMAIL - Email to Matthew Parrott                                            MP00015277        MP00015277
PX-1575       EMAIL - Email to Matthew Parrott                                            MP00015322        MP00015322
              EMAIL - Email from Nationalist Front to parrott.matt@gmail.com regarding
PX-1576       "Test"                                                                      MP00015775        MP00015775
PX-1577       EMAIL - Email from Disqus to Matthew Parrott                                MP00015779        MP00015779
PX-1578       EMAIL - Email from Nationalist Front to Matthew Parrott                     MP00016250        MP00016250
PX-1579       EMAIL - Email to Matthew Parrott                                            MP00016268        MP00016268
PX-1580       EMAIL - Email from Matthew Parrott to Jeff Schoep                           MP00020788        MP00020789
PX-1581       EMAIL - Email from Matthew Parrott                                          MP00021375        MP00021376
PX-1582       EMAIL - Email from Matthew Parrott to Tony H.                               MP00021386        MP00021390
PX-1583       EMAIL - Email from Hunter W. to Matthew Parrott                             MP00021411        MP00021412
PX-1584       EMAIL - Email from TradWorker to Matthew Parrott                            MP00046670        MP00046670
PX-1585       EMAIL - Email from service@paypal.com to Matthew Parrott                    MP00047187        MP00047188
PX-1586       EMAIL - Email from Cesar A. to Matthew Parrott                              MP00047209        MP00047212
PX-1587       EMAIL - Email from Nidhi P. to Matthew Heimbach                             MP00061105        MP00061106
PX-1588       DOC - Document written by Matthew Heimbach regarding Unite the Right        MP00061570        MP00061570
PX-1589       EMAIL – Email from Damon S. to Matt Parrot                                  MP00061588        MP00061589
PX-1590       EMAIL - Email from Twitter to Nationalist Front                             MP00079015        MP00079016
PX-1591       DOC - Nationalist Front flyer regarding Unite the Right                     MP00080241        MP00080241
PX-1592       INTENTIONALLY LEFT BLANK
PX-1593       INTENTIONALLY LEFT BLANK
PX-1594       DOC - NSM Magazine Fall/Winter 2017                                         MP00086445        MP00086492
PX-1595       DOC - National Socialist Movement application form                          MP00086492        MP00086492
PX-1596       DOC - NSM Magazine Spring/Summer 2018                                       MP00086493        MP00086530
PX-1597       SMS - Text message from Michael Tubbs to Michelle T.                        MT00000076        MT00000076
PX-1598       VK - Messages between Michael Tubbs and Brian M.                            MT00000218        MT00000220
PX-1599       VK - Messages between Michael Tubbs and Jessica R.                          MT00000243        MT00000245
PX-1600       VK - Messages between Michael Tubbs and Charleen B.                         MT00000250        MT00000261
PX-1601       VK - Posts by Michael Tubbs                                                 MT00000314        MT00000324
PX-1602       MEDICAL - Receipt for April Muniz from Cranio Sacral Therapy                MUNIZ00001088-C   MUNIZ00001090-C
PX-1603       EMAIL - Email from April Muniz to Aaron K.                                  MUNIZ00001091-C   MUNIZ00001092-C
PX-1604       PHOTO - Personal photo                                                      MUNIZ00001145-C   MUNIZ00001145-C
PX-1605       PHOTO - Photo of protestors marching along the road                         MUNIZ00001599-C   MUNIZ00001599-C
              DOC - Security & CCTV System for April Muniz from Mechums River
PX-1606       Security Concepts                                                           MUNIZ00001679-C   MUNIZ00001679-C
PX-1607       DOC - Memo from Julie C., LCSW to Stephanie R.                              MUNIZ00001691-C   MUNIZ00001691-C
PX-1608       MEDICAL - Receipt for April Muniz from Flourish Physical Therapy            MUNIZ00001694-C   MUNIZ00001695-C
              DOC - Mechums River Security Concepts Residential Security Agreement for
PX-1609       April Muniz                                                                 MUNIZ00001712-C   MUNIZ00001716-C
PX-1610       EMAIL - Email from April Muniz to Julie C.                                  MUNIZ00001722-C   MUNIZ00001722-C
PX-1611       EMAIL - Email from Julie C. to April Muniz                                  MUNIZ00001758-C   MUNIZ00001758-C
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Exhibit No.   Description                                                             Beginning Bates   End Bates
              MEDICAL - Julie C., LCSW Treatment Agreement and Informed Consent
PX-1612       form (blank)                                                            MUNIZ00001759-C   MUNIZ00001762-C
PX-1613       EMAIL - Email from April Muniz to Julie C.                              MUNIZ00001790-C   MUNIZ00001791-C
PX-1614       DOC - Letter from Stephanie R. to Paylocity                             MUNIZ00001821-C   MUNIZ00001822-C

PX-1615       MEDICAL - Receipt for April Muniz from Passages Physical Therapy, PLC   MUNIZ00001828-C   MUNIZ00001828-C
PX-1616       EMAIL - Email from Julie C. to April Muniz                              MUNIZ00001830-C   MUNIZ00001833-C
PX-1617       EMAIL - Email from RingCentral to April Muniz                           MUNIZ00001846-C   MUNIZ00001846-C
PX-1618       MEDICAL - Billing record for April Muniz from Julie C., LCSW            MUNIZ00001847-C   MUNIZ00001848-C
              MEDICAL - Short Term Disability Claim April Muniz from Guardian Life
PX-1619       Insurance                                                               MUNIZ00001862-C   MUNIZ00001863-C
PX-1620       EMAIL - Email from Tom C. to April Muniz                                MUNIZ00001902-C   MUNIZ00001903-C
PX-1621       EMAIL - Email from April Muniz to Shay B.                               MUNIZ00001913-C   MUNIZ00001914-C
              MEDICAL - National Compassion Fund Charlottesville - Mental Health
PX-1622       Provider Verification Form for April Muniz                              MUNIZ00001968-C   MUNIZ00001968-C
PX-1623       EMAIL - Email from Julie C. to April Muniz                              MUNIZ00001977-C   MUNIZ00001977-C
              MEDICAL - Julie C., LCSW handwritten notes and forms regarding April
PX-1624       Muniz                                                                   MUNIZ00001988-C   MUNIZ00001994-C
PX-1625       EMAIL - Email from April Muniz to Aaron K.                              MUNIZ00002031-C   MUNIZ00002031-C
              MEDICAL - Virginia Victims Fund Mental Health Treatment Report for
PX-1626       April Muniz                                                             MUNIZ00002105-C   MUNIZ00002108-C
PX-1627       EMAIL - Email from April Muniz to American Airlines Refunds             MUNIZ00002119-C   MUNIZ00002119-C
PX-1628       EMAIL - Email from April Muniz to Stephanie R. and Shay B.              MUNIZ00002120-C   MUNIZ00002121-C
PX-1629       EMAIL - Email from Shay B. to April Muniz                               MUNIZ00002134-C   MUNIZ00002135-C
PX-1630       MEDICAL - Receipt for April Muniz from Cranio Sacral Therapy            MUNIZ00002183-C   MUNIZ00002183-C
PX-1631       MEDICAL - Billing record for April Muniz from Julie C., LCSW            MUNIZ00002187-C   MUNIZ00002188-C
PX-1632       MEDICAL - Check by April Muniz to Marla P.                              MUNIZ00002189-C   MUNIZ00002189-C
PX-1633       MEDICAL - Check by April Muniz to Marla P.                              MUNIZ00002190-C   MUNIZ00002190-C
PX-1634       MEDICAL - Check by April Muniz to Marla P.                              MUNIZ00002191-C   MUNIZ00002191-C
PX-1635       MEDICAL - Check by April Muniz to Marla P.                              MUNIZ00002192-C   MUNIZ00002192-C
PX-1636       MEDICAL - Check by April Muniz to Marla P.                              MUNIZ00002193-C   MUNIZ00002193-C
PX-1637       MEDICAL - Billing record for April Muniz from Julie C., LCSW            MUNIZ00002194-C   MUNIZ00002194-C
PX-1638       MEDICAL - April Muniz Invoice from Julie C., LCSW                       MUNIZ00002198-C   MUNIZ00002198-C
PX-1639       MEDICAL - Billing record for April Muniz from Julie C., LCSW            MUNIZ00002199-C   MUNIZ00002199-C
PX-1640       MEDICAL - Billing record for April Muniz from Marla P.                  MUNIZ00002202-C   MUNIZ00002202-C
              MEDICAL - National Compassion Fund Charlottesville - Mental Health
PX-1641       Provider Verification Form for April Muniz                              MUNIZ00002203-C   MUNIZ00002203-C
              MEDICAL - National Compassion Fund Charlottesville - Mental Health
PX-1642       Provider Verification Form for April Muniz                              MUNIZ00002204-C   MUNIZ00002204-C
PX-1643       EMAIL - Email from April Muniz to Stephanie R.                          MUNIZ00002205-C   MUNIZ00002206-C

PX-1644       MEDICAL - Receipt for April Muniz from Passages Physical Therapy, PLC   MUNIZ00002207-C   MUNIZ00002207-C
PX-1645       DOC – Document written by April Muniz                                   MUNIZ00002243-C   MUNIZ00002245-C
PX-1646       DOC – Document written by April Muniz                                   MUNIZ00002243-C   MUNIZ00002245-C
PX-1647       DOC - Calendar invitation from April Muniz                              MUNIZ00002284-C   MUNIZ00002285-C
PX-1648       SMS - Text Messages between Shay B. and Tom                             MUNIZ00002286-C   MUNIZ00002303-C
PX-1649       EMAIL - Email from April Muniz to Shay B.                               MUNIZ00002322-C   MUNIZ00002322-C
PX-1650       DOC - Document regarding response to Lyle                               MUNIZ00002326-C   MUNIZ00002327-C
PX-1651       EMAIL - Email from April Muniz to April Muniz                           MUNIZ00002328-C   MUNIZ00002329-C
PX-1652       EMAIL - Email from April Muniz to Whitney M.                            MUNIZ00002342-C   MUNIZ00002344-C
PX-1653       EMAIL - Email from April Muniz to Julie C.                              MUNIZ00002348-C   MUNIZ00002350-C
PX-1654       EMAIL - Email from April Muniz to Ann Marie C.                          MUNIZ00002351-C   MUNIZ00002352-C
PX-1655       EMAIL - Email from Julie C. to April Muniz                              MUNIZ00002353-C   MUNIZ00002355-C
PX-1656       EMAIL - Email from April Muniz to Margreta S.                           MUNIZ00002371-C   MUNIZ00002373-C
PX-1657       EMAIL - Email from April Muniz to Aaron K.                              MUNIZ00002378-C   MUNIZ00002379-C
PX-1658       EMAIL - Email from April Muniz to Pat H.                                MUNIZ00002428-C   MUNIZ00002428-C
PX-1659       EMAIL - Email from Rebecca M. to April Muniz                            MUNIZ00002446-C   MUNIZ00002446-C
PX-1660       EMAIL - Email from April Muniz to Meredith P.                           MUNIZ00002480-C   MUNIZ00002482-C
PX-1661       EMAIL - Email from Garrett T. to April Muniz                            MUNIZ00002506-C   MUNIZ00002508-C
PX-1662       EMAIL - Email from April Muniz to Dave T.                               MUNIZ00002517-C   MUNIZ00002517-C
PX-1663       EMAIL - Email from April Muniz to Shay B.                               MUNIZ00002519-C   MUNIZ00002520-C
PX-1664       EMAIL - Email from April Muniz to Katie P.                              MUNIZ00002561-C   MUNIZ00002561-C
PX-1665       EMAIL - Email from April Muniz to Julie C.                              MUNIZ00002608-C   MUNIZ00002609-C
PX-1666       EMAIL - Email from Julie C. to April Muniz                              MUNIZ00002641-C   MUNIZ00002643-C
PX-1667       EMAIL - Email from April Muniz to Julie C.                              MUNIZ00002647-C   MUNIZ00002647-C
              MEDICAL - Billing record for April Muniz from Mechums River Security
PX-1668       Concepts                                                                MUNIZ00002890-C   MUNIZ00002890-C
PX-1669       DOC - Receipt for April Muniz from Mechums River Security Concepts      MUNIZ00002911-C   MUNIZ00002911-C
PX-1670       DOC - Receipt for April Muniz from Mechums River Security Concepts      MUNIZ00002912-C   MUNIZ00002912-C
PX-1671       MEDICAL - Billing record for April Muniz from Julie C., LCSW            MUNIZ00002914-C   MUNIZ00002916-C
PX-1672       MEDICAL - Billing record for April Muniz from Julie C., LCSW            MUNIZ00002914-C   MUNIZ00002914-C
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Exhibit No.   Description                                                           Beginning Bates       End Bates
PX-1673       MEDICAL - Billing record for April Muniz from Julie C., LCSW          MUNIZ00002915-C       MUNIZ00002915-C
PX-1674       MEDICAL - Billing record for April Muniz from Julie C., LCSW          MUNIZ00002916-C       MUNIZ00002916-C
PX-1675       DOC - Document regarding meeting with Shay B.                         MUNIZ00002924-C       MUNIZ00002924-C

PX-1676       MEDICAL - Health record for April Muniz from Passages Physical Therapy MUNIZ00002949-C      MUNIZ00003005-C
              FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research
PX-1677       Group                                                                     MUNIZ00003100-C   MUNIZ00003100-C
PX-1678       PHOTO - Photo of protestors marching along the road                       MUNIZ00003145-C   MUNIZ00003145-C
              FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research
PX-1679       Group                                                                     MUNIZ00003152-C   MUNIZ00003152-C
              FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research
PX-1680       Group                                                                     MUNIZ00003152-C   MUNIZ00003152-C
              FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research
PX-1681       Group                                                                     MUNIZ00003153-C   MUNIZ00003153-C
PX-1682       DOC - Document regarding April Muniz's offer                              MUNIZ00003154-C   MUNIZ00003155-C
              FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research
PX-1683       Group                                                                     MUNIZ00003158-C   MUNIZ00003158-C
PX-1684       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003159-C   MUNIZ00003159-C
PX-1685       FINANCIAL - Paystubs For April Muniz from Atlantic Research Group         MUNIZ00003159-C   MUNIZ00003164-C
PX-1686       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003160-C   MUNIZ00003160-C
PX-1687       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003161-C   MUNIZ00003161-C
PX-1688       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003162-C   MUNIZ00003162-C
PX-1689       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003163-C   MUNIZ00003163-C
PX-1690       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003164-C   MUNIZ00003164-C
PX-1691       MEDICAL - Letter from Julie C., LCSW                                      MUNIZ00003241-C   MUNIZ00003241-C
PX-1692       PHOTO - Photo of James Fields' driving into the crowd                     MUNIZ00003247-C   MUNIZ00003247-C
PX-1693       PHOTO - Photo of James Fields' car after car attack                       MUNIZ00003251-C   MUNIZ00003251-C
PX-1694       PHOTO - Photo of crowd before car attack                                  MUNIZ00003252-C   MUNIZ00003252-C
PX-1695       EMAIL - Email from April Muniz to Steve M.                                MUNIZ00003255-C   MUNIZ00003255-C
              MEDICAL - Health record for April Muniz from University of Virginia
PX-1696       Health System                                                             MUNIZ00003279-C   MUNIZ00003298-C
              FINANCIAL - TurboTax electronic filing instructions for 2018 Federal Tax
PX-1697       Return for April Muniz                                                    MUNIZ00003299-C   MUNIZ00003311-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for Chelsea
PX-1698       Alvarado from A1000 Rector/Board of Visitors                              MUNIZ00003316-C   MUNIZ00003317-C
PX-1699       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003318-C   MUNIZ00003319-C
PX-1700       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003320-C   MUNIZ00003321-C
PX-1701       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003322-C   MUNIZ00003323-C
PX-1702       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003324-C   MUNIZ00003325-C
PX-1703       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003326-C   MUNIZ00003328-C
PX-1704       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003329-C   MUNIZ00003330-C
PX-1705       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003331-C   MUNIZ00003332-C
PX-1706       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003333-C   MUNIZ00003335-C
PX-1707       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003336-C   MUNIZ00003337-C
PX-1708       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003338-C   MUNIZ00003340-C
PX-1709       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003341-C   MUNIZ00003343-C
PX-1710       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003344-C   MUNIZ00003346-C
PX-1711       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003347-C   MUNIZ00003349-C
PX-1712       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003350-C   MUNIZ00003351-C
PX-1713       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003352-C   MUNIZ00003354-C
PX-1714       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003355-C   MUNIZ00003357-C
PX-1715       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003364-C   MUNIZ00003366-C
PX-1716       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003367-C   MUNIZ00003369-C
PX-1717       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003370-C   MUNIZ00003372-C
PX-1718       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003373-C   MUNIZ00003375-C
PX-1719       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003379-C   MUNIZ00003381-C
PX-1720       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003385-C   MUNIZ00003387-C
PX-1721       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003388-C   MUNIZ00003390-C
PX-1722       FINANCIAL - Paystub For April Muniz from Atlantic Research Group          MUNIZ00003397-C   MUNIZ00003399-C
PX-1723       FINANCIAL - Paystub for April Muniz from UVA                              MUNIZ00003424-C   MUNIZ00003425-C
PX-1724       FINANCIAL - Paystub for April Muniz from UVA                              MUNIZ00003434-C   MUNIZ00003435-C
PX-1725       FINANCIAL - Paystub for April Muniz from UVA                              MUNIZ00003436-C   MUNIZ00003437-C
              FINANCIAL - Severance Agreement for April Muniz from Atlantic Research
PX-1726       Group                                                                     MUNIZ00003438-C   MUNIZ00003441-C
PX-1727       DOC - Document regarding April Muniz's offer                              MUNIZ00003442-C   MUNIZ00003443-C
PX-1728       FINANCIAL - Paystub for April Muniz from UVA                              MUNIZ00003446-C   MUNIZ00003446-C
PX-1729       FINANCIAL - Paystub for April Muniz from UVA                              MUNIZ00003447-C   MUNIZ00003447-C
              FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz from
PX-1730       Hahn Gustafson Catering                                                   MUNIZ00003448-C   MUNIZ00003448-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April Muniz
PX-1731       from Cha Chas                                                             MUNIZ00003449-C   MUNIZ00003449-C
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Exhibit No.   Description                                                                Beginning Bates   End Bates
              FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April Muniz
PX-1732       from La Taza Coffee House                                                  MUNIZ00003450-C   MUNIZ00003450-C
              FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz from
PX-1733       Thomas Jefferson Area Coalition for the Homeless                           MUNIZ00003451-C   MUNIZ00003451-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2011 for April Muniz
PX-1734       from Peace Corps                                                           MUNIZ00003452-C   MUNIZ00003452-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April Muniz
PX-1735       from Peace Corps                                                           MUNIZ00003453-C   MUNIZ00003453-C
              FINANCIAL - Form W-2, Wage and Tax Statement for 2012 for April Muniz
PX-1736       from Peace Corps                                                           MUNIZ00003454-C   MUNIZ00003454-C
PX-1737       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00003455-C   MUNIZ00003470-C

PX-1738       FINANCIAL - Form W-2, Wage and Tax Statement for 2013 for April Muniz MUNIZ00003471-C        MUNIZ00003471-C

PX-1739       FINANCIAL - Form W-2, Wage and Tax Statement for 2012 for April Muniz      MUNIZ00003472-C   MUNIZ00003472-C
PX-1740       FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz               MUNIZ00003473-C   MUNIZ00003473-C
PX-1741       FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz               MUNIZ00003474-C   MUNIZ00003474-C
PX-1742       MEDICAL - Billing record for April Muniz from Julie C., LCSW               MUNIZ00003475-C   MUNIZ00003480-C
              MEDICAL - Statement of Certification and Letter Requesting Medical
PX-1743       Records for April Muniz from University of Virginal Health System          MUNIZ00003631-C   MUNIZ00003634-C
              MEDICAL - Health record for April Muniz from Jefferson Obstetrics and
PX-1744       Gynecology Ltd                                                             MUNIZ00003635-C   MUNIZ00003700-C
PX-1745       MEDICAL - Health record for April Muniz from Julie C.                      MUNIZ00003701-C   MUNIZ00003763-C
PX-1746       FINANCIAL - Paystub for April Muniz from Atlantic Research Group           MUNIZ00003767-C   MUNIZ00003767-C
PX-1747       FINANCIAL - Paystub for April Muniz from Atlantic Research Group           MUNIZ00003768-C   MUNIZ00003768-C
PX-1748       FINANCIAL - Paystub for April Muniz from Atlantic Research Group           MUNIZ00003770-C   MUNIZ00003770-C
PX-1749       FINANCIAL - Paystub for April Muniz from Atlantic Research Group           MUNIZ00003771-C   MUNIZ00003771-C
              FINANCIAL - Federal Income Tax Return for 2017 for April Muniz from
PX-1750       Atlantic Research Group                                                    MUNIZ00003772-C   MUNIZ00003773-C
              FINANCIAL - TurboTax electronic filing instructions for 2016 Federal Tax
PX-1751       Return for April Muniz                                                     MUNIZ00003774-C   MUNIZ00003847-C
PX-1752       DOC - Document regarding testimonial in support of SB 285                  MUNIZ00003848-C   MUNIZ00003852-C
PX-1753       PHOTO – Photo of crowd before car attack                                   MUNIZ00003854-C   MUNIZ00003854-C
PX-1754       PHOTO – Photo of crowd before car attack                                   MUNIZ00003854-C   MUNIZ00003854-C
PX-1755       PHOTO - Photo of James Fields' driving into the crowd                      MUNIZ00003860-C   MUNIZ00003860-C

PX-1756       MEDICAL - Health record for April Muniz from Passages Physical Therapy     MUNIZ00003864-C   MUNIZ00003908-C
PX-1757       MEDICAL - Health record for April Muniz from Marla P.                      MUNIZ00003909-C   MUNIZ00003910-C
PX-1758       MEDICAL - Health record for April Muniz from Pantops Family Medicine       MUNIZ00003911-C   MUNIZ00003982-C
PX-1759       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00003983-C   MUNIZ00003998-C

PX-1760       MEDICAL - Insurance record for April Muniz from Anthem HealthKeepers       MUNIZ00003999-C   MUNIZ00004006-C

PX-1761       MEDICAL - Insurance record for April Muniz from Anthem HealthKeepers       MUNIZ00004007-C   MUNIZ00004014-C
PX-1762       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004015-C   MUNIZ00004140-C
              MEDICAL - Insurance record for April Muniz from Aetna Life Insurance
PX-1763       Company                                                                    MUNIZ00004141-C   MUNIZ00004145-C
              MEDICAL - Insurance record for April Muniz from Aetna Life Insurance
PX-1764       Company                                                                    MUNIZ00004147-C   MUNIZ00004150-C
PX-1765       MEDICAL - April Muniz list of charges                                      MUNIZ00004153-C   MUNIZ00004153-C
PX-1766       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004154-C   MUNIZ00004196-C
PX-1767       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004197-C   MUNIZ00004239-C
PX-1768       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004241-C   MUNIZ00004279-C
PX-1769       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004280-C   MUNIZ00004318-C
PX-1770       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004319-C   MUNIZ00004357-C
PX-1771       MEDICAL - Insurance record for April Muniz from Anthem                     MUNIZ00004358-C   MUNIZ00004364-C
PX-1772       EMAIL - Email from April Muniz to Julie C.                                 MUNIZ00004365-C   MUNIZ00004365-C
PX-1773       INTENTIONALLY LEFT BLANK
PX-1774       MEDICAL - Health record for April Muniz from Pantops Family Medicine       MUNIZ00004381-C   MUNIZ00004453-C
PX-1775       FILING - USA v. Fields, Victim Impact Statement - April Muniz              MUNIZ00004454-C   MUNIZ00004455-C
PX-1776       EMAIL - Email from April Muniz to Julie C.                                 MUNIZ00004456-C   MUNIZ00004456-C
PX-1777       EMAIL - Email from April Muniz to Julie C.                                 MUNIZ00004457-C   MUNIZ00004457-C
PX-1778       PHOTO - Photo of counter-protestors                                        MUNIZ00005349-C   MUNIZ00005349-C
PX-1779       FB - Facebook post by April Muniz                                          MUNIZ00005810-C   MUNIZ00005812-C
PX-1780       FB - April Muniz to Anne C.                                                MUNIZ00005814-C   MUNIZ00005814-C
              FINANCIAL - Corrected Form W-2, Wage and Tax Statement for 2017 for
PX-1781       April Muniz from Atlantic Research Group                                   MUNIZ00006442     MUNIZ00006444
PX-1782       PHOTO - Photo of crowd before car attack                                   MUNIZ00006445     MUNIZ00006445
              MEDICAL - Statement of Certification for April Muniz from Passages
PX-1783       Physical Therapy                                                           MUNIZ00006448     MUNIZ00006448
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Exhibit No.   Description                                                                 Beginning Bates   End Bates
              FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for April Muniz
PX-1784       from Atlantic Research Group                                                MUNIZ00006449     MUNIZ00006450
PX-1785       MEDICAL - Billing record for April Muniz from Julie C.                      MUNIZ00006451     MUNIZ00006451
PX-1786       DOC - Document regarding April Muniz's offer                                MUNIZ00006452     MUNIZ00006453
PX-1787       FINANCIAL - Amended Form 1040 X for 2017 for April Muniz                    MUNIZ00006456     MUNIZ00006466
              FINANCIAL - Form W-2, Wage and Tax Statement for 2020 for April Muniz
PX-1788       from the Rector and Visitor of the University of Virginia                   MUNIZ00006468     MUNIZ00006468
PX-1789       FINANCIAL - Form 1040 for 2019 for April Muniz                              MUNIZ00006469     MUNIZ00006494
PX-1790       FINANCIAL - Form 1040 for 2020 for April Muniz                              MUNIZ00006495     MUNIZ00006521
PX-1791       FINANCIAL - Paystub for April Muniz from Allscripts                         MUNIZ00006522     MUNIZ00006522
PX-1792       FINANCIAL - Form 1040 for 2017 for April Muniz                              MUNIZ00006569     MUNIZ00006591
              FINANCIAL - Form W-2, Wage and Tax Statement for 2019 for April Muniz
PX-1793       from the Rector and Visitor of the University of Virginia                   MUNIZ00006592     MUNIZ00006592
PX-1794       MEDICAL - Health record for April Muniz from Julie C.                       MUNIZ00006593     MUNIZ00006593
PX-1795       EMAIL - Email from Julie C. to April Muniz                                  MUNIZ00006594     MUNIZ00006596
PX-1796       MEDICAL - Health record for April Muniz from Julie C.                       MUNIZ00006597     MUNIZ00006597
              EMAIL - Email from Pat H. to Makiko Hiromi and Jessica Phillips regarding
PX-1797       "Certifying Records"                                                        MUNIZ00006598     MUNIZ00006598

PX-1798       MEDICAL - Health records for April Muniz from Passages Physical Therapy     MUNIZ00006599     MUNIZ00006644
              MEDICAL - Health and billing records for April Muniz from Passages
PX-1799       Physical Therapy                                                            MUNIZ00006645     MUNIZ00006701
              MEDICAL - Statement of Certification for April Muniz from Passages
PX-1800       Physical Therapy                                                            MUNIZ00006702     MUNIZ00006702
PX-1801       EMAIL - Email from James K. to Matthew Heimbach                             MWH00006169       MWH00006169
              EMAIL - Email from KJ to Burt, Resistance, Matthew Heimbach, Jeff
PX-1802       Schoep, and Harry H.                                                        MWH00006493       MWH00006494
              DOC - National Socialist Movement's press release on the addition of
PX-1803       Matthew Heimbach as the Director of Community Outreach                      MWH00006495       MWH00006495
PX-1804       EMAIL - Email from Christopher Cantwell to Matthew Heimbach                 MWH00006844       MWH00006844
PX-1805       EMAIL - Email from Nick T. to Matthew Heimbach                              MWH00011431       MWH00011431
PX-1806       EMAIL - Email from James W. to Matthew Heimbach                             MWH00014118       MWH00014118
PX-1807       EMAIL - Email to Jeff Schoep, and Matthew Heimbach                          MWH00014635       MWH00014635
PX-1808       EMAIL - Email from Gunther R. to Matthew Heimbach                           MWH00014912       MWH00014912
PX-1809       EMAIL - Email from Facebook Ads Team to Matthew Heimbach                    MWH00015132       MWH00015132
PX-1810       EMAIL - Email from Jeff Schoep to Matthew Heimbach                          MWH00015137       MWH00015138
PX-1811       EMAIL - Email from Facebook Ads Team to Matthew Heimbach                    MWH00015168       MWH00015168
PX-1812       EMAIL - Email to Matthew Heimbach                                           MWH00015207       MWH00015208
              EMAIL - Email from Cesar A. to Matthew Heimbach copying Matthew
PX-1813       Parrott                                                                     MWH00015341       MWH00015341
PX-1814       EMAIL - Email from Jeff Schoep to Steve R. and Matthew Heimbach             MWH00015492       MWH00015493
PX-1815       EMAIL - Email from Discord to Matthew Heimbach                              MWH00016158       MWH00016161
PX-1816       EMAIL - Email from Brian C. to Jeff Schoep, copying Matthew Heimbach        MWH00016495       MWH00016495
PX-1817       DOC - Document written by Matthew Heimbach                                  MWH00018901       MWH00018914
PX-1818       EMAIL - Email from Jeff Schoep to Matthew Heimbach and Butch U.             MWH00020048       MWH00020049
PX-1819       DOC - Document regarding rally in Pikeville                                 MWH00020050       MWH00020051
PX-1820       EMAIL - Email from Vegas T. to Matthew Heimbach                             MWH00020293       MWH00020295
PX-1821       DOC - Traditionalist Worker Party document regarding Unite the Right        MWH00035173       MWH00035173
PX-1822       DOC - Document written by Matthew Heimbach                                  MWH00035252       MWH00035254
PX-1823       DOC - Document regarding rally in Pikeville                                 MWH00035261       MWH00035264
PX-1824       DOC - Document regarding national socialist vision                          MWH00035265       MWH00035398
PX-1825       EMAIL - Email from Matthew Heimbach to Michael Bloch                        MWH00035583       MWH00035584
PX-1826       EMAIL - Email from Matthew Heimbach to Richard Spencer                      MWH00036714       MWH00036714
PX-1827       DOC - Document regarding Unite the Right rally                              MWH00040549       MWH00040551
PX-1828       DOC - Document regarding interracial violence                               MWH00040996       MWH00040999
PX-1829       DOC - Letter from Matthew Heimbach to Alex R.                               MWH00041051       MWH00041052
PX-1830       DOC - Letter from Matthew Heimbach to Dan B.                                MWH00041127       MWH00041129
PX-1831       DOC - Letter from Matthew Heimbach to Dylann R.                             MWH00041130       MWH00041131
PX-1832       DOC - Letter from Matthew Heimbach to Jacob G.                              MWH00041133       MWH00041134
PX-1833       DOC - Letter from Matthew Heimbach to James Fields                          MWH00041135       MWH00041137
PX-1834       DOC - Document regarding The Nationalist Front                              MWH00041357       MWH00041372
PX-1835       DOC - Document regarding The Nationalist Front                              MWH00041398       MWH00041398
PX-1836       DOC - Document listing international allies of the Nationalist Front        MWH00041399       MWH00041399
PX-1837       DOC - Letter from Matthew Heimbach to Traditionalist Worker Party           MWH00041531       MWH00041532
PX-1838       DOC - Letter from Matthew Heimbach to Kashiya N.                            MWH00041648       MWH00041649
PX-1839       DOC - Document listing region names                                         MWH00041650       MWH00041650
PX-1840       DOC - Document written by Matthew Heimbach                                  MWH00041954       MWH00041956
PX-1841       DOC - Document regarding TWP membership guide                               MWH00042026       MWH00042064
PX-1842       DOC - Document regarding rank structure of TWP                              MWH00042175       MWH00042176
PX-1843       DOC - Matthew Heimbach letter denouncing white nationalism                  MWH00042261       MWH00042277
PX-1844       SMS - Text message from Nathan Damigo                                       ND00001346        ND00001346
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Exhibit No.   Description                                                                   Beginning Bates       End Bates
PX-1845       SMS - Text message conversation with Nathan Damigo                            ND00003130            ND00003133
PX-1846       SMS - Text Message from Jason Kessler to Nathan Damigo                        ND00005694            ND00005694
              SMS - Text message conversation between Nathan Damigo and Richard
PX-1847       Spencer                                                                       ND00005791            ND00005796
PX-1848       SMS - Text message from Nathan Damigo                                         ND00005858            ND00005858
PX-1849       SMS - Text message to Nathan Damigo                                           ND00006087            ND00006087
PX-1850       SMS - Text message to Nathan Damigo                                           ND00006089            ND00006089
PX-1851       SMS - Text message conversation between Patrick C. and Nathan Damigo          ND00006999            ND00007002
PX-1852       SMS - Text message from Nathan Damigo                                         ND00008970            ND00008970

PX-1853       SMS - Text message conversation between Nathan Damigo and Elliott Kline       ND00009886            ND00009887
PX-1854       SMS - Text message from Elliott Kline to Nathan Damigo                        ND00010165            ND00010166
PX-1855       SMS - Text message from Nathan Damigo                                         ND00010552            ND00010552
PX-1856       SMS - Text message from Nathan Damigo                                         ND00010834            ND00010835
              DOC - Articles of Incorporation - Nonprofit Corporation application for
PX-1857       Foundation for Identity Evropa                                                ND00016678            ND00016684
PX-1858       DOC - Document regarding coordinator overview of Identity Evropa              ND00017739            ND00017739
PX-1859       EMAIL - Email from YouTube to Nathan Damigo                                   ND00021323            ND00021323
PX-1860       EMAIL - Email from YouTube to Nathan Damigo                                   ND00021323            ND00021323
PX-1861       EMAIL - Email from Identity Evropa to Nathan Damigo                           ND00021393            ND00021394
PX-1862       EMAIL - Email from Identity Evropa to Nathan Damigo                           ND00024066            ND00024068
PX-1863       EMAIL - Email from YouTube to Nathan Damigo                                   ND00025127            ND00025127
PX-1864       EMAIL - Email to Nathan Damigo                                                ND00025312            ND00025312
PX-1865       EMAIL - Email from Twitter to Nathan Damigo                                   ND00035059            ND00035059
PX-1866       DOC - Document regarding passwords and accounts for Identity Evropa           ND00036353            ND00036355
PX-1867       EMAIL - Email from Robert "Azzmador" Ray to Nathan Damigo                     ND00036752            ND00036753
PX-1868       EMAIL - Email from Nathan Damigo                                              ND00044698            ND00044700
PX-1869       SMS - Email between Nathan G. and Nathan Damigo                               ND00375622            ND00375622
              DOC - Mutual Nondisclosure Agreement between Elliott Kline and Nathan
PX-1870       Damigo                                                                        ND00380865            ND00380872
              DOC - Secretary of State Nonprofit Certificate of Dissolution Application
PX-1871       (California Nonprofit Corporation Only) for Identity Evropa, Inc.             ND00398173            ND00398175
PX-1872       DOC - Letter from Nathan Damigo to California Attorney General's Office       ND00398177            ND00398178
PX-1873       DOC - Stock Transfer agreement between Nathan Damigo and Patrick C.           ND00398180            ND00398181
PX-1874       DOC - Document regarding timeline of events                                   ND00398202            ND00398203
PX-1875       TWITTER - Tweet by Matthew Parrott                                            NOCUSTODIAN00000168   NOCUSTODIAN00000168
PX-1876       GAB - Post by Matthew Parrott                                                 NOCUSTODIAN00000248   NOCUSTODIAN00000248
              ARTICLE - Article by Denise Lavoie entitled, "Man who drove into crowd
PX-1877       convicted of first-degree murder"                                             NOCUSTODIAN00000279   NOCUSTODIAN00000283
PX-1878       VK - VK post by Jeff Schoep                                                   NOCUSTODIAN00000417   NOCUSTODIAN00000417
PX-1879       TWITTER - Tweet by Matthew Heimbach                                           NOCUSTODIAN00000508   NOCUSTODIAN00000508
PX-1880       VK - VK post by Matthew Heimbach                                              NOCUSTODIAN00000683   NOCUSTODIAN00000683
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-1881       "The Coming Alt Tech Boom"                                                    NOCUSTODIAN00000817   NOCUSTODIAN00000833
              ARTICLE - TradWorker article by David Matthew Parrott entitled, "Lessons
PX-1882       Learned From Trump"                                                           NOCUSTODIAN00000869   NOCUSTODIAN00000878
              DOC - Document written by Tony H. entitled "Action! Episode 8_ The
PX-1883       Clappening"                                                                   NOCUSTODIAN00000951   NOCUSTODIAN00000958
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-1884       "The Optics Debate"                                                           NOCUSTODIAN00001118   NOCUSTODIAN00001129
              ARTICLE - Article by David Matthew Parrott entitled, "Catcher in the Reich:
PX-1885       My Account of my Experience in Charlottesville"                               NOCUSTODIAN00001367   NOCUSTODIAN00001376
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-1886       "Radical Agenda S04E010 - Taxing Truth"                                       NOCUSTODIAN00001842   NOCUSTODIAN00001844
              ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Official Daily
PX-1887       Stormer Position: Don't Go to 'Unite the Right 2' – We Disavow"               NOCUSTODIAN00001932   NOCUSTODIAN00001939
PX-1888       VID - Video recording of violence at Lee Park                                 NOCUSTODIAN00002012   NOCUSTODIAN00002012
PX-1889       VID - Video recording of Richard Spencer, It’s Going South, Periscope         NOCUSTODIAN00002014   NOCUSTODIAN00002014
PX-1890       GAB - Post by Matthew Parrott                                                 NOCUSTODIAN00002146   NOCUSTODIAN00002146
PX-1891       TWITTER - Tweet by Matthew Parrott                                            NOCUSTODIAN00002267   NOCUSTODIAN00002267
PX-1892       TWITTER - Tweet by Matthew Parrott                                            NOCUSTODIAN00002420   NOCUSTODIAN00002420
              ARTICLE - Occidental Dissent article by Matthew Parrott entitled "The
PX-1893       Foundry #3: William Planer Did Nothing Wrong"                                 NOCUSTODIAN00002612   NOCUSTODIAN00002616
              ARTICLE - Counter-Currents Publishing article by Matthew Parrott entitled,
PX-1894       "Never Leave a Fallen Comrade"                                                NOCUSTODIAN00002617   NOCUSTODIAN00002639
PX-1895       TWITTER - Post by Elliott Kline                                               NOCUSTODIAN00003351   NOCUSTODIAN00003351
PX-1896       VK - VK post by Jeff Schoep                                                   NOCUSTODIAN00003411   NOCUSTODIAN00003411
                                                                                            NOCUSTODIAN00003577   NOCUSTODIAN00003577
                                                                                            NOCUSTODIAN00003628   NOCUSTODIAN00003628
                                                                                            NOCUSTODIAN00003713   NOCUSTODIAN00003713
PX-1897       POST - Post by Matthew Heimbach                                               NOCUSTODIAN00003263   NOCUSTODIAN00003263
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Exhibit No.   Description                                                                   Beginning Bates       End Bates
PX-1898       DOC - National Socialist Movement - National Officers & Departments           NOCUSTODIAN00003700   NOCUSTODIAN00003701
              ARTICLE - League of the South article by Michael Hill entitled, "The League
PX-1899       on Unite the Right"                                                           NOCUSTODIAN00003779   NOCUSTODIAN00003780
PX-1900       PHOTO - Photo of Profile update by Michael Tubbs                              NOCUSTODIAN00003861   NOCUSTODIAN00003861
PX-1901       TWITTER – Tweet by Jason Kessler                                              NOCUSTODIAN00003863   NOCUSTODIAN00003863
PX-1902       TWITTER - Tweet by Michael Hill                                               NOCUSTODIAN00004000   NOCUSTODIAN00004000

              ARTICLE - The New York Times Article by Emma Cott entitled, "How Our
PX-1903       Reporter Uncovered a Lie That Propelled an Alt-Right Extremist's Rise"      NOCUSTODIAN00004061     NOCUSTODIAN00004065
PX-1904       TWITTER – Tweets regarding violence on August 12, 2017                      NOCUSTODIAN00004260     NOCUSTODIAN00004260
              ARTICLE - Christopher Cantwell website article by Christopher Cantwell
PX-1905       entitled, "Goodbye Cuck Talk Live"                                          NOCUSTODIAN00048940     NOCUSTODIAN00048944
              ARTICLE - Christopher Cantwell website article by Christopher Cantwell
PX-1906       entitled, "Dead Men Don't Start Revolutions"                                NOCUSTODIAN00048945     NOCUSTODIAN00048949
PX-1907       GAB - Posts by Christopher Cantwell                                         NOCUSTODIAN00048950     NOCUSTODIAN00048950
              VID - Video recording of church service in Charlottesville with Seth
PX-1908       Wispelwey                                                                   NOCUSTODIAN00048951     NOCUSTODIAN00048951
PX-1909       VID - Video recording of car attack                                         NOCUSTODIAN00048952     NOCUSTODIAN00048952
PX-1910       VID - Video recording of car attack                                         NOCUSTODIAN00048952     NOCUSTODIAN00048952
PX-1911       GAB - Posts by Hunter W.                                                    NOCUSTODIAN00048953     NOCUSTODIAN00048953
PX-1912       VID - Video recording of August 12, 2017                                    NOCUSTODIAN00048954     NOCUSTODIAN00048954
              ARTICLE - League of The South article by Michael Hill entitled, "Ls
PX-1913       Statement on Southern/White Nationalism"                                    NOCUSTODIAN00048955     NOCUSTODIAN00048956
PX-1914       TWITTER - Retweet by Michael Tubbs                                          NOCUSTODIAN00048957     NOCUSTODIAN00048957
PX-1915       GAB – Post by Hunter W.                                                     NOCUSTODIAN00048958     NOCUSTODIAN00048958
PX-1916       GAB - Posts by Hunter W.                                                    NOCUSTODIAN00048959     NOCUSTODIAN00048959
PX-1917       TWITTER - Tweets by Baron S. and Michael Tubbs                              NOCUSTODIAN00048960     NOCUSTODIAN00048960
              ARTICLE - League of the South article by Michael Hill entitled, "Working
PX-1918       with nationalist allies"                                                    NOCUSTODIAN00048961     NOCUSTODIAN00048962
              ARTICLE - cville article by Samantha Baars entitled, "Last man in August 12
PX-1919       parking garage beating pleads guilty"                                       NOCUSTODIAN00048963     NOCUSTODIAN00048964
PX-1920       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00048965     NOCUSTODIAN00048965
              VID - Video recording of RWW News: League of the South President Burns
PX-1921       Talmud, Israeli Flag                                                        NOCUSTODIAN00048966     NOCUSTODIAN00048966
PX-1922       VID - YouTube video regarding violence on August 12, 2017                   NOCUSTODIAN00048967     NOCUSTODIAN00048967
              VID - Video recording of The Florida League of the South 2018 State
PX-1923       Conference                                                                  NOCUSTODIAN00048968     NOCUSTODIAN00048968
              EMAIL - Email from M. Heimbach to M. Bloch re : Sines v. Kessler, Case
PX-1924       No. 17-cv-00072                                                             NOCUSTODIAN00048972     NOCUSTODIAN00048975
PX-1925       VID - Video of August 12, 2017                                              NOCUSTODIAN00049022     NOCUSTODIAN00049022
              ARTICLE - The New York Times article entitled, "2 Soldiers and 2 Civilians
PX-1926       Arrested in Theft of Huge Weapons Cache"                                    NOCUSTODIAN00049023     NOCUSTODIAN00049025
              FILING - United States of America v. Benjamin D., Photo of Benjamin D. in
PX-1927       Kiev                                                                        NOCUSTODIAN00049027     NOCUSTODIAN00049027
PX-1928       FILING - United States of America v. Benjamin D., Tweet by R.A.M.           NOCUSTODIAN00049028     NOCUSTODIAN00049028
              FILING - United States of America v. Benjamin D., Criminal Minutes - Guilty
PX-1929       Plea Hearing                                                                NOCUSTODIAN00049029     NOCUSTODIAN00049029
              FILING - United States of America v. Benjamin D., Photo of Benjamin D. in
PX-1930       Kiev                                                                        NOCUSTODIAN00049030     NOCUSTODIAN00049030
              FILING - United States of America v. Benjamin D., Photo of Benjamin D. in
PX-1931       a bar in California                                                         NOCUSTODIAN00049031     NOCUSTODIAN00049031
PX-1932       DOC - Receipt from Benjamin D.                                              NOCUSTODIAN00049032     NOCUSTODIAN00049032
              FILING - Arrest Warrant of Benjamin D., United States of America v.
PX-1933       Benjamin D.                                                                 NOCUSTODIAN00049033     NOCUSTODIAN00049033
              FILING - United States of America v. Benjamin D., Motion in Support of
PX-1934       Release from Detention                                                      NOCUSTODIAN00049035     NOCUSTODIAN00049044
              FILING - United States of America v. Benjamin D., Photo of Benjamin D. in
PX-1935       Berkeley                                                                    NOCUSTODIAN00049045     NOCUSTODIAN00049045
PX-1936       FB - Facebook post by Benjamin D.                                           NOCUSTODIAN00049046     NOCUSTODIAN00049046
              FILING - United States of America v. Benjamin D., Photo of Notebook with
PX-1937       R.A.M. Goals                                                                NOCUSTODIAN00049047     NOCUSTODIAN00049047
PX-1938       DOC - Receipt from Benjamin D.                                              NOCUSTODIAN00049050     NOCUSTODIAN00049050
              FILING - United States of America v. Benjamin D., Photo of Benjamin D. in
PX-1939       Berkeley                                                                    NOCUSTODIAN00049051     NOCUSTODIAN00049051
              FILING - United States of America v. Benjamin D., Photo of Benjamin D. in
PX-1940       Berkeley                                                                    NOCUSTODIAN00049051     NOCUSTODIAN00049051
PX-1941       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00049059     NOCUSTODIAN00049059
PX-1942       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00049060     NOCUSTODIAN00049060
PX-1943       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00049062     NOCUSTODIAN00049062
PX-1944       DOC - Airline Ticket from Benjamin D.                                       NOCUSTODIAN00049063     NOCUSTODIAN00049063
PX-1945       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00049065     NOCUSTODIAN00049065
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-1946       PHOTO - Photo of Benjamin D. on August 12, 2017, with Elliot Kline         NOCUSTODIAN00049071   NOCUSTODIAN00049071
PX-1947       PHOTO - Photos of Thomas G. in white robes                                 NOCUSTODIAN00049072   NOCUSTODIAN00049072
PX-1948       PHOTO - Photos of Michael M. on August 12, 2017                            NOCUSTODIAN00049073   NOCUSTODIAN00049073
PX-1949       FILING - Statement of Offense, United States of America v. Benjamin D.     NOCUSTODIAN00049074   NOCUSTODIAN00049078
PX-1950       PHOTO - Photo of Hammerskin Nation Logo                                    NOCUSTODIAN00049079   NOCUSTODIAN00049079
              FILING - Detention Hearing Transcript in the United States of America v.
PX-1951       Benjamin D.                                                                NOCUSTODIAN00049080   NOCUSTODIAN00049130
PX-1952       PHOTO - Photo of protestors                                                NOCUSTODIAN00049131   NOCUSTODIAN00049131
PX-1953       PHOTO - Photo of woman bleeding                                            NOCUSTODIAN00049132   NOCUSTODIAN00049132
PX-1954       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00049133   NOCUSTODIAN00049133
PX-1955       PHOTO - Photo of woman bleeding from head on August 12, 2017               NOCUSTODIAN00049134   NOCUSTODIAN00049134
PX-1956       DOC - Transcript from United States of America v. Benjamin D.              NOCUSTODIAN00049135   NOCUSTODIAN00049144
              FILING - United States of America v. Benjamin D., Bank Statement of
PX-1957       Benjamin D.                                                                NOCUSTODIAN00049145   NOCUSTODIAN00049151
PX-1958       PHOTO - Photo of Benjamin D. in Berkeley                                   NOCUSTODIAN00049152   NOCUSTODIAN00049152
              PHOTO - Photo of Benjamin D. on August 12, 2017, with Cole W., Michael
PX-1959       M., and Thomas G.                                                          NOCUSTODIAN00049155   NOCUSTODIAN00049155
PX-1960       FB - Facebook post by Johnny B.                                            NOCUSTODIAN00049157   NOCUSTODIAN00049157
PX-1961       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00049158   NOCUSTODIAN00049158
PX-1962       PHOTO - Photo of Benjamin D. on August 11, 2017                            NOCUSTODIAN00049159   NOCUSTODIAN00049159
              FILING - United States of America v. Benjamin D., Defendant's Sentencing
PX-1963       Memorandum                                                                 NOCUSTODIAN00049160   NOCUSTODIAN00049188
PX-1964       PHOTO - Photo of Nathan Damigo punching a person in Berkeley               NOCUSTODIAN00049189   NOCUSTODIAN00049189
PX-1965       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00049190   NOCUSTODIAN00049190
PX-1966       PHOTO - Photo of James Fields on August 12, 2017                           NOCUSTODIAN00049191   NOCUSTODIAN00049191
PX-1967       FILING - Affidavit, United States of America v. Benjamin D.                NOCUSTODIAN00049192   NOCUSTODIAN00049214
PX-1968       TWITTER - Tweet by Patrick C.                                              NOCUSTODIAN00005205   NOCUSTODIAN00005205
PX-1969       PHOTO - Photo of Nathan Damigo punching woman at Battle of Berkeley        NOCUSTODIAN00049278   NOCUSTODIAN00049278
PX-1970       PHOTO - Photo of Ken P., League of the South and others.                   NOCUSTODIAN00049279   NOCUSTODIAN00049279
              PHOTO - Photo of woman punched by Nathan Damigo during Battle of
PX-1971       Berkeley                                                                   NOCUSTODIAN00049280   NOCUSTODIAN00049280
PX-1972       PHOTO - Photo of Hitler Salute                                             NOCUSTODIAN00049281   NOCUSTODIAN00049281
PX-1973       DISCOVERY - Nathan Damigo's usernames and devices                          NOCUSTODIAN00049282   NOCUSTODIAN00049283
PX-1974       PHOTO - Photo of Nathan Damigo and others during Battle of Berkeley        NOCUSTODIAN00049284   NOCUSTODIAN00049284
PX-1975       PHOTO - Photo of Nathan Damigo and others during Battle of Berkeley        NOCUSTODIAN00049285   NOCUSTODIAN00049285
PX-1976       PHOTO - Photo of Elliot Kline and others                                   NOCUSTODIAN00049287   NOCUSTODIAN00049287
PX-1977       TWITTER - Tweet by Vasillios P.                                            NOCUSTODIAN00049288   NOCUSTODIAN00049288
PX-1978       DISCOVERY - Jeff Schoep's usernames and devices                            NOCUSTODIAN00049290   NOCUSTODIAN00049291
PX-1979       PHOTO - Photo of NSM Members                                               NOCUSTODIAN00049293   NOCUSTODIAN00049293
PX-1980       VK - VK Post by Burt C.                                                    NOCUSTODIAN00049294   NOCUSTODIAN00049294
PX-1981       PHOTO - Photo of Christopher Cantwell and Matthew Heimbach                 NOCUSTODIAN00049295   NOCUSTODIAN00049295
PX-1982       PHOTO - Photo of NSM Members                                               NOCUSTODIAN00049296   NOCUSTODIAN00049296
PX-1983       DISCOVERY - Matthew Parrott's supplemental ESI Declaration                 NOCUSTODIAN00049298   NOCUSTODIAN00049298
              AUD - Audio recording of conversation between Christopher Cantwell and
PX-1984       Charlottesville Police Department (Detective W.)                           NOCUSTODIAN00049299   NOCUSTODIAN00049299
PX-1985       VID - Video recording of Vanguard America and Elliot Kline marching        NOCUSTODIAN00049301   NOCUSTODIAN00049301
PX-1986       VID - Video recording of events on August 12, 2017                         NOCUSTODIAN00049303   NOCUSTODIAN00049303
              VID - Video recording of Benjamin D. and Michael M. Charlottesville
PX-1987       assaults                                                                   NOCUSTODIAN00049304   NOCUSTODIAN00049304
PX-1988       VID - Video recording by Sandi B. of August 12, 2017                       NOCUSTODIAN00049305   NOCUSTODIAN00049305
PX-1989       VID - Video recording of Thomas M. on August 11, 2017                      NOCUSTODIAN00049306   NOCUSTODIAN00049306
PX-1990       AUD - Audio recording of Salting the Earth podcast with Elliott Kline      NOCUSTODIAN00049307   NOCUSTODIAN00049307
PX-1991       VID - Video recording of events on August 12, 2017 (VICE)                  NOCUSTODIAN00049308   NOCUSTODIAN00049308
PX-1992       INTENTIONALLY LEFT BLANK
PX-1993       VID - Video recording of speech in Pikeville, KY                           NOCUSTODIAN00049310   NOCUSTODIAN00049310

PX-1994       AUD - Audio recording of Radical Agenda S03E021 - With Andrew Anglin       NOCUSTODIAN00049311   NOCUSTODIAN00049311
PX-1995       VID - Video recording by The New York Times                                NOCUSTODIAN00049313   NOCUSTODIAN00049313
PX-1996       VID - Video recording by Sandi B. of August 12, 2017                       NOCUSTODIAN00049314   NOCUSTODIAN00049314
PX-1997       VID - Video recording of Nathan G.                                         NOCUSTODIAN00049316   NOCUSTODIAN00049316
PX-1998       VID - Video recording of Battle of Berkeley                                NOCUSTODIAN00049317   NOCUSTODIAN00049317
PX-1999       DOC - Document regarding high value target list                            NOCUSTODIAN00049319   NOCUSTODIAN00049325
PX-2000       INTENTIONALLY LEFT BLANK
PX-2001       VID - Video recording of Michael Tubbs on August 12, 2017                  NOCUSTODIAN00005729   NOCUSTODIAN00005729
PX-2002       TWITTER - Tweet by Matthew Parrott                                         NOCUSTODIAN00000618   NOCUSTODIAN00000618
PX-2003       VK - VK profile of Burt C.                                                 NOCUSTODIAN00007398   NOCUSTODIAN00007607
PX-2004       TWITTER – Tweet by Richard Spencer                                         NOCUSTODIAN00008636   NOCUSTODIAN00008637
PX-2005       TRANSCRIPT - Transcript of Jason Kessler's speech at Pen Park              NOCUSTODIAN00008644   NOCUSTODIAN00008644
PX-2006       TWITTER - Tweet of man brandishing gun                                     NOCUSTODIAN00008653   NOCUSTODIAN00008653
PX-2007       INTENTIONALLY LEFT BLANK
PX-2008       DISC - Unicorn Riot Discord Leaks                                          NOCUSTODIAN00008724   NOCUSTODIAN00008729
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Exhibit No.   Description                                                                    Beginning Bates       End Bates
              ARTICLE - Daily Progress article by Bob Gibson entitled,
              "Opinion/Commentary: Even before the torch march, white supremacy took
PX-2009       the stage"                                                                     NOCUSTODIAN00008730   NOCUSTODIAN00008734
              ARTICLE - Daily Stormer article entitled, "Charlottesville Ground Report:
PX-2010       Nazi Occultists Resurrect Spirit of Confederacy"                               NOCUSTODIAN00008740   NOCUSTODIAN00008745
PX-2011       ARTICLE - Southern Poverty Law Center article entitled, "Jason Kessler"        NOCUSTODIAN00008749   NOCUSTODIAN00008753
              ARTICLE - Daily Progress article entitled, "Torch-wielding Protesters Gather
PX-2012       at Lee Park"                                                                   NOCUSTODIAN00008781   NOCUSTODIAN00008790
              ARTICLE - Daily Caller article by Jason Kessler entitled, "Richard Spencer
              Leads White Nationalist Demonstration in Front of Virginia Robert E. Lee                             NOCUSTODIAN00008807
PX-2013       Monument"                                                                      NOCUSTODIAN00008800
PX-2014       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00008823   NOCUSTODIAN00008837
              SMS - Text message conversation between Matthew Heimbach and Thomas
PX-2015       R.                                                                             NOCUSTODIAN00008838   NOCUSTODIAN00008845
PX-2016       TWITTER - Twitter Feed of Jason Kessler                                        NOCUSTODIAN00008875   NOCUSTODIAN00008911
PX-2017       INTENTIONALLY LEFT BLANK
PX-2018       ARTICLE - Vanguard America, Bloodandsoil.org webpages                          NOCUSTODIAN00008968   NOCUSTODIAN00008983
PX-2019       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00008984   NOCUSTODIAN00009052
PX-2020       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00009917   NOCUSTODIAN00010203
PX-2021       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00010204   NOCUSTODIAN00010491
PX-2022       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00010204   NOCUSTODIAN00010491
PX-2023       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00010492   NOCUSTODIAN00010782
PX-2024       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00010492   NOCUSTODIAN00010782
PX-2025       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00010783   NOCUSTODIAN00011073
PX-2026       DISC - Unicorn Riot Discord Leaks                                              NOCUSTODIAN00011074   NOCUSTODIAN00011368
                                                                                                                   NOCUSTODIAN00011369
PX-2027       SMS - Text message conversation between Jason Kessler and David D.             NOCUSTODIAN00011369
              SMS - Text message conversation between Elliott Kline, Jason Kessler, and
PX-2028       Erica                                                                          NOCUSTODIAN00011373   NOCUSTODIAN00011378
PX-2029       SMS - Text message conversation between Elliott Kline and Jason Kessler        NOCUSTODIAN00011379   NOCUSTODIAN00011452
PX-2030       TWITTER – Tweet by Michael Hill                                                NOCUSTODIAN00011479   NOCUSTODIAN00011479
PX-2031       INTENTIONALLY LEFT BLANK
              EMAIL - Email from Karen D. to Gabrielle T., Eli M., and Matthew
PX-2032       Heimbach                                                                       NOCUSTODIAN00011562   NOCUSTODIAN00011562
PX-2033       DOC - Daily Stormer, “Style Guide”                                             NOCUSTODIAN00011563   NOCUSTODIAN00011579
PX-2034       TWITTER – Tweets by Elliott Kline                                              NOCUSTODIAN00011586   NOCUSTODIAN00011586
PX-2035       GAB - Post by Matthew Heimbach                                                 NOCUSTODIAN00011593   NOCUSTODIAN00011593
PX-2036       DISC - Discord post                                                            NOCUSTODIAN00011603   NOCUSTODIAN00011603
PX-2037       EMAIL - Email from James Kolenich to Karen D.                                  NOCUSTODIAN00011619   NOCUSTODIAN00011619
PX-2038       DOC - Document regarding membership information                                NOCUSTODIAN00011649   NOCUSTODIAN00011649
PX-2039       DISC - Discord post                                                            NOCUSTODIAN00011652   NOCUSTODIAN00011652
PX-2040       DISC - Discord post                                                            NOCUSTODIAN00011690   NOCUSTODIAN00011690
PX-2041       DISC - Discord post                                                            NOCUSTODIAN00011691   NOCUSTODIAN00011691
PX-2042       DISC - Discord post                                                            NOCUSTODIAN00011699   NOCUSTODIAN00011699
PX-2043       DISC - Discord post                                                            NOCUSTODIAN00011704   NOCUSTODIAN00011704
PX-2044       DISC - Discord post                                                            NOCUSTODIAN00011711   NOCUSTODIAN00011711
PX-2045       DISC - Discord post                                                            NOCUSTODIAN00011718   NOCUSTODIAN00011718
PX-2046       TWITTER - Tweets by Matthew Heimbach                                           NOCUSTODIAN00011724   NOCUSTODIAN00011724
PX-2047       DISC - Discord post                                                            NOCUSTODIAN00011728   NOCUSTODIAN00011728
PX-2048       DISC - Discord post                                                            NOCUSTODIAN00011744   NOCUSTODIAN00011744
PX-2049       DISC - Discord post                                                            NOCUSTODIAN00011745   NOCUSTODIAN00011745
PX-2050       DISC - Discord post                                                            NOCUSTODIAN00011757   NOCUSTODIAN00011757
PX-2051       VK - TWP Page                                                                  NOCUSTODIAN00011774   NOCUSTODIAN00011774
PX-2052       DISC - Discord post                                                            NOCUSTODIAN00011783   NOCUSTODIAN00011783
PX-2053       DISC - Discord post                                                            NOCUSTODIAN00011808   NOCUSTODIAN00011808
PX-2054       VK - TWP Page                                                                  NOCUSTODIAN00011867   NOCUSTODIAN00011867
PX-2055       VK - TWP Post                                                                  NOCUSTODIAN00011920   NOCUSTODIAN00011920
              ARTICLE - The Atlantic article by Edna Friedberg entitled, "Why They
PX-2056       Parade by Torchlight"                                                          NOCUSTODIAN00012043   NOCUSTODIAN00012046
PX-2057       POST - Post by Matthew Heimbach                                                NOCUSTODIAN00012058   NOCUSTODIAN00012058
PX-2058       DISC - Discord post                                                            NOCUSTODIAN00012084   NOCUSTODIAN00012084
PX-2059       DOC - Daily Stormer Home Page                                                  NOCUSTODIAN00012222   NOCUSTODIAN00012222
              ARTICLE - Southern Poverty Law Center entitled, "Michael 'Enoch'
PX-2060       Peinovich"                                                                     NOCUSTODIAN00012233   NOCUSTODIAN00012238
PX-2061       DISC - Discord post                                                            NOCUSTODIAN00012252   NOCUSTODIAN00012253
PX-2062       TWITTER – Tweet by Jason Kessler                                               NOCUSTODIAN00012667   NOCUSTODIAN00012667
PX-2063       TWITTER – Tweets by Michael Hill                                               NOCUSTODIAN00012704   NOCUSTODIAN00012704
PX-2064       TWITTER - Tweets regarding white people becoming minorities                    NOCUSTODIAN00013172   NOCUSTODIAN00013172
              ARTICLE - Southern Poverty Law Center article entitled, "Meet the League:
PX-2065       State Chairmen and Organizers of the League of the South"                      NOCUSTODIAN00013425   NOCUSTODIAN00013433
PX-2066       TWITTER - Tweet by Jeff Schoep                                                 NOCUSTODIAN00013566   NOCUSTODIAN00013566
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Exhibit No.   Description                                                                   Beginning Bates       End Bates
PX-2067       TWITTER – Tweet regarding Richard Spencer speech                              NOCUSTODIAN00013643   NOCUSTODIAN00013643
PX-2068       TWITTER – Tweet by Jeff Schoep                                                NOCUSTODIAN00013644   NOCUSTODIAN00013644
              ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Summer of
PX-2069       Hate: Black Sun to Cross America This August"                                 NOCUSTODIAN00014249   NOCUSTODIAN00014253
              ARTICLE - Altright.com article by Richard Spencer entitled, "What it Means
PX-2070       To Be Alt-Right"                                                              NOCUSTODIAN00014590   NOCUSTODIAN00014601
PX-2071       VID - Video recording of Robert "Azzmador" Ray Charlottesville speech         NOCUSTODIAN00015226   NOCUSTODIAN00015226
PX-2072       GAB - Post by Christopher Cantwell                                            NOCUSTODIAN00015364   NOCUSTODIAN00015364
              FILING - Commonwealth of Virginia v. Christopher Cantwell, Plea of Guilty
PX-2073       to Misdemeanors, 17-cr-784, 845                                               NOCUSTODIAN00015477   NOCUSTODIAN00015480
              DOC - Document regarding Department of Transportation information for
PX-2074       business                                                                      NOCUSTODIAN00015513   NOCUSTODIAN00015513
PX-2075       WEB - Webpage regarding details for a business                                NOCUSTODIAN00016110   NOCUSTODIAN00016110
PX-2076       VK - Post by Matthew Parrott                                                  NOCUSTODIAN00016410   NOCUSTODIAN00016410
PX-2077       POST - Post by Christopher Cantwell                                           NOCUSTODIAN00016484   NOCUSTODIAN00016484
PX-2078       TWITTER – Tweet regarding car attack                                          NOCUSTODIAN00016591   NOCUSTODIAN00016591
PX-2079       TWITTER – Tweet regarding car attack                                          NOCUSTODIAN00016591   NOCUSTODIAN00016591
              ARTICLE - The Times News article by Natalie Allison Janicello entitled,
PX-2080       "Corps condemns Marines' behavior"                                            NOCUSTODIAN00016949   NOCUSTODIAN00016957
PX-2081       TWITTER - Twitter Profile for Michael C.                                      NOCUSTODIAN00017053   NOCUSTODIAN00017053
PX-2082       TWITTER – Tweets by Jason Kessler                                             NOCUSTODIAN00017309   NOCUSTODIAN00017309
PX-2083       PHOTO - Photo of Michael C. at rally in Pikeville                             NOCUSTODIAN00017413   NOCUSTODIAN00017413
PX-2084       PHOTO - Photo of Michael C. at rally in Pikeville                             NOCUSTODIAN00017658   NOCUSTODIAN00017658
PX-2085       PHOTO - Photo regarding reversing white genocide                              NOCUSTODIAN00017700   NOCUSTODIAN00017700
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2086       "Gassing Kikes and Trannies (Song)"                                           NOCUSTODIAN00017753   NOCUSTODIAN00017755
PX-2087       PHOTO - Photo of Michael C. getting arrested                                  NOCUSTODIAN00017804   NOCUSTODIAN00017804
PX-2088       PHOTO - Photos of Michael C. in Charlottesville on August 12, 2017            NOCUSTODIAN00017807   NOCUSTODIAN00017807
              ARTICLE - TWP Article by Matthew Parrott entitled, "Proud Boys Are
PX-2089       Cordially Invited to Unite The Right"                                         NOCUSTODIAN00017945   NOCUSTODIAN00017961

              ARTICLE - Alt Right.com article by Vincent Law entitled, "The 'Unite The
PX-2090       Right' Rally Is Going To Be A Turning Point For White Identity In America"    NOCUSTODIAN00017977   NOCUSTODIAN00017987
PX-2091       DISC - Discord post                                                           NOCUSTODIAN00018237   NOCUSTODIAN00018246
              ARTICLE - TradWorker article by Matthew Parrott entitled, "Christopher
PX-2092       Cantwell Did Nothing Wrong"                                                   NOCUSTODIAN00018446   NOCUSTODIAN00018448
PX-2093       FB - Facebook post by Matthew Parrott                                         NOCUSTODIAN00018950   NOCUSTODIAN00018950
PX-2094       DOC - Document regarding security orders for Unite the Right                  NOCUSTODIAN00019386   NOCUSTODIAN00019396
              ARTICLE - Daily Stormer article by Benjamin Garland entitled,
PX-2095       "Charlottesville 2.0: Be There or Be Square"                                  NOCUSTODIAN00020010   NOCUSTODIAN00020027
PX-2096       WEB - Webpage for leaked audio of Richard Spencer recording                   NOCUSTODIAN00020684   NOCUSTODIAN00020685
PX-2097       DOC - Arrest Record for Michael C.                                            NOCUSTODIAN00021136   NOCUSTODIAN00021156
PX-2098       TWITTER - Twitter Feed of Jason Kessler                                       NOCUSTODIAN00022111   NOCUSTODIAN00022414
              VID - Video recording of Matthew Heimbach Interview with ABC News
PX-2099                                                                                     NOCUSTODIAN00022889   NOCUSTODIAN00022889
PX-2100       VID - Video recording of pre-game torch march                                 NOCUSTODIAN00023810   NOCUSTODIAN00023810
PX-2101       TWITTER – Tweets by Michael Hill                                              NOCUSTODIAN00049399   NOCUSTODIAN00049399
PX-2102       VID - Video of Nathan Damigo                                                  NOCUSTODIAN00028701   NOCUSTODIAN00028701
PX-2103       VID - Video recording of VICE News, Charlottesville Race and Terror           NOCUSTODIAN00028711   NOCUSTODIAN00028711
              VID - Video recording of Katie Couric, See the Sparks That Set Off Violence
PX-2104       in Charlottesville, National Geographic (Aug 19, 2017)                        NOCUSTODIAN00028717   NOCUSTODIAN00028717
              VID - Katie Couric National Geographic, America Inside Out, S1E1, Re-
PX-2105       Righting History                                                              NOCUSTODIAN00028726   NOCUSTODIAN00028726
              VID - Aaron Sankin & Scott Pham, In chat rooms, Unite the Right organizers
PX-2106       planned to obscure their racism, REVEAL NEWS                                  NOCUSTODIAN00028728   NOCUSTODIAN00028728
PX-2107       VID - Video recording of Michael Tubbs on August 12, 2017                     NOCUSTODIAN00032993   NOCUSTODIAN00032993
PX-2108       VID - Video recording of August 12, 2017                                      NOCUSTODIAN00033076   NOCUSTODIAN00033076
PX-2109       VID - Video recording of August 11, 2017                                      NOCUSTODIAN00033112   NOCUSTODIAN00033112
PX-2110       AUD - Audio recording of individuals honoring James Fields and Dylan R.       NOCUSTODIAN00033114   NOCUSTODIAN00033114
PX-2111       VID - Video recording of Will P. stick attack at Sacramento riot              NOCUSTODIAN00033124   NOCUSTODIAN00033124
PX-2112       VID - Video recording of Robert "Azzmador" Ray                                NOCUSTODIAN00033136   NOCUSTODIAN00033136
PX-2113       VID - Video recording of Matthew Heimbach                                     NOCUSTODIAN00033140   NOCUSTODIAN00033140
PX-2114       VID - Video recording of Berkeley Trump Rally                                 NOCUSTODIAN00033231   NOCUSTODIAN00033231
PX-2115       VID - Video recording of ABC News coverage of August 11 and 12, 2017          NOCUSTODIAN00033232   NOCUSTODIAN00033232
PX-2116       VID - Video recording of August 11, 2017                                      NOCUSTODIAN00033236   NOCUSTODIAN00033236
PX-2117       VID - Video recording of August 11, 2017                                      NOCUSTODIAN00033246   NOCUSTODIAN00033246
PX-2118       VID - Video recording of Berkeley Trump Rally                                 NOCUSTODIAN00033250   NOCUSTODIAN00033250
PX-2119       VID - Video recording of August 11, 2017                                      NOCUSTODIAN00033254   NOCUSTODIAN00033254
PX-2120       AUD - Audio recording of Action! Podcast, Episode 3                           NOCUSTODIAN00033313   NOCUSTODIAN00033313
PX-2121       VID - Video recording of Richard Spencer after torch march                    NOCUSTODIAN00033335   NOCUSTODIAN00033335
PX-2122       AUD - Audio recording of GoyTalk Live! podcast with Matthew Parrott           NOCUSTODIAN00033348   NOCUSTODIAN00033348
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Exhibit No.   Description                                                                 Beginning Bates       End Bates
PX-2123       VID - Video recording of August 11, 2017                                    NOCUSTODIAN00033357   NOCUSTODIAN00033357
PX-2124       VID - Video recording of August 11 and 12, 2017                             NOCUSTODIAN00033360   NOCUSTODIAN00033360
PX-2125       VID - Video recording of August 11, 2017                                    NOCUSTODIAN00033364   NOCUSTODIAN00033364
              AUD - Audio recording of Nordic Frontier #31: Matthew Heimbach and the
PX-2126       Charlottesville Aftermath                                                   NOCUSTODIAN00033365   NOCUSTODIAN00033365
PX-2127       VID - Video recording by Ford F. of August 11, 2017                         NOCUSTODIAN00033366   NOCUSTODIAN00033366
              AUD - Audio recording of The Southern AF Podcast with Christopher
PX-2128       Cantwell                                                                    NOCUSTODIAN00033373   NOCUSTODIAN00033373
PX-2129       VID - Video recording of GoyTalk Live! podcast With Matthew Parrott         NOCUSTODIAN00033374   NOCUSTODIAN00033374
PX-2130       PHOTO - Nationalist Front Logo                                              NOCUSTODIAN00033514   NOCUSTODIAN00033514
PX-2131       PHOTO - TWP Logo                                                            NOCUSTODIAN00033545   NOCUSTODIAN00033545
PX-2132       PHOTO - Photo regarding status of arrested individuals                      NOCUSTODIAN00033708   NOCUSTODIAN00033708
PX-2133       POST - Post by Matthew Parrott                                              NOCUSTODIAN00034767   NOCUSTODIAN00034767
PX-2134       POST – Post by Jason Kessler                                                NOCUSTODIAN00034811   NOCUSTODIAN00034811
PX-2135       TWITTER - Tweets by Christopher Cantwell                                    NOCUSTODIAN00035034   NOCUSTODIAN00035034
PX-2136       TWITTER - Tweets by Christopher Cantwell                                    NOCUSTODIAN00035082   NOCUSTODIAN00035082
PX-2137       POST - Post by Christopher Cantwell                                         NOCUSTODIAN00035287   NOCUSTODIAN00035287
PX-2138       PHOTO - Photo of Christopher Cantwell on August 11, 2017                    NOCUSTODIAN00035297   NOCUSTODIAN00035297
PX-2139       POST - Post by Christopher Cantwell                                         NOCUSTODIAN00035353   NOCUSTODIAN00035353
PX-2140       TWITTER - Tweet regarding Matthew Heimbach speech                           NOCUSTODIAN00035490   NOCUSTODIAN00035490
PX-2141       PHOTO - Photo of The Daily Stormer webpage                                  NOCUSTODIAN00035555   NOCUSTODIAN00035555
PX-2142       PHOTO - Photo of torch march on August 11, 2017                             NOCUSTODIAN00035618   NOCUSTODIAN00035618
PX-2143       PHOTO - Photo of Robert "Azzmador" Ray on August 11, 2017                   NOCUSTODIAN00035637   NOCUSTODIAN00035637
PX-2144       POST - Post by Christopher Cantwell                                         NOCUSTODIAN00035677   NOCUSTODIAN00035677
PX-2145       PHOTO - Photo of Weev with a swastika tattoo on his chest                   NOCUSTODIAN00035796   NOCUSTODIAN00035796
PX-2146       POST - Post by Matthew Heimbach                                             NOCUSTODIAN00035797   NOCUSTODIAN00035797
PX-2147       VK - VK post by Jeff Schoep                                                 NOCUSTODIAN00035799   NOCUSTODIAN00035799
              POST - Post by Matthew Heimbach in the Daily Stormer "The Next Step of
PX-2148       the Revolution: April Rally in Pikeville, Kentucky"                         NOCUSTODIAN00035806   NOCUSTODIAN00035806

PX-2149       DOC - Document regarding Christopher Cantwell's conversation with Jody U.   NOCUSTODIAN00035811   NOCUSTODIAN00035817
PX-2150       DISC - Discord post                                                         NOCUSTODIAN00035822   NOCUSTODIAN00035822
PX-2151       PHOTO - Photo of Christopher Cantwell on August 11, 2017                    NOCUSTODIAN00035838   NOCUSTODIAN00035838
PX-2152       POST - Post by Weev                                                         NOCUSTODIAN00035934   NOCUSTODIAN00035934
PX-2153       GAB - Post by Matthew Heimbach                                              NOCUSTODIAN00035969   NOCUSTODIAN00035969
PX-2154       DOC - Document showing bitcoin payment                                      NOCUSTODIAN00036088   NOCUSTODIAN00036088
              PHOTO - Photo of Elliott Kline, Michael M. and Benjamin D. on August 12,
PX-2155       2017                                                                        NOCUSTODIAN00036089   NOCUSTODIAN00036089

PX-2156       PHOTO - Photo of Christopher Cantwell at torch march on August 11, 2017     NOCUSTODIAN00036265   NOCUSTODIAN00036265
PX-2157       PHOTO - Photo of Daily Stormer Flyer                                        NOCUSTODIAN00036282   NOCUSTODIAN00036282
PX-2158       PHOTO - R.A.M promo                                                         NOCUSTODIAN00036287   NOCUSTODIAN00036287
PX-2159       POST - Post by Christopher Cantwell                                         NOCUSTODIAN00036310   NOCUSTODIAN00036310
PX-2160       POST - Post by Matthew Heimbach                                             NOCUSTODIAN00036315   NOCUSTODIAN00036315
PX-2161       GAB - Post by Matthew Heimbach                                              NOCUSTODIAN00036334   NOCUSTODIAN00036334
PX-2162       PHOTO - Unite the Right Flyer with a list of speakers                       NOCUSTODIAN00036345   NOCUSTODIAN00036345
PX-2163       DOC - Document regarding supporting killing of minorities                   NOCUSTODIAN00036356   NOCUSTODIAN00036356
PX-2164       PHOTO - Photo of End White Genocide                                         NOCUSTODIAN00036408   NOCUSTODIAN00036408
PX-2165       PHOTO - Photo of Elliott Kline and Jason Kessler on August 12, 2017         NOCUSTODIAN00036412   NOCUSTODIAN00036412
PX-2166       POST - Post by Matthew Heimbach                                             NOCUSTODIAN00036416   NOCUSTODIAN00036416
PX-2167       POST - Post by Burt C.                                                      NOCUSTODIAN00036429   NOCUSTODIAN00036429
PX-2168       POST - Post by Matthew Heimbach                                             NOCUSTODIAN00036434   NOCUSTODIAN00036434
PX-2169       TWITTER – Tweet by Michael Hill                                             NOCUSTODIAN00036446   NOCUSTODIAN00036446
PX-2170       VK - Post by Jeff Schoep                                                    NOCUSTODIAN00036458   NOCUSTODIAN00036458
PX-2171       PHOTO - Photo of rotunda and Thomas Jefferson statue                        NOCUSTODIAN00036462   NOCUSTODIAN00036462
PX-2172       DISC - Discord post                                                         NOCUSTODIAN00036463   NOCUSTODIAN00036463
PX-2173       POST - Post by Matthew Heimbach                                             NOCUSTODIAN00036464   NOCUSTODIAN00036464
PX-2174       PHOTO - Photo of violence at the torch march on August 11, 2017             NOCUSTODIAN00036476   NOCUSTODIAN00036476
PX-2175       PHOTO - Photo of Elliott Kline and James Fields on August 12, 2017          NOCUSTODIAN00036482   NOCUSTODIAN00036482
PX-2176       TWITTER – Tweets by Matthew Parrott                                         NOCUSTODIAN00036502   NOCUSTODIAN00036502
PX-2177       GAB - Post by Matthew Heimbach                                              NOCUSTODIAN00036507   NOCUSTODIAN00036507
PX-2178       DOC - Document memorializing Jeff Schoep interview                          NOCUSTODIAN00036551   NOCUSTODIAN00036551
PX-2179       PHOTO - Photo of various items                                              NOCUSTODIAN00036558   NOCUSTODIAN00036558
PX-2180       PHOTO - Photo regarding racism                                              NOCUSTODIAN00036559   NOCUSTODIAN00036559
PX-2181       GAB - Matthew Heimbach post                                                 NOCUSTODIAN00036599   NOCUSTODIAN00036599
PX-2182       POST - Post by Jeff Schoep                                                  NOCUSTODIAN00036644   NOCUSTODIAN00036644
PX-2183       PHOTO - Photo of graffiti                                                   NOCUSTODIAN00036783   NOCUSTODIAN00036783
PX-2184       POST - Post by Christopher Cantwell                                         NOCUSTODIAN00036787   NOCUSTODIAN00036787
PX-2185       FB - Matthew-John Heimbach cover page                                       NOCUSTODIAN00036797   NOCUSTODIAN00036797
PX-2186       GAB - Post regarding James Fields                                           NOCUSTODIAN00036854   NOCUSTODIAN00036854
PX-2187       VK - Post by Burt C.                                                        NOCUSTODIAN00036857   NOCUSTODIAN00036857
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Exhibit No.   Description                                                               Beginning Bates       End Bates
PX-2188       SMS - Text message conversation with Christopher Cantwell                 NOCUSTODIAN00036874   NOCUSTODIAN00036874
PX-2189       SMS - Text message conversation with Christopher Cantwell                 NOCUSTODIAN00036910   NOCUSTODIAN00036910
PX-2190       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00036911   NOCUSTODIAN00036911
PX-2191       POST - Post by Christopher Cantwell                                       NOCUSTODIAN00036918   NOCUSTODIAN00036918
PX-2192       TWITTER - Tweets by Matthew Parrott                                       NOCUSTODIAN00036959   NOCUSTODIAN00036959
PX-2193       POST - Post by Christopher Cantwell                                       NOCUSTODIAN00036971   NOCUSTODIAN00036971
PX-2194       PHOTO - Photo of Matthew Parrott on August 12, 2017                       NOCUSTODIAN00036980   NOCUSTODIAN00036980
PX-2195       POST - Post by Dillon H.                                                  NOCUSTODIAN00037028   NOCUSTODIAN00037028
PX-2196       PHOTO - Photo of torch march on August 11, 2017                           NOCUSTODIAN00037166   NOCUSTODIAN00037166
PX-2197       TWITTER – Tweets regarding Jeff Schoep                                    NOCUSTODIAN00037209   NOCUSTODIAN00037209
PX-2198       PHOTO - Photo of donations to Andrew Anglin                               NOCUSTODIAN00037220   NOCUSTODIAN00037220
PX-2199       TWITTER – Tweets regarding Jeff Schoep                                    NOCUSTODIAN00037252   NOCUSTODIAN00037252
PX-2200       POST - National Socialist Movement group page                             NOCUSTODIAN00037255   NOCUSTODIAN00037255
PX-2201       PHOTO - Photo of interview with Jeff Schoep                               NOCUSTODIAN00037265   NOCUSTODIAN00037265
PX-2202       TWITTER – Tweets by Jeff Schoep                                           NOCUSTODIAN00037384   NOCUSTODIAN00037384
PX-2203       POST - Post by Jeff Schoep                                                NOCUSTODIAN00037409   NOCUSTODIAN00037409
PX-2204       POST - Post by Christopher Cantwell                                       NOCUSTODIAN00037459   NOCUSTODIAN00037459
PX-2205       POST - Post by Robert S.                                                  NOCUSTODIAN00037472   NOCUSTODIAN00037472
PX-2206       TWITTER – Tweets regarding Jeff Schoep                                    NOCUSTODIAN00037496   NOCUSTODIAN00037496

PX-2207       PHOTO - Photo of Christopher Cantwell at torch march on August 11, 2017   NOCUSTODIAN00037545   NOCUSTODIAN00037545
PX-2208       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00037546   NOCUSTODIAN00037546
PX-2209       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00037548   NOCUSTODIAN00037548
PX-2210       PHOTO - Photo of Nathan Damigo at Battle of Berkeley                      NOCUSTODIAN00037647   NOCUSTODIAN00037647
PX-2211       GAB - Matthew Heimbach profile page                                       NOCUSTODIAN00037674   NOCUSTODIAN00037674
PX-2212       PHOTO - Photo of torch march on August 11, 2017                           NOCUSTODIAN00037689   NOCUSTODIAN00037689
PX-2213       POST - Post by Matthew Heimbach                                           NOCUSTODIAN00037820   NOCUSTODIAN00037820
PX-2214       PHOTO - Unite the Right Flyer - "Join or Die."                            NOCUSTODIAN00037821   NOCUSTODIAN00037821
PX-2215       POST - Post by Matthew Heimbach                                           NOCUSTODIAN00038015   NOCUSTODIAN00038015
PX-2216       POST - Post by Christopher Cantwell                                       NOCUSTODIAN00038048   NOCUSTODIAN00038048
PX-2217       PHOTO - Photo of TWP members on August 12, 2017                           NOCUSTODIAN00038062   NOCUSTODIAN00038062
PX-2218       GAB - Traditionalist Worker Party (@tradworker) post                      NOCUSTODIAN00038082   NOCUSTODIAN00038082
PX-2219       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038092   NOCUSTODIAN00038092
PX-2220       POST - Post by Matthew Heimbach                                           NOCUSTODIAN00038104   NOCUSTODIAN00038104
PX-2221       POST - Post by Matthew Heimbach                                           NOCUSTODIAN00038105   NOCUSTODIAN00038105
PX-2222       GAB - Post by TradWorker                                                  NOCUSTODIAN00038107   NOCUSTODIAN00038107
PX-2223       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038115   NOCUSTODIAN00038115
PX-2224       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038120   NOCUSTODIAN00038120
PX-2225       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038139   NOCUSTODIAN00038139
PX-2226       PHOTO - Unite the Right Flyer - "They will not replace us"                NOCUSTODIAN00038226   NOCUSTODIAN00038226
PX-2227       POST - Post by Matthew Heimbach                                           NOCUSTODIAN00038285   NOCUSTODIAN00038293
PX-2228       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038348   NOCUSTODIAN00038348
PX-2229       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038416   NOCUSTODIAN00038416
PX-2230       PHOTO - Photo of torch march on August 11, 2017                           NOCUSTODIAN00038427   NOCUSTODIAN00038427
PX-2231       TWITTER - Tweet by Christopher Cantwell to Molly C.                       NOCUSTODIAN00038496   NOCUSTODIAN00038496
PX-2232       VK - Post by Matthew Heimbach                                             NOCUSTODIAN00038556   NOCUSTODIAN00038556
PX-2233       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038625   NOCUSTODIAN00038625
PX-2234       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038628   NOCUSTODIAN00038628
PX-2235       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038632   NOCUSTODIAN00038632
PX-2236       VK - Post by Matthew Heimbach                                             NOCUSTODIAN00038633   NOCUSTODIAN00038633
PX-2237       DISQUS - Cantwell Discord profile and discussion                          NOCUSTODIAN00038635   NOCUSTODIAN00038642
PX-2238       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038708   NOCUSTODIAN00038708
PX-2239       PHOTO - Photo of August 11, 2017                                          NOCUSTODIAN00038712   NOCUSTODIAN00038712
PX-2240       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038724   NOCUSTODIAN00038724
PX-2241       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038726   NOCUSTODIAN00038726
PX-2242       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038727   NOCUSTODIAN00038727
PX-2243       POST - Post by Christopher Cantwell                                       NOCUSTODIAN00038733   NOCUSTODIAN00038733
PX-2244       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038734   NOCUSTODIAN00038734
PX-2245       TWITTER - Twitter Feed of Radical Agenda                                  NOCUSTODIAN00038807   NOCUSTODIAN00038813
PX-2246       VK - Post by Matthew Heimbach                                             NOCUSTODIAN00038814   NOCUSTODIAN00038814
PX-2247       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038844   NOCUSTODIAN00038844
PX-2248       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038845   NOCUSTODIAN00038845
PX-2249       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038921   NOCUSTODIAN00038921
PX-2250       FB - Facebook post by Christopher Cantwell                                NOCUSTODIAN00038946   NOCUSTODIAN00038946
PX-2251       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00038950   NOCUSTODIAN00038950
PX-2252       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00039049   NOCUSTODIAN00039049
PX-2253       TWITTER - Twitter Feed of @voteforcantwell                                NOCUSTODIAN00039058   NOCUSTODIAN00039061
PX-2254       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00039065   NOCUSTODIAN00039065
PX-2255       GAB - Post by Matthew Heimbach                                            NOCUSTODIAN00039146   NOCUSTODIAN00039146
PX-2256       PHOTO - Photo of Nathan Damigo at Berkeley                                NOCUSTODIAN00039147   NOCUSTODIAN00039147
PX-2257       FB - Facebook post by Steve M.                                            NOCUSTODIAN00039157   NOCUSTODIAN00039157
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Exhibit No.   Description                                                                  Beginning Bates       End Bates
PX-2258       TWITTER – Tweet by Schoep                                                    NOCUSTODIAN00039225   NOCUSTODIAN00039225
PX-2259       POST - Posts by Christopher Cantwell                                         NOCUSTODIAN00039261   NOCUSTODIAN00039314
PX-2260       TWITTER - Tweet by Commander Davis                                           NOCUSTODIAN00039319   NOCUSTODIAN00039319
PX-2261       TWITTER - Tweets by Christopher Cantwell                                     NOCUSTODIAN00039333   NOCUSTODIAN00039333
PX-2262       TWITTER – Tweet by Matthew Heimbach                                          NOCUSTODIAN00039335   NOCUSTODIAN00039335
PX-2263       PHOTO - Photo of Matthew Heimbach                                            NOCUSTODIAN00039344   NOCUSTODIAN00039344
PX-2264       TWITTER – Tweet by Jeff Schoep                                               NOCUSTODIAN00039348   NOCUSTODIAN00039348
              PHOTO - Photo of Logo for Southern Nationalist Radio - Official Podcast of
PX-2265       the League of the South                                                      NOCUSTODIAN00039351   NOCUSTODIAN00039351
PX-2266       POST - Posts by Christopher Cantwell and others                              NOCUSTODIAN00039355   NOCUSTODIAN00039355
PX-2267       VK - VK post by Jeff Schoep                                                  NOCUSTODIAN00039357   NOCUSTODIAN00039357
PX-2268       TWITTER – Tweet by Matthew Heimbach                                          NOCUSTODIAN00039377   NOCUSTODIAN00039377
PX-2269       VK - VK post by Jeff Schoep                                                  NOCUSTODIAN00047795   NOCUSTODIAN00047801
              DISC - Discord post with photo of individual in mask & helmet holding a
PX-2270       shield                                                                       NOCUSTODIAN00039398   NOCUSTODIAN00039398
PX-2271       PHOTO - Unite the Right Flyer                                                NOCUSTODIAN00039400   NOCUSTODIAN00039405
PX-2272       PHOTO - Photo of Jeff Schoep                                                 NOCUSTODIAN00039413   NOCUSTODIAN00039413
PX-2273       TWITTER - Social Media account home page for Matthew Heimbach                NOCUSTODIAN00039417   NOCUSTODIAN00039417
PX-2274       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00039429   NOCUSTODIAN00039429
PX-2275       PHOTO - Photo of TWP members on August 12, 2017                              NOCUSTODIAN00039430   NOCUSTODIAN00039430
PX-2276       IG - Christopher Cantwell Instagram page                                     NOCUSTODIAN00039431   NOCUSTODIAN00039432
PX-2277       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00039436   NOCUSTODIAN00039436
PX-2278       PHOTO - Photo of TWP members on August 12, 2017                              NOCUSTODIAN00039457   NOCUSTODIAN00039457
PX-2279       PHOTO - Photo of protestors on August 12, 2017                               NOCUSTODIAN00039460   NOCUSTODIAN00039460
PX-2280       PHOTO - Photo of Michael Hill on August 12, 2017                             NOCUSTODIAN00039788   NOCUSTODIAN00039788
PX-2281       POST - Post by Matthew Heimbach                                              NOCUSTODIAN00039789   NOCUSTODIAN00039789
PX-2282       PHOTO - Photo of August 11, 2017                                             NOCUSTODIAN00039790   NOCUSTODIAN00039790
PX-2283       PHOTO - Photo of car attack                                                  NOCUSTODIAN00039794   NOCUSTODIAN00039794
PX-2284       PHOTO - Photo of Elliott Kline on August 12, 2017                            NOCUSTODIAN00039795   NOCUSTODIAN00039795
PX-2285       POST - Post by Matthew Parrott                                               NOCUSTODIAN00039797   NOCUSTODIAN00039836
PX-2286       PHOTO - Photo of protestors on August 12, 2017                               NOCUSTODIAN00039837   NOCUSTODIAN00039837
PX-2287       PHOTO - Photo of riot police on August 12, 2017                              NOCUSTODIAN00039873   NOCUSTODIAN00039873
PX-2288       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00039875   NOCUSTODIAN00039875
PX-2289       PHOTO - Photo of Elliott Kline on August 12, 2017                            NOCUSTODIAN00039886   NOCUSTODIAN00039886
PX-2290       PHOTO - Photo of Elliott Kline on August 12, 2017                            NOCUSTODIAN00039887   NOCUSTODIAN00039887
PX-2291       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00039894   NOCUSTODIAN00039894
PX-2292       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00039895   NOCUSTODIAN00039895
PX-2293       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00039896   NOCUSTODIAN00039896
PX-2294       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00039897   NOCUSTODIAN00039897
PX-2295       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00039900   NOCUSTODIAN00039900
PX-2296       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043002   NOCUSTODIAN00043002
PX-2297       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043004   NOCUSTODIAN00043004
PX-2298       PHOTO - Photo of protestors on August 12, 2017                               NOCUSTODIAN00043010   NOCUSTODIAN00043010
PX-2299       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043013   NOCUSTODIAN00043013
PX-2300       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043016   NOCUSTODIAN00043016
PX-2301       PHOTO - Photo of protestors on August 12, 2017                               NOCUSTODIAN00043022   NOCUSTODIAN00043022
PX-2302       TWITTER - Twitter Account for Christopher Cantwell                           NOCUSTODIAN00043025   NOCUSTODIAN00043121
PX-2303       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043131   NOCUSTODIAN00043131
PX-2304       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043560   NOCUSTODIAN00043560
PX-2305       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043578   NOCUSTODIAN00043578
PX-2306       PHOTO - Photo of Elliott Kline on August 12, 2017                            NOCUSTODIAN00043589   NOCUSTODIAN00043589
PX-2307       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043604   NOCUSTODIAN00043604
PX-2308       PHOTO - Photo of counter-protestors on August 12, 2017                       NOCUSTODIAN00043621   NOCUSTODIAN00043621
PX-2309       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043631   NOCUSTODIAN00043631
PX-2310       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043652   NOCUSTODIAN00043652
PX-2311       PHOTO - Photo of counter-protestors on August 12, 2017                       NOCUSTODIAN00043749   NOCUSTODIAN00043749
PX-2312       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043760   NOCUSTODIAN00043760
PX-2313       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043830   NOCUSTODIAN00043830
PX-2314       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043834   NOCUSTODIAN00043834
PX-2315       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043844   NOCUSTODIAN00043844
PX-2316       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043845   NOCUSTODIAN00043845
PX-2317       PHOTO - Photo of protestors on August 12, 2017                               NOCUSTODIAN00043846   NOCUSTODIAN00043846
PX-2318       PHOTO - Photo of protestors on August 12, 2017                               NOCUSTODIAN00043852   NOCUSTODIAN00043852
PX-2319       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043854   NOCUSTODIAN00043854
PX-2320       PHOTO - Photo of counter-protestors on August 12, 2017                       NOCUSTODIAN00043860   NOCUSTODIAN00043860
PX-2321       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043870   NOCUSTODIAN00043870
PX-2322       PHOTO - Photo of counter-protestors on August 12, 2017                       NOCUSTODIAN00043872   NOCUSTODIAN00043872
PX-2323       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043888   NOCUSTODIAN00043888
PX-2324       PHOTO - Photo of Elliott Kline on August 12, 2017                            NOCUSTODIAN00043897   NOCUSTODIAN00043897
PX-2325       PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00043900   NOCUSTODIAN00043900
PX-2326       PHOTO - Photo of August 12, 2017                                             NOCUSTODIAN00043902   NOCUSTODIAN00043902
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PX-2327       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00043911   NOCUSTODIAN00043911
PX-2328       PHOTO - Photo of Rotunda at the University of Virginia                        NOCUSTODIAN00043917   NOCUSTODIAN00043917
PX-2329       INTENTIONALLY LEFT BLANK
PX-2330       PHOTO - Photo of Elliott Kline on August 12, 2017                             NOCUSTODIAN00043931   NOCUSTODIAN00043931
PX-2331       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00043938   NOCUSTODIAN00043938
PX-2332       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00043945   NOCUSTODIAN00043945
PX-2333       PHOTO - Photo of riot police on August 12, 2017                               NOCUSTODIAN00043968   NOCUSTODIAN00043968
PX-2334       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00043977   NOCUSTODIAN00043977
PX-2335       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00043978   NOCUSTODIAN00043978
PX-2336       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00043979   NOCUSTODIAN00043979
PX-2337       PHOTO - Photo of counter-protestors on August 12, 2017                        NOCUSTODIAN00043981   NOCUSTODIAN00043981
PX-2338       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00043982   NOCUSTODIAN00043982
PX-2339       PHOTO - Photo of riot police on August 12, 2017                               NOCUSTODIAN00044001   NOCUSTODIAN00044001
PX-2340       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044010   NOCUSTODIAN00044010
PX-2341       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044016   NOCUSTODIAN00044016
PX-2342       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044022   NOCUSTODIAN00044022
PX-2343       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044030   NOCUSTODIAN00044030
PX-2344       PHOTO - Photo of torches at Thomas Jefferson statute                          NOCUSTODIAN00044032   NOCUSTODIAN00044032
PX-2345       PHOTO - Photo of Jason Kessler at torch march on August 11, 2017              NOCUSTODIAN00044043   NOCUSTODIAN00044043
PX-2346       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044044   NOCUSTODIAN00044044
PX-2347       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044070   NOCUSTODIAN00044070
PX-2348       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044075   NOCUSTODIAN00044075
PX-2349       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00044077   NOCUSTODIAN00044077
PX-2350       PHOTO - Photo of "VA Students Act Against White Supremacy"                    NOCUSTODIAN00044091   NOCUSTODIAN00044091
PX-2351       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044114   NOCUSTODIAN00044114
PX-2352       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044123   NOCUSTODIAN00044123
PX-2353       PHOTO - Photo of torches at Thomas Jefferson statute                          NOCUSTODIAN00044154   NOCUSTODIAN00044154
PX-2354       PHOTO - Photo of police at Thomas Jefferson statute                           NOCUSTODIAN00044157   NOCUSTODIAN00044157
PX-2355       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044180   NOCUSTODIAN00044180
PX-2356       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044182   NOCUSTODIAN00044182
PX-2357       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044185   NOCUSTODIAN00044185
PX-2358       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044189   NOCUSTODIAN00044189
PX-2359       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044194   NOCUSTODIAN00044194
PX-2360       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044197   NOCUSTODIAN00044197
PX-2361       PHOTO - Photo of torch march on August 11, 2017                               NOCUSTODIAN00044199   NOCUSTODIAN00044199
PX-2362       PHOTO - Photo of torches at Thomas Jefferson statute                          NOCUSTODIAN00044200   NOCUSTODIAN00044200
PX-2363       VID - Video recording of Kline Red Ice Interview                              NOCUSTODIAN00044657   NOCUSTODIAN00044657
PX-2364       PHOTO - Photo of Nathan Damigo and RAM at Battle of Berkeley                  NOCUSTODIAN00044661   NOCUSTODIAN00044661
PX-2365       PHOTO - Photo of Nathan Damigo at Battle of Berkeley                          NOCUSTODIAN00044663   NOCUSTODIAN00044663
PX-2366       PHOTO - Photo of Nathan Damigo at Battle of Berkeley                          NOCUSTODIAN00044665   NOCUSTODIAN00044665
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2367       "I Need a Break, and Your Help"                                               NOCUSTODIAN00044666   NOCUSTODIAN00044675
PX-2368       VID - Video recording of League of the South members                          NOCUSTODIAN00044677   NOCUSTODIAN00044677
PX-2369       POST - Post by Matthew Parrott                                                NOCUSTODIAN00044680   NOCUSTODIAN00044680
PX-2370       POST - Post by Matthew Parrott                                                NOCUSTODIAN00044681   NOCUSTODIAN00044681
PX-2371       POST - Post by Matthew Parrott                                                NOCUSTODIAN00044682   NOCUSTODIAN00044682
PX-2372       TWITTER - Tweet by @TradWorker                                                NOCUSTODIAN00044683   NOCUSTODIAN00044683
PX-2373       PHOTO - Photo of Matthew Parrott on August 12, 2017                           NOCUSTODIAN00044686   NOCUSTODIAN00044686
PX-2374       POST - Post by Matthew Parrott                                                NOCUSTODIAN00044687   NOCUSTODIAN00044687
PX-2375       VK - Post by Matthew Parrott                                                  NOCUSTODIAN00044688   NOCUSTODIAN00044688
PX-2376       POST - Post by Matthew Parrott                                                NOCUSTODIAN00044689   NOCUSTODIAN00044689
              ARTICLE - KPCC article by Olga R. Rodriguez entitled "White nationalists,
PX-2377       protesters clash in Sacramento; 10 hurt"                                      NOCUSTODIAN00044691   NOCUSTODIAN00044693
PX-2378       VK - Post by Matthew Parrott                                                  NOCUSTODIAN00044694   NOCUSTODIAN00044694
              ARTICLE - TradWorker article by Matthew Parrott entitled, "Power
PX-2379       Dynamics, Strategy, and Charlottesville"                                      NOCUSTODIAN00044697   NOCUSTODIAN00044703
              ARTICLE - Traditionalist Youth Network article by Matthew Parrott entitled,
PX-2380       "RE: Kevin D. Williamson's Angry White Boys"                                  NOCUSTODIAN00044705   NOCUSTODIAN00044707
PX-2381       AUD - Audio recording of The Foundry Podcast, Episode 5                       NOCUSTODIAN00044728   NOCUSTODIAN00044728
              AUD - Audio recording of Mysterium Fasces podcast, Episode 35 -
PX-2382       Charlottesville                                                               NOCUSTODIAN00044729   NOCUSTODIAN00044729
PX-2383       AUD - Audio recording of The Foundry Podcast, Episode 10                      NOCUSTODIAN00044731   NOCUSTODIAN00044731
PX-2384       VID - Video recording of GoyTalk Live! podcast with Matthew Parrott           NOCUSTODIAN00044733   NOCUSTODIAN00044733
              ARTICLE - Vanguard America, Bloodandsoil.org article entitled, "America is
PX-2385       Under Attack"                                                                 NOCUSTODIAN00044734   NOCUSTODIAN00044737
PX-2386       POST - Posts by white_powerstroke                                             NOCUSTODIAN00044738   NOCUSTODIAN00044738
              ARTICLE - Vanguard America, Bloodandsoil.org article entitled, “On
PX-2387       Charlottesville – why we fight”                                               NOCUSTODIAN00044741   NOCUSTODIAN00044745
              ARTICLE - Vanguard America, Bloodandsoil.org article entitled “Vanguard
PX-2388       Manifesto – Points of the Vanguard”                                           NOCUSTODIAN00044753   NOCUSTODIAN00044755
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PX-2389       PHOTO - Photo of James Fields with Vanguard members on August 12, 2017 NOCUSTODIAN00044763         NOCUSTODIAN00044763

PX-2390       PHOTO - Photo of James Fields with Vanguard members on August 12, 2017       NOCUSTODIAN00044781   NOCUSTODIAN00044781
PX-2391       VID - Video recording of Fields driving on 4th Street                        NOCUSTODIAN00044810   NOCUSTODIAN00044810
PX-2392       VID - Video recording from August 12, 2017                                   NOCUSTODIAN00044815   NOCUSTODIAN00044815
              DOC - State of North Carolina Limited Liability Company Annual Report
PX-2393       form for Traditionalist Worker Party National Committee, LLC                 NOCUSTODIAN00044954   NOCUSTODIAN00044954
PX-2394       TWITTER – Tweet by Matthew Parrott                                           NOCUSTODIAN00044955   NOCUSTODIAN00044955
PX-2395       DOC - Excel spreadsheet regarding Traditionalist Worker Party                NOCUSTODIAN00044956   NOCUSTODIAN00044956
PX-2396       GAB - Post by Tony H.                                                        NOCUSTODIAN00044957   NOCUSTODIAN00044957
PX-2397       TWITTER - Retweets by @Tradworker                                            NOCUSTODIAN00044958   NOCUSTODIAN00044958
              DOC - State of North Carolina Certificate of Administrative Dissolution of
PX-2398       Traditionalist Worker Party National Committee, LLC                          NOCUSTODIAN00044960   NOCUSTODIAN00044960
PX-2399       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044962   NOCUSTODIAN00044962
PX-2400       PHOTO - Photo of Richard Spencer                                             NOCUSTODIAN00044963   NOCUSTODIAN00044963
PX-2401       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044964   NOCUSTODIAN00044964
PX-2402       GAB - Conversation between Tony H. and Robert "Azzmador" Ray                 NOCUSTODIAN00044965   NOCUSTODIAN00044965
PX-2403       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044966   NOCUSTODIAN00044966
PX-2404       PHOTO - Photo of Richard Spencer                                             NOCUSTODIAN00044967   NOCUSTODIAN00044967
PX-2405       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044968   NOCUSTODIAN00044968
PX-2406       TWITTER - Tweet by Tony H.                                                   NOCUSTODIAN00044969   NOCUSTODIAN00044969
PX-2407       TWITTER - Posts by Matthew Parrott                                           NOCUSTODIAN00044970   NOCUSTODIAN00044970
PX-2408       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044971   NOCUSTODIAN00044971
PX-2409       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044972   NOCUSTODIAN00044972
PX-2410       TWITTER - Posts by Matthew Parrott                                           NOCUSTODIAN00044973   NOCUSTODIAN00044973
              DOC - Document containing list of Traditionalist Worker Party contributors
PX-2411       from 2016                                                                    NOCUSTODIAN00044974   NOCUSTODIAN00044976
PX-2412       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00044977   NOCUSTODIAN00044977

              DOC - State of North Carolina Limited Liability Company Articles of
PX-2413       Organization form for Traditionalist Worker Party National Committee, LLC    NOCUSTODIAN00044978   NOCUSTODIAN00044979
PX-2414       PHOTO - Photo of Richard Spencer doing the Nazi salute                       NOCUSTODIAN00044981   NOCUSTODIAN00044981
PX-2415       TWITTER – Tweet by Tony H.                                                   NOCUSTODIAN00044982   NOCUSTODIAN00044982
PX-2416       DISC - Discord post                                                          NOCUSTODIAN00044983   NOCUSTODIAN00044983
              PHOTO - Photo of Richard Spencer and Matthew Heimbach on August 12,
PX-2417       2017                                                                         NOCUSTODIAN00044985   NOCUSTODIAN00044985
PX-2418       GAB - Post by Tony H.                                                        NOCUSTODIAN00044986   NOCUSTODIAN00044986
PX-2419       PHOTO - Photo of individuals doing the Nazi salute                           NOCUSTODIAN00044987   NOCUSTODIAN00044987

PX-2420       TWITTER - Tweet by Richard Spencer                                         NOCUSTODIAN00044988     NOCUSTODIAN00044988
PX-2421       TWITTER - Retweet by @Tradworker                                           NOCUSTODIAN00044989     NOCUSTODIAN00044989
PX-2422       FB - Posts by Derrick D. and Matthew Heimbach                              NOCUSTODIAN00044990     NOCUSTODIAN00044990
PX-2423       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044992     NOCUSTODIAN00044992
PX-2424       TWITTER – Tweet by Matthew Heimbach                                        NOCUSTODIAN00044994     NOCUSTODIAN00044994
PX-2425       PHOTO - Photo of Richard Spencer and Elliott Kline at DC Rally             NOCUSTODIAN00044995     NOCUSTODIAN00044995
PX-2426       DISC - Discord post                                                        NOCUSTODIAN00044996     NOCUSTODIAN00044996
PX-2427       TWITTER – Tweet by Matthew Parrott                                         NOCUSTODIAN00044998     NOCUSTODIAN00044998
PX-2428       TWITTER – Tweet by Richard Spencer                                         NOCUSTODIAN00045000     NOCUSTODIAN00045000
PX-2429       FILING - C.D. Cal Detention Hearing Minutes, United States v. Cole W.      NOCUSTODIAN00045005     NOCUSTODIAN00045005
PX-2430       PHOTO - Photo of Thomas G. at Battle of Berkeley                           NOCUSTODIAN00045007     NOCUSTODIAN00045007
PX-2431       PHOTO - Photos of Michael M. on August 12, 2017                            NOCUSTODIAN00045010     NOCUSTODIAN00045010
PX-2432       TWITTER – Tweet regarding Pikeville rally                                  NOCUSTODIAN00045016     NOCUSTODIAN00045016
PX-2433       DISC - Discord post                                                        NOCUSTODIAN00045019     NOCUSTODIAN00045019
PX-2434       TWITTER - Tweet by Evan M.                                                 NOCUSTODIAN00045020     NOCUSTODIAN00045020
PX-2435       PHOTO - Photo of Matthew Heimbach with League of South                     NOCUSTODIAN00045025     NOCUSTODIAN00045025
PX-2436       DISC - Discord post                                                        NOCUSTODIAN00045026     NOCUSTODIAN00045026
PX-2437       POST - Post by Matthew Heimbach                                            NOCUSTODIAN00045027     NOCUSTODIAN00045027
              PHOTO - Photo of Elliott Kline, Richard Spencer, and Nathan Damigo at
PX-2438       Charlottesville 1.0                                                        NOCUSTODIAN00045028     NOCUSTODIAN00045028
              PHOTO - Screenshot of Matthew Heimbach YouTube video "Unite the Right!
PX-2439       August 12"                                                                 NOCUSTODIAN00045034     NOCUSTODIAN00045034
              DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker Party
PX-2440       National Committee                                                         NOCUSTODIAN00045035     NOCUSTODIAN00045040
              ARTICLE - Southern Poverty Law Center article by Ryan Lenz entitled,
              "Hatewatch Exclusive: Heimbach says white nationalist ranks plagued by
PX-2441       'cowardice'"                                                               NOCUSTODIAN00045042     NOCUSTODIAN00045045
PX-2442       TWITTER - Tweet by RAM                                                     NOCUSTODIAN00045046     NOCUSTODIAN00045046
PX-2443       TWITTER - Tweets by Richard Spencer                                        NOCUSTODIAN00045048     NOCUSTODIAN00045048
              DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker Party
PX-2444       National Committee                                                         NOCUSTODIAN00045049     NOCUSTODIAN00045055
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Exhibit No.   Description                                                                    Beginning Bates       End Bates
              DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker Party
PX-2445       National Committee                                                             NOCUSTODIAN00045056   NOCUSTODIAN00045061
PX-2446       TWITTER – Tweet by Tony H.                                                     NOCUSTODIAN00045062   NOCUSTODIAN00045062
PX-2447       FILING - USA v. Cole W. - Statement of Offense                                 NOCUSTODIAN00045063   NOCUSTODIAN00045066
PX-2448       GAB - Post by Matthew Parrott                                                  NOCUSTODIAN00045067   NOCUSTODIAN00045067
PX-2449       TWITTER – Tweet by Matthew Heimbach                                            NOCUSTODIAN00045071   NOCUSTODIAN00045071
PX-2450       SMS - Text message from Richard Spencer to Wife                                NOCUSTODIAN00045072   NOCUSTODIAN00045072
PX-2451       TWITTER – Tweet by Matthew Heimbach                                            NOCUSTODIAN00045073   NOCUSTODIAN00045073
              AUD - Audio recording of conversation between Sergeant Tony N. and Jack
PX-2452       P.                                                                             NOCUSTODIAN00045076   NOCUSTODIAN00045076
PX-2453       GAB - Post by Tony H.                                                          NOCUSTODIAN00045077   NOCUSTODIAN00045078
PX-2454       PHOTO - Photo of Matthew Heimbach at Michigan rally                            NOCUSTODIAN00045093   NOCUSTODIAN00045093
PX-2455       DOC - Document regarding Rise Above Movement                                   NOCUSTODIAN00045095   NOCUSTODIAN00045095
PX-2456       FB - Facebook post by Matthew Parrott                                          NOCUSTODIAN00045096   NOCUSTODIAN00045096
PX-2457       SMS - Text message from Richard Spencer to his wife                            NOCUSTODIAN00045100   NOCUSTODIAN00045100
PX-2458       ARTICLE - Altright.com article entitled, "Masthead: Richard Spencer"           NOCUSTODIAN00045102   NOCUSTODIAN00045105
PX-2459       PHOTO - Photo of Matthew Heimbach at Michigan rally                            NOCUSTODIAN00045109   NOCUSTODIAN00045109
PX-2460       DOC - Document by The Nationalist Front                                        NOCUSTODIAN00045110   NOCUSTODIAN00045110
PX-2461       INTENTIONALLY LEFT BLANK
PX-2462       DOC - FEC Form 3X for Traditionalist Worker Party National Committee           NOCUSTODIAN00045114   NOCUSTODIAN00045120
PX-2463       TWITTER – Tweet by @Tradworker                                                 NOCUSTODIAN00045121   NOCUSTODIAN00045121
PX-2464       PHOTO - Photo of TWP at rally in Pikeville                                     NOCUSTODIAN00045122   NOCUSTODIAN00045122
PX-2465       SMS - Text message from Richard Spencer to his wife                            NOCUSTODIAN00045123   NOCUSTODIAN00045123
              FILING - USA v. Benjamin D., Michael M., Thomas G., and Cole W. -
PX-2466       Indictment                                                                     NOCUSTODIAN00045124   NOCUSTODIAN00045130
              ARTICLE - Courier Journal article by Matthew Glowicki entitled, "White
              nationalist has 'no regrets,' pleads not guilty to harassment charge at Donald
PX-2467       Trump rally"                                                                   NOCUSTODIAN00045131   NOCUSTODIAN00045133
PX-2468       PHOTO - Photo of torch march on August 11, 2017                                NOCUSTODIAN00045134   NOCUSTODIAN00045134
PX-2469       PHOTO - Screenshot of video of Richard Spencer and others                      NOCUSTODIAN00045137   NOCUSTODIAN00045137
              DOC - YouTube Page archive of "TWP Mid-Atlantic Chapter Meeting -
PX-2470       Paddy T."                                                                      NOCUSTODIAN00045139   NOCUSTODIAN00045139
PX-2471       INTENTIONALLY LEFT BLANK
PX-2472       DOC - Document regarding Traditionalist Worker Party                           NOCUSTODIAN00045160   NOCUSTODIAN00045160
              PHOTO - Screenshot of Matthew Heimbach YouTube video "Unite the Right!
PX-2473       August 12"                                                                     NOCUSTODIAN00045161   NOCUSTODIAN00045161
PX-2474       GAB - Post by Matthew Parrott                                                  NOCUSTODIAN00045162   NOCUSTODIAN00045162
PX-2475       PHOTO - Photo of Matthew Heimbach holding wooden cross                         NOCUSTODIAN00045163   NOCUSTODIAN00045163
PX-2476       GAB - Matthew Parrott's profile as of 3/19/2018                                NOCUSTODIAN00045164   NOCUSTODIAN00045164
PX-2477       PHOTO - Photo of Benjamin D.                                                   NOCUSTODIAN00045165   NOCUSTODIAN00045165
PX-2478       PHOTO - Photo of Cole W. on August 12, 2017                                    NOCUSTODIAN00045166   NOCUSTODIAN00045166
PX-2479       PHOTO - Photo of Joseph J. on August 12, 2017                                  NOCUSTODIAN00045167   NOCUSTODIAN00045167
              ARTICLE - Herald Times Online article by Lauren Bavis entitled, "White
PX-2480       nationalist group seeks to form separate community in Paoli"                   NOCUSTODIAN00045170   NOCUSTODIAN00045176
PX-2481       TWITTER – Tweet regarding Pikeville rally                                      NOCUSTODIAN00045177   NOCUSTODIAN00045177
PX-2482       FB - Facebook post by Traditionalist Youth Network                             NOCUSTODIAN00045178   NOCUSTODIAN00045178
PX-2483       PHOTO - Photo of Benjamin D. and Nathan Damigo                                 NOCUSTODIAN00045181   NOCUSTODIAN00045181
PX-2484       VK - VK page for Tradworker                                                    NOCUSTODIAN00045182   NOCUSTODIAN00045182
PX-2485       TWITTER – Tweet by @Tradworker                                                 NOCUSTODIAN00045183   NOCUSTODIAN00045183
PX-2486       FILING - Attachment to Answer of Matthew Warren Heimbach                       NOCUSTODIAN00045184   NOCUSTODIAN00045210
              ARTICLE - Altright.com article by Richard Spencer entitled, "What It Means
PX-2487       To Be Alt-Right"                                                               NOCUSTODIAN00045211   NOCUSTODIAN00045222
PX-2488       PHOTO - Photo of men standing in "military formation"                          NOCUSTODIAN00045229   NOCUSTODIAN00045229
PX-2489       AUD - Audio recording of Richard Spencer after A12                             NOCUSTODIAN00045233   NOCUSTODIAN00045233
PX-2490       POST - Post by RAM (RiseAboveMovement)                                         NOCUSTODIAN00045234   NOCUSTODIAN00045234
PX-2491       DOC - Virginia Uniform Summons for David P.                                    NOCUSTODIAN00045235   NOCUSTODIAN00045235
PX-2492       PHOTO - Photo of Vasillios P. on August 12, 2017                               NOCUSTODIAN00045236   NOCUSTODIAN00045236
              ARTICLE - Traditionalist Youth Network article by Thomas B. entitled,
PX-2493       "TradYouth on a Mission: Fighting for Faith, Folk, and Family"                 NOCUSTODIAN00045238   NOCUSTODIAN00045246
              ARTICLE - National Policy Institute article by Richard Spencer and Evan M.
PX-2494       entitled, "A Statement on Eli Mosley"                                          NOCUSTODIAN00045249   NOCUSTODIAN00045251
PX-2495       TWITTER – Tweet by Matthew Heimbach                                            NOCUSTODIAN00045253   NOCUSTODIAN00045253

              ARTICLE - Altright.com article by Vincent Law entitled, "The 'Unite The
PX-2496       Right' Rally Is Going To Be A Turning Point For White Identity In America"   NOCUSTODIAN00045264     NOCUSTODIAN00045274
              ARTICLE - National Policy Institute article by Roger Devlin and Richard
PX-2497       Spencer entitled, "Race 101"                                                 NOCUSTODIAN00045289     NOCUSTODIAN00045306
              ARTICLE - AltRight.com article by Vincent Law entitled, "The Alt-Right Is
PX-2498       Finished Debating"                                                           NOCUSTODIAN00045307     NOCUSTODIAN00045316
PX-2499       DISC - Discord post                                                          NOCUSTODIAN00045317     NOCUSTODIAN00045317
PX-2500       TWITTER - Tweets by Richard Spencer                                          NOCUSTODIAN00045318     NOCUSTODIAN00045318
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-2501       DISC - Discord post                                                        NOCUSTODIAN00045326   NOCUSTODIAN00045326
PX-2502       PHOTO - Photos of Cole W. at Battle of Berkeley                            NOCUSTODIAN00045327   NOCUSTODIAN00045327
PX-2503       PHOTO - Screenshot of video from August 12, 2017                           NOCUSTODIAN00045343   NOCUSTODIAN00045343
PX-2504       PHOTO - Photo of Vasillios P.                                              NOCUSTODIAN00045344   NOCUSTODIAN00045344
PX-2505       TWITTER - Tweet by Chris S. about Richard Spencer giving speech            NOCUSTODIAN00045345   NOCUSTODIAN00045345
PX-2506       VID - Video recording of violence at DC rally                              NOCUSTODIAN00045347   NOCUSTODIAN00045347
              ARTICLE - Light Upon Light article by Matthew Heimbach entitled, "In From
PX-2507       the Cold: Why I Left White Nationalism"                                    NOCUSTODIAN00045378   NOCUSTODIAN00045386
PX-2508       PHOTO - Photo of NSM members holding banner                                NOCUSTODIAN00045399   NOCUSTODIAN00045399
PX-2509       VID - Video recording of Richard Spencer's Periscope                       NOCUSTODIAN00045400   NOCUSTODIAN00045400
PX-2510       TWITTER – Tweet by Matthew Heimbach                                        NOCUSTODIAN00045401   NOCUSTODIAN00045401
PX-2511       VID - Video recording of White supremacists at Michigan State University   NOCUSTODIAN00045402   NOCUSTODIAN00045402
PX-2512       PHOTO - Photo of August 11, 2017 torch march                               NOCUSTODIAN00045447   NOCUSTODIAN00045447
              WEB - Radio Albion - The Daily Traditionalist: Jewish Drug Peddlers in
PX-2513       Modern Medicine                                                            NOCUSTODIAN00045448   NOCUSTODIAN00045450
PX-2514       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045451   NOCUSTODIAN00045451
PX-2515       VID - Video recording of Richard Spencer - Periscope Broadcast             NOCUSTODIAN00045452   NOCUSTODIAN00045452
PX-2516       VID - Video recording of August 12, 2017                                   NOCUSTODIAN00045453   NOCUSTODIAN00045453
PX-2517       AUD - Audio recording of RWW News with Richard Spencer                     NOCUSTODIAN00045456   NOCUSTODIAN00045456
              WEB - Radio Albion - The Daily Traditionalist: Capitalism is the New
PX-2518       Colonialism                                                                NOCUSTODIAN00045458   NOCUSTODIAN00045459
PX-2519       PHOTO - Screenshot of video of Sean N.                                     NOCUSTODIAN00045527   NOCUSTODIAN00045527
PX-2520       PHOTO - Screenshot of video of Pikesville rally                            NOCUSTODIAN00045528   NOCUSTODIAN00045528
PX-2521       VID - Video recording of Richard Spencer's Periscope                       NOCUSTODIAN00045529   NOCUSTODIAN00045529
PX-2522       VID - Video recording of Richard Spencer interview                         NOCUSTODIAN00045542   NOCUSTODIAN00045542
PX-2523       VID - Video recording of Torch March                                       NOCUSTODIAN00045543   NOCUSTODIAN00045543
              ARTICLE - The New York Times article entitled, "Far-Right Groups Surge
PX-2524       Into National View in Charlottesville" by Richard Fausset and Alan Feuer   NOCUSTODIAN00045544   NOCUSTODIAN00045548
              ARTICLE - AltRight.com article by Richard Spencer entitled, "A Note On
PX-2525       The Charlottesville Statement"                                             NOCUSTODIAN00045549   NOCUSTODIAN00045556
              VID - Video recording of Richard Spencer posting on Discord (from
PX-2526       Periscope)                                                                 NOCUSTODIAN00045557   NOCUSTODIAN00045557
PX-2527       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045625   NOCUSTODIAN00045625
PX-2528       AUD - Audio recording of Reveal podcast with Richard Spencer               NOCUSTODIAN00045626   NOCUSTODIAN00045626
              VID - Video recording of young Black woman pushed by attendees at Trump
PX-2529       rally                                                                      NOCUSTODIAN00045627   NOCUSTODIAN00045627
              VID - Video recording of Unicorn Riot video, rapid questions with Matthew
PX-2530       Heimbach                                                                   NOCUSTODIAN00045628   NOCUSTODIAN00045628
              VID - Video recording of Local 12 (Cincinnati) report on "White separatist
PX-2531       from Cincinnati calls for more protests after Charlottesville terror"      NOCUSTODIAN00045629   NOCUSTODIAN00045629
PX-2532       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045630   NOCUSTODIAN00045630
PX-2533       VID - Video recording of August 12, 2017                                   NOCUSTODIAN00045631   NOCUSTODIAN00045631
PX-2534       VID - Video recording of interview with Matthew Heimbach                   NOCUSTODIAN00045632   NOCUSTODIAN00045632
PX-2535       AUD - Audio recording of Alt-Right Politics podcast with Richard Spencer   NOCUSTODIAN00045633   NOCUSTODIAN00045633
              AUD - Audio recording of The Daily Traditionalist podcast with Matthew
PX-2536       Heimbach and Tony Hovater                                                  NOCUSTODIAN00045634   NOCUSTODIAN00045634
              FILING - Commonwealth vs. Heimbach - Compilation of filings in criminal
PX-2537       case                                                                       NOCUSTODIAN00045635   NOCUSTODIAN00045744
PX-2538       VID - Video recording of August 12, 2017                                   NOCUSTODIAN00045745   NOCUSTODIAN00045745
PX-2539       AUD - Audio recording on AltRight.com: "What Berkeley Means"               NOCUSTODIAN00045746   NOCUSTODIAN00045746
PX-2540       VID - Video recording by Washington Post                                   NOCUSTODIAN00045747   NOCUSTODIAN00045747
PX-2541       VID - Video recording of ABC News coverage                                 NOCUSTODIAN00045748   NOCUSTODIAN00045748
PX-2542       VID - Video recording of NowThis - "Who is Richard Spencer"                NOCUSTODIAN00045749   NOCUSTODIAN00045749
PX-2543       VID - Video recording of Light Upon Light                                  NOCUSTODIAN00045750   NOCUSTODIAN00045750
PX-2544       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045751   NOCUSTODIAN00045751
PX-2545       VID - Video recording of 20/20                                             NOCUSTODIAN00045752   NOCUSTODIAN00045752
PX-2546       AUD - Audio recording of The War Room podcast, Episode 49                  NOCUSTODIAN00045753   NOCUSTODIAN00045753
PX-2547       AUD - Audio recording of Action! Podcast, Episode 4                        NOCUSTODIAN00045754   NOCUSTODIAN00045754
PX-2548       AUD - Audio recording of Action! Podcast, Episode 7                        NOCUSTODIAN00045755   NOCUSTODIAN00045755
PX-2549       AUD - Audio recording of Action! Podcast, Episode 5                        NOCUSTODIAN00045757   NOCUSTODIAN00045757
PX-2550       VID - Video recording by Augustus Invictus of August 11, 2017              NOCUSTODIAN00045758   NOCUSTODIAN00045758
PX-2551       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045759   NOCUSTODIAN00045759
PX-2552       AUD - Audio recording of Action! Podcast, Episode 2                        NOCUSTODIAN00045760   NOCUSTODIAN00045760
PX-2553       AUD - Audio recording of The Spencer's Clubhouse                           NOCUSTODIAN00045761   NOCUSTODIAN00045761
              VID - Video recording of ABC 20/20 Fractured America: Extremism In the
PX-2554       Streets                                                                    NOCUSTODIAN00045762   NOCUSTODIAN00045762
PX-2555       AUD - Audio recording of Action! Podcast, Episode 8                        NOCUSTODIAN00045763   NOCUSTODIAN00045763
PX-2556       AUD - Audio recording of Between Two Lampshades                            NOCUSTODIAN00045764   NOCUSTODIAN00045764
PX-2557       AUD - Audio recording of The Right Voice podcast                           NOCUSTODIAN00045765   NOCUSTODIAN00045765
PX-2558       AUD - Audio recording of Action! Podcast, Episode 6                        NOCUSTODIAN00045766   NOCUSTODIAN00045766
PX-2559       VID - Video recording of Charlottesville 1.0                               NOCUSTODIAN00045767   NOCUSTODIAN00045767
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              VID - Video recording of ABC Nightly News - "Young and Racist White
PX-2560       Separatist Movement's Rising Star"                                         NOCUSTODIAN00045768   NOCUSTODIAN00045768

PX-2561       VID - Video recording of ABC News "Who are white nationalists and antifa?" NOCUSTODIAN00045771   NOCUSTODIAN00045771
PX-2562       VID - Video recording of speeches at the DC rally                          NOCUSTODIAN00045772   NOCUSTODIAN00045772
PX-2563       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045773   NOCUSTODIAN00045773
PX-2564       VID - Video recording of The Foundry Episode 9 featuring Will P.           NOCUSTODIAN00045776   NOCUSTODIAN00045776
PX-2565       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045777   NOCUSTODIAN00045777
              AUD - Audio recording of Nordic Frontier #31: Matthew Heimbach and the
PX-2566       Charlottesville Aftermath                                                  NOCUSTODIAN00045778   NOCUSTODIAN00045778
PX-2567       VID - Video recording of main speech under tent, Charlottesville 1.0       NOCUSTODIAN00045781   NOCUSTODIAN00045781
PX-2568       VID - Video recording of Richard Spencer                                   NOCUSTODIAN00045782   NOCUSTODIAN00045782
              VID - Video recording of Goy Talk LIVE Ft Augustus Sol Invictus and
PX-2569       Richard Spencer                                                            NOCUSTODIAN00045783   NOCUSTODIAN00045783
PX-2570       VID - Video recording of Alldayeveryday Film "Age of Rage"                 NOCUSTODIAN00045784   NOCUSTODIAN00045784
PX-2571       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045786   NOCUSTODIAN00045786
PX-2572       TWITTER – Tweet by Vasillios P.                                            NOCUSTODIAN00045787   NOCUSTODIAN00045787
PX-2573       TWITTER – Tweet regarding Heather Heyer                                    NOCUSTODIAN00045788   NOCUSTODIAN00045788
PX-2574       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045790   NOCUSTODIAN00045790
PX-2575       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045791   NOCUSTODIAN00045791
PX-2576       DISC - Discord post                                                        NOCUSTODIAN00045793   NOCUSTODIAN00045793
PX-2577       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00045794   NOCUSTODIAN00045794
PX-2578       FB - Facebook post by Christopher Cantwell                                 NOCUSTODIAN00045795   NOCUSTODIAN00045795
PX-2579       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045796   NOCUSTODIAN00045796
PX-2580       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00045797   NOCUSTODIAN00045797
PX-2581       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045800   NOCUSTODIAN00045800
PX-2582       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045802   NOCUSTODIAN00045802
PX-2583       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045803   NOCUSTODIAN00045803
PX-2584       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045806   NOCUSTODIAN00045806
PX-2585       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045807   NOCUSTODIAN00045807
PX-2586       ARTICLE - Anti-Defamation League article entitled, "88"                    NOCUSTODIAN00045808   NOCUSTODIAN00045809
PX-2587       DISC - Discord post                                                        NOCUSTODIAN00045810   NOCUSTODIAN00045810
PX-2588       GAB - Post by Rise Above Movement (RAM)                                    NOCUSTODIAN00045812   NOCUSTODIAN00045812
PX-2589       DISC - Discord post                                                        NOCUSTODIAN00045813   NOCUSTODIAN00045813
PX-2590       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045816   NOCUSTODIAN00045816
PX-2591       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045817   NOCUSTODIAN00045817

PX-2592       PHOTO - Photo of James Fields with Vanguard members on August 12, 2017 NOCUSTODIAN00045821       NOCUSTODIAN00045821

PX-2593       PHOTO - Photo of James Fields with Vanguard members on August 12, 2017     NOCUSTODIAN00045823   NOCUSTODIAN00045823
PX-2594       PHOTO - Photo of Christopher Cantwell on August 11, 2017                   NOCUSTODIAN00045824   NOCUSTODIAN00045824
PX-2595       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045825   NOCUSTODIAN00045825
PX-2596       POST - Post by Vasillios P.                                                NOCUSTODIAN00045827   NOCUSTODIAN00045827
PX-2597       PHOTO - Photo of Nigel K. on August 12, 2017                               NOCUSTODIAN00045828   NOCUSTODIAN00045828

PX-2598       ARTICLE - Anti-Defamation League article entitled, "Atomwaffen Division"   NOCUSTODIAN00045829   NOCUSTODIAN00045830
PX-2599       TWITTER - Tweet by Vasillios P.                                            NOCUSTODIAN00045831   NOCUSTODIAN00045831
PX-2600       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045832   NOCUSTODIAN00045832
              DOC - Document entitled "Our Fight Clothing Co.: American & European
PX-2601       Brands"                                                                    NOCUSTODIAN00045833   NOCUSTODIAN00045838
PX-2602       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045839   NOCUSTODIAN00045839
PX-2603       DISC - Discord post                                                        NOCUSTODIAN00045840   NOCUSTODIAN00045840
PX-2604       DISC - Discord post                                                        NOCUSTODIAN00045841   NOCUSTODIAN00045841
PX-2605       DISC - Discord post                                                        NOCUSTODIAN00045844   NOCUSTODIAN00045844
PX-2606       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045845   NOCUSTODIAN00045845
PX-2607       PHOTO - Photo of Vasillios P. on August 12, 2017                           NOCUSTODIAN00045846   NOCUSTODIAN00045846
PX-2608       DISQUS - Profile of "Vasillios" on Disqus                                  NOCUSTODIAN00045847   NOCUSTODIAN00045847
PX-2609       PHOTO - Screenshot of VICE video of Christopher Cantwell                   NOCUSTODIAN00045848   NOCUSTODIAN00045848
              PHOTO - Screenshot of Radical Agenda Podcast, Episode 318 - Political
PX-2610       Violence                                                                   NOCUSTODIAN00045849   NOCUSTODIAN00045849
PX-2611       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045858   NOCUSTODIAN00045858
PX-2612       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045859   NOCUSTODIAN00045859
PX-2613       TWITTER - Tweet by Vasillios P.                                            NOCUSTODIAN00045860   NOCUSTODIAN00045860
PX-2614       PHOTO - Mugshot for Michael C.                                             NOCUSTODIAN00045862   NOCUSTODIAN00045862
PX-2615       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045863   NOCUSTODIAN00045863
PX-2616       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045864   NOCUSTODIAN00045864
PX-2617       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045865   NOCUSTODIAN00045865
PX-2618       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045866   NOCUSTODIAN00045866
PX-2619       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045892   NOCUSTODIAN00045892
PX-2620       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045895   NOCUSTODIAN00045895
PX-2621       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00045896   NOCUSTODIAN00045896
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-2622       GAB - Post by Vasillios P.                                                 NOCUSTODIAN00045910   NOCUSTODIAN00045910
PX-2623       POST - Post by Vasillios P.                                                NOCUSTODIAN00045912   NOCUSTODIAN00045912
PX-2624       FILING - Judgment, United States of America v. Benjamin D.                 NOCUSTODIAN00045913   NOCUSTODIAN00045919
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2625       "Radical Agenda S05E030 - A Violent Clash Ensued"                          NOCUSTODIAN00045920   NOCUSTODIAN00045925
              PHOTO - Photo of Benjamin D., Elliott Kline, and Michael M. on August 12,
PX-2626       2017                                                                       NOCUSTODIAN00045933   NOCUSTODIAN00045933
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2627       "Letters from a Virginia Prison - Alex Michael R. 20181210"                NOCUSTODIAN00045934   NOCUSTODIAN00045935
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2628       "Radical Agenda S05E024 - Libertarian White Supremacy"                     NOCUSTODIAN00045936   NOCUSTODIAN00045946
PX-2629       PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00045947   NOCUSTODIAN00045947
PX-2630       GAB - Post by Christopher Cantwell                                         NOCUSTODIAN00045957   NOCUSTODIAN00045957
PX-2631       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00045958   NOCUSTODIAN00045958
PX-2632       POST - Posts by Christopher Cantwell                                       NOCUSTODIAN00045959   NOCUSTODIAN00045959
              ARTICLE - Southern Poverty Law Center article entitled, "Christopher
PX-2633       Cantwell"                                                                  NOCUSTODIAN00045965   NOCUSTODIAN00045973
PX-2634       FB - Facebook post by Christopher Cantwell                                 NOCUSTODIAN00045974   NOCUSTODIAN00045974
PX-2635       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00045975   NOCUSTODIAN00045975
              PHOTO - Photo of Benjamin D., Elliott Kline, and Michael M. on August 12,
PX-2636       2017                                                                       NOCUSTODIAN00045976   NOCUSTODIAN00045976
PX-2637       PHOTO - Photo of Michael C. in Court                                       NOCUSTODIAN00045977   NOCUSTODIAN00045977
PX-2638       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00045978   NOCUSTODIAN00045978
PX-2639       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00045979   NOCUSTODIAN00045979
PX-2640       FB - Facebook post with message to Nigel K.                                NOCUSTODIAN00045980   NOCUSTODIAN00045980
              ARTICLE - PBS article by A.C. Thompson entitled, "An Alarming Tip About
PX-2641       a Neo-Nazi Marine, Then an Uncertain Response"                             NOCUSTODIAN00045984   NOCUSTODIAN00045988
PX-2642       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00045990   NOCUSTODIAN00045990
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled, "The
              Krypto Report - Episode XXII: The Charlottesville Putsch [UPDATE: RE-
PX-2643       UPLOADED]"                                                                 NOCUSTODIAN00045991   NOCUSTODIAN00045997
PX-2644       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00045999   NOCUSTODIAN00045999
PX-2645       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00046000   NOCUSTODIAN00046000
PX-2646       POST - Post by Christopher Cantwell                                        NOCUSTODIAN00046001   NOCUSTODIAN00046001
PX-2647       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00046002   NOCUSTODIAN00046002
PX-2648       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00046003   NOCUSTODIAN00046003
PX-2649       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00046005   NOCUSTODIAN00046005
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2650       "Radical Agenda EP315 - Tara McCarthy & Azzmador"                          NOCUSTODIAN00046006   NOCUSTODIAN00046014
PX-2651       PHOTO - Screenshot of video game                                           NOCUSTODIAN00046015   NOCUSTODIAN00046015
PX-2652       FB - Facebook profile of Vasillios P.                                      NOCUSTODIAN00046016   NOCUSTODIAN00046016
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2653       "Radical Agenda S04E010 - Taxing Truth"                                    NOCUSTODIAN00046017   NOCUSTODIAN00046019
PX-2654       TWITTER - Tweets by Vasillios P.                                           NOCUSTODIAN00046020   NOCUSTODIAN00046020
PX-2655       FILING - Plea Agreement, United States of America v. Benjamin D.           NOCUSTODIAN00046022   NOCUSTODIAN00046033
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2656       "Agreeing With Liberals Blitzkrieg"                                        NOCUSTODIAN00046034   NOCUSTODIAN00046038
              ARTICLE - Anti-Defamation League article entitled, "Daily Stormer Book
PX-2657       Clubs (SBC)"                                                               NOCUSTODIAN00046041   NOCUSTODIAN00046054
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2658       "Radical Agenda S05E031 - Cowards"                                         NOCUSTODIAN00046055   NOCUSTODIAN00046066
PX-2659       TWITTER - Tweet from Rise Above Movement (RAM)                             NOCUSTODIAN00046067   NOCUSTODIAN00046067
PX-2660       FB - Facebook post by Vasillios P.                                         NOCUSTODIAN00046084   NOCUSTODIAN00046084
PX-2661       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00046085   NOCUSTODIAN00046085
PX-2662       TWITTER - Account Header for Vasillios P.                                  NOCUSTODIAN00046086   NOCUSTODIAN00046086
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2663       "Outlaw Conservative S01E000 Introduction"                                 NOCUSTODIAN00046115   NOCUSTODIAN00046124
              ARTICLE - Radical Agenda website article by Christopher Cantwell entitled,
PX-2664       "This is Not About Optics"                                                 NOCUSTODIAN00046125   NOCUSTODIAN00046128
              ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Regarding
              Tennessee White Lives Matter March Tomorrow (And the Drama
PX-2665       Surrounding It)"                                                           NOCUSTODIAN00046152   NOCUSTODIAN00046179
PX-2666       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00046180   NOCUSTODIAN00046180
              ARTICLE - Radical Agenda article by Christopher Cantwell entitled, "The
PX-2667       Contents of My Body Camera From Charlottesville"                           NOCUSTODIAN00046182   NOCUSTODIAN00046186
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray (with Andrew
              Anglin) entitled, "Charlottesville: Why You Must Attend and What to Bring
PX-2668       and Not to Bring!"                                                         NOCUSTODIAN00046190   NOCUSTODIAN00046208
PX-2669       PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00046209   NOCUSTODIAN00046209
PX-2670       DISC - Discord post                                                        NOCUSTODIAN00046211   NOCUSTODIAN00046211
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Exhibit No.   Description                                                                 Beginning Bates       End Bates
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled, "The
PX-2671       Road to Charlottesville and the Shuttening"                                 NOCUSTODIAN00046212   NOCUSTODIAN00046223
PX-2672       PHOTO - Photo of Matthew Heimbach                                           NOCUSTODIAN00046224   NOCUSTODIAN00046224
              DOC - Exhibit List of the United States, United States of America v.
PX-2673       Benjamin D.                                                                 NOCUSTODIAN00046225   NOCUSTODIAN00046243
PX-2674       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00046244   NOCUSTODIAN00046244
PX-2675       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00046245   NOCUSTODIAN00046245
PX-2676       PHOTO – Photo of August 11, 2017                                            NOCUSTODIAN00046247   NOCUSTODIAN00046247
PX-2677       PHOTO - Photo of Vasillios P. on August 12, 2017                            NOCUSTODIAN00046249   NOCUSTODIAN00046249
PX-2678       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00046253   NOCUSTODIAN00046253
PX-2679       PHOTO - Screenshot of video of Christopher Cantwell                         NOCUSTODIAN00046254   NOCUSTODIAN00046254
PX-2680       PHOTO - Photo of torch march on August 11, 2017                             NOCUSTODIAN00046255   NOCUSTODIAN00046255
PX-2681       PHOTO - Photo of Benjamin D. at torch march on August 11, 2017              NOCUSTODIAN00046256   NOCUSTODIAN00046256
PX-2682       PHOTO - Photo of torch march on August 11, 2017                             NOCUSTODIAN00046258   NOCUSTODIAN00046258
PX-2683       PHOTO - Photo of Vasillios P.                                               NOCUSTODIAN00046259   NOCUSTODIAN00046259
PX-2684       PHOTO - Photo of Benjamin D.                                                NOCUSTODIAN00046260   NOCUSTODIAN00046260
PX-2685       PHOTO - Photo of Vasillios P. on August 11, 2017                            NOCUSTODIAN00046273   NOCUSTODIAN00046273
PX-2686       PHOTO - Photo of Vasillios P. on August 12, 2017                            NOCUSTODIAN00046274   NOCUSTODIAN00046274
PX-2687       PHOTO - Photo of Vasillios P. on August 11, 2017                            NOCUSTODIAN00046275   NOCUSTODIAN00046275
PX-2688       PHOTO - Photo of Vasillios P. on August 12, 2017                            NOCUSTODIAN00046277   NOCUSTODIAN00046277
              PHOTO - Screenshot of VICE video of torch march at Thomas Jefferson
PX-2689       statute                                                                     NOCUSTODIAN00046278   NOCUSTODIAN00046278
              ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Daily Stormer's
PX-2690       Top 20 Stories of 2017"                                                     NOCUSTODIAN00046279   NOCUSTODIAN00046312
              FILING - Photos contained in Sentencing Memorandum of the United States,
PX-2691       United States of America v. Benjamin D.                                     NOCUSTODIAN00046314   NOCUSTODIAN00046353
PX-2692       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00046354   NOCUSTODIAN00046354
PX-2693       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00046355   NOCUSTODIAN00046355
PX-2694       PHOTO - Photo of August 12, 2017                                            NOCUSTODIAN00046356   NOCUSTODIAN00046356

PX-2695       PHOTO - Photo of counter-protestors on August 11, 2017                    NOCUSTODIAN00046357     NOCUSTODIAN00046357
PX-2696       PHOTO - Photo of Vasillios P. on August 12, 2017                          NOCUSTODIAN00046358     NOCUSTODIAN00046358
              ARTICLE - PBS article by A.C. Thompson entitled, "Ranks of Notorious
PX-2697       Hate Group Include Active-Duty Military"                                  NOCUSTODIAN00046364     NOCUSTODIAN00046372
PX-2698       VID - Video recording of Christopher Cantwell                             NOCUSTODIAN00046374     NOCUSTODIAN00046374
              FILING - Exhibit List of the United States, United States of America v.
PX-2699       Benjamin D.                                                               NOCUSTODIAN00046595     NOCUSTODIAN00046712
PX-2700       PHOTO - Screenshot of VICE video of Christopher Cantwell                  NOCUSTODIAN00046713     NOCUSTODIAN00046713
PX-2701       VID - Video recording of Fields on August 12, 2017 with VA                NOCUSTODIAN00046714     NOCUSTODIAN00046714
PX-2702       VID - Video recording from August 12, 2017                                NOCUSTODIAN00046716     NOCUSTODIAN00046716
PX-2703       VID - Video recording of August 11, 2017 torchlight rally                 NOCUSTODIAN00046718     NOCUSTODIAN00046718
PX-2704       INTENTIONALLY LEFT BLANK

PX-2705       AUD - Audio recording of Radical Agenda, Episode entitled, "Christmas Eve" NOCUSTODIAN00046720    NOCUSTODIAN00046720
PX-2706       AUD - Audio recording of Radical Agenda, Episode 254 - "Pre-Game"          NOCUSTODIAN00046721    NOCUSTODIAN00046721
PX-2707       AUD - Audio recording of Radical Agenda, Episode 248 - "Catch Up"          NOCUSTODIAN00046722    NOCUSTODIAN00046722
PX-2708       AUD - Audio recording of Outlaw Conservative - S013007                     NOCUSTODIAN00046723    NOCUSTODIAN00046723
              AUD - Audio recording of Radical Agenda, Episode 244 - "The Goldstein
PX-2709       Globes"                                                                    NOCUSTODIAN00046724    NOCUSTODIAN00046724
PX-2710       AUD - Audio recording of Radical Agenda, Episode 242 - "Shut Up, Meg"      NOCUSTODIAN00046725    NOCUSTODIAN00046725
              AUD - The Krypto Report - Episode XXII: The Charlottesville Putsch
PX-2711       [UPDATE: RE-UPLOADED] Ray"                                                 NOCUSTODIAN00046726    NOCUSTODIAN00046726
PX-2712       AUD - Audio recording of Radical Agenda, Episode 243 - "Tucked"            NOCUSTODIAN00046727    NOCUSTODIAN00046727
              AUD - Audio recording of Radical Agenda, Episode 318 - "Political
PX-2713       Violence"                                                                  NOCUSTODIAN00046728    NOCUSTODIAN00046728
              AUD - Audio recording of Radical Agenda, Episode 301 - "Vanguard
PX-2714       America"                                                                   NOCUSTODIAN00046729    NOCUSTODIAN00046729
              AUD - Audio recording of Radical Agenda, Episode 253 - "Ending the
PX-2715       Argument"                                                                  NOCUSTODIAN00046730    NOCUSTODIAN00046730
PX-2716       INTENTIONALLY LEFT BLANK
PX-2717       AUD - Audio recording of Radical Agenda, S03E014                           NOCUSTODIAN00046732    NOCUSTODIAN00046732
PX-2718       VID - Video recording from August 12, 2017                                 NOCUSTODIAN00046733    NOCUSTODIAN00046733
PX-2719       AUD - Audio recording of Radical Agenda, Episode 329 - "News Phones"       NOCUSTODIAN00046734    NOCUSTODIAN00046734
PX-2720       INTENTIONALLY LEFT BLANK
PX-2721       AUD - Audio recording of VICE - Charlottesville: Race and Terror           NOCUSTODIAN00046736    NOCUSTODIAN00046736
PX-2722       VID - Video recording of August 12, 2017 - News2Share                      NOCUSTODIAN00046738    NOCUSTODIAN00046738
PX-2723       VID - Video recording from August 12, 2017                                 NOCUSTODIAN00046740    NOCUSTODIAN00046740
PX-2724       VID - Video recording of August 11, 2017 torchlight rally                  NOCUSTODIAN00046741    NOCUSTODIAN00046741
PX-2725       INTENTIONALLY LEFT BLANK
PX-2726       INTENTIONALLY LEFT BLANK
PX-2727       AUD - Audio recording of Radical Agenda, S05E069                           NOCUSTODIAN00046745    NOCUSTODIAN00046745
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Exhibit No.   Description                                                                     Beginning Bates       End Bates
PX-2728       DOC - Document regarding Traditionalist Worker Party                            NOCUSTODIAN00046746   NOCUSTODIAN00046758
              DISCOVERY - iDiscovery Solutions tracking chart on Matthew Parrott's
PX-2729       device/accounts                                                                 NOCUSTODIAN00046789   NOCUSTODIAN00046789
PX-2730       FILING - William B. v. James Fields et al., Declaration of Matthew Parrott      NOCUSTODIAN00046803   NOCUSTODIAN00046803
              FILING - New York State Criminal Disposition Information for Christopher
PX-2731       Cantwell                                                                        NOCUSTODIAN00047205   NOCUSTODIAN00047208
PX-2732       TWITTER - Tweet by Jeff Schoep                                                  NOCUSTODIAN00047445   NOCUSTODIAN00047445
PX-2733       TWITTER - Tweet by Jeff Schoep                                                  NOCUSTODIAN00047447   NOCUSTODIAN00047447
PX-2734       PHOTO - Photo of NSM member carrying a NSM shield                               NOCUSTODIAN00047448   NOCUSTODIAN00047448
PX-2735       TWITTER - Tweets by Jeff Schoep                                                 NOCUSTODIAN00047450   NOCUSTODIAN00047450
PX-2736       TWITTER - Tweets by Jeff Schoep                                                 NOCUSTODIAN00047451   NOCUSTODIAN00047451
PX-2737       DOC - Document regarding Nationalist Front                                      NOCUSTODIAN00047452   NOCUSTODIAN00047454
PX-2738       PHOTO - Photo of August 11, 2017                                                NOCUSTODIAN00047460   NOCUSTODIAN00047460
              ARTICLE - Anti-Defamation League article entitled, "White Supremacists
PX-2739       Demonstrate in Front of the Menorah at Chicago's Daley Plaza"                   NOCUSTODIAN00047463   NOCUSTODIAN00047464
PX-2740       VK - VK post by Jeff Schoep                                                     NOCUSTODIAN00047465   NOCUSTODIAN00047465
PX-2741       PHOTO - Photo of Handwritten page in notebook                                   NOCUSTODIAN00047466   NOCUSTODIAN00047466
              ARTICLE - The Krypto Report article entitled, "Episode - XXII The
PX-2742       Charlottesville Putsch"                                                         NOCUSTODIAN00047467   NOCUSTODIAN00047469
PX-2743       ARTICLE - Wikipedia article entitled, "Black Sun (symbol)"                      NOCUSTODIAN00047471   NOCUSTODIAN00047474
PX-2744       VK - VK Post by Burt C.                                                         NOCUSTODIAN00047476   NOCUSTODIAN00047476
              DOC - National Socialist Movement document entitled, "America's National
PX-2745       Socialist Party"                                                                NOCUSTODIAN00047491   NOCUSTODIAN00047492
PX-2746       ARTICLE - The Krypto Report Vault YouTube feed                                  NOCUSTODIAN00047493   NOCUSTODIAN00047494

              ARTICLE - The Washington Post article by Ian Shapira entitled, "White
PX-2747       supremacist is guilty in Charlottesville parking garage beating of black man"   NOCUSTODIAN00047495   NOCUSTODIAN00047505
PX-2748       ARTICLE - Nationalist Front Webpage article entitled, "Unity Statement"         NOCUSTODIAN00047528   NOCUSTODIAN00047543
PX-2749       ARTICLE - The Krypto Report SoundCloud                                          NOCUSTODIAN00047544   NOCUSTODIAN00047544
PX-2750       TWITTER - Tweet by Jeff Schoep                                                  NOCUSTODIAN00047547   NOCUSTODIAN00047547

PX-2751       ARTICLE - Wikipedia article entitled, "Runic insignia of the Schutzstaffel"     NOCUSTODIAN00047548   NOCUSTODIAN00047552
PX-2752       DOC - Document containing names and headshots of individuals                    NOCUSTODIAN00047553   NOCUSTODIAN00047553
PX-2753       PHOTO - Photo of man speaking National Socialist Movement poster                NOCUSTODIAN00047554   NOCUSTODIAN00047554
PX-2754       ARTICLE - Anti-Defamation League article entitled, "Day of the Rope"            NOCUSTODIAN00047557   NOCUSTODIAN00047558
PX-2755       DOC - Albemarle County Circuit Criminal Division Case Details                   NOCUSTODIAN00047559   NOCUSTODIAN00047560
              PHOTO - Photo of Nathan Damigo with Ben D. and others at Battle of
PX-2756       Berkeley                                                                        NOCUSTODIAN00047561   NOCUSTODIAN00047561
PX-2757       DOC - State of California Statement of Information for Identity Evropa          NOCUSTODIAN00047563   NOCUSTODIAN00047563
PX-2758       PHOTO - Photo of Nathan Damigo running                                          NOCUSTODIAN00047590   NOCUSTODIAN00047590
PX-2759       DOC - Document regarding National Socialist Movement                            NOCUSTODIAN00047593   NOCUSTODIAN00047595
PX-2760       TWITTER - Tweet by Jeff Schoep                                                  NOCUSTODIAN00047596   NOCUSTODIAN00047596
PX-2761       PHOTO - Photo of Robert Azzmador Ray on August 11, 2017                         NOCUSTODIAN00047601   NOCUSTODIAN00047601
PX-2762       VK - VK post by Burt C.                                                         NOCUSTODIAN00047602   NOCUSTODIAN00047602
PX-2763       ARTICLE - Anti-Defamation League article entitled, "14 Words"                   NOCUSTODIAN00047607   NOCUSTODIAN00047608
PX-2764       VK - VK post by Burt C.                                                         NOCUSTODIAN00047610   NOCUSTODIAN00047610
PX-2765       ARTICLE - BeeLyrics article entitled, "White Man Marches On Lyrics"             NOCUSTODIAN00047611   NOCUSTODIAN00047612
PX-2766       PHOTO - Photo of Nathan Damigo at Berkeley                                      NOCUSTODIAN00047614   NOCUSTODIAN00047614
              ARTICLE - Anti-Defamation League article entitled, "American Identity
PX-2767       Movement (AIM)"                                                                 NOCUSTODIAN00047619   NOCUSTODIAN00047620
PX-2768       TWITTER – Tweet by Jeff Schoep                                                  NOCUSTODIAN00047631   NOCUSTODIAN00047632
PX-2769       PHOTO - Photo of Robert "Azzmador" Ray holding banner                           NOCUSTODIAN00047639   NOCUSTODIAN00047639
PX-2770       DOC - National Socialist Movement document regarding an announcement            NOCUSTODIAN00047643   NOCUSTODIAN00047644
              DOC - National Socialist Movement document entitled, "Public Release: 3-1-
PX-2771       19 - Announcement:                                                              NOCUSTODIAN00047646   NOCUSTODIAN00047648
              ARTICLE - Southern Poverty Law Center article entitled, "National Socialist
PX-2772       Movement"                                                                       NOCUSTODIAN00047651   NOCUSTODIAN00047653
              DOC - Corporation Registration information for The National Socialist
PX-2773       Movement                                                                        NOCUSTODIAN00047655   NOCUSTODIAN00047656
              DOC - National Socialist Movement document entitled, "NSM Little Rock
PX-2774       Rally After Action Report"                                                      NOCUSTODIAN00047662   NOCUSTODIAN00047663
PX-2775       INTENTIONALLY LEFT BLANK
              DOC - National Socialist Movement document entitled, "NSM Border Ops:
PX-2776       After Action report from Arizona"                                               NOCUSTODIAN00047669   NOCUSTODIAN00047671
              ARTICLE - Daily Stormer article by weev entitled, "Operational Security for
PX-2777       Right Wing Rallies"                                                             NOCUSTODIAN00047679   NOCUSTODIAN00047687
              ARTICLE - Article entitled, "White nationalist Patrick [C.] keeps evading his
PX-2778       Twitter ban"                                                                    NOCUSTODIAN00047697   NOCUSTODIAN00047698
              ARTICLE - Article by Bert Johnson entitled, "Californian who Led
PX-2779       Charlottesville White Supremacist Rally used Berkeley as a Test Run"            NOCUSTODIAN00047704   NOCUSTODIAN00047709
PX-2780       ARTICLE - Wikipedia article entitled, "Blood and Soil"                          NOCUSTODIAN00047710   NOCUSTODIAN00047718
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Exhibit No.   Description                                                                 Beginning Bates        End Bates
              DOC - Nationalist Front document entitled, "For Our Children. For Our
PX-2781       Future."                                                                    NOCUSTODIAN00047719    NOCUSTODIAN00047720
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,
              "Roving Band of Bull-Fruits Gang-Rape Mentally Disabled Man in Public
PX-2782       Park"                                                                       NOCUSTODIAN00047727    NOCUSTODIAN00047733
PX-2783       DOC - Nationalist Front document regarding leadership                       NOCUSTODIAN00047746    NOCUSTODIAN00047749
PX-2784       ARTICLE - Wikipedia article entitled, "Fourteen Words"                      NOCUSTODIAN00047752    NOCUSTODIAN00047763
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,
PX-2785       "Sheboon Ice Cream Lovers Go Full Ape at Mickey D's"                        NOCUSTODIAN00047786    NOCUSTODIAN00047794

              ARTICLE - The Krypto Report article by Robert "Azzmador" Ray entitled,
PX-2786       "Episode XXII: The Charlottesville Putsch [UPDATE: RE-UPLOADED]"             NOCUSTODIAN00047814   NOCUSTODIAN00047816
              ARTICLE - Anti-Defamation League article entitled, "National Socialist
PX-2787       Movement/Nationalist Front"                                                  NOCUSTODIAN00047817   NOCUSTODIAN00047825
              ARTICLE - Daily Stormer, Philly March Ground Report: Cops and
PX-2788       Trumpenkriegers Work Together to Defeat Kikes and Antifa Faggots             NOCUSTODIAN00047826   NOCUSTODIAN00047831
PX-2789       ARTICLE - The Krypto Report: Member Uploads Page                             NOCUSTODIAN00047832   NOCUSTODIAN00047839
              ARTICLE - Unicorn Riot article by Chris Schiano and Freddy Martinez
              entitled, "‘Identity Evropa’ Leader Fails To Sneakily Rebrand Neo-Nazi
PX-2790       Group"                                                                       NOCUSTODIAN00047841   NOCUSTODIAN00047845
PX-2791       DOC - Document regarding National Socialist Movement                         NOCUSTODIAN00047852   NOCUSTODIAN00047865
PX-2792       TWITTER - Tweets by Jeff Schoep                                              NOCUSTODIAN00047873   NOCUSTODIAN00047877
              ARTICLE - Daily Stormer article by weev entitled, "D.C. March Group
              Report: Alt-Right Protesters Clash with Kike Shock Troops in First Battle of
PX-2793       Lafayette Square"                                                            NOCUSTODIAN00047879   NOCUSTODIAN00047883
              ARTICLE - Pacific Standard article by Gabriel Thompson entitled, "My
PX-2794       Brother, The White Nationalist"                                              NOCUSTODIAN00047888   NOCUSTODIAN00047900
PX-2795       ARTICLE - The Krypto Report: Podcasts Archive                                NOCUSTODIAN00047909   NOCUSTODIAN00047913
PX-2796       ARTICLE - Wikipedia article entitled, "Sturmabteilung"                       NOCUSTODIAN00047927   NOCUSTODIAN00047939
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled, "Happy
PX-2797       Birthday, My Leader"                                                         NOCUSTODIAN00047948   NOCUSTODIAN00047955
              ARTICLE - Daily Mail article by Ian Birrell entitled, "Born in the USSA: Neo-
PX-2798       Nazi leader of Charlottesville - Reader Mode"                                NOCUSTODIAN00047969   NOCUSTODIAN00047979
              ARTICLE - Mourning the Ancient article entitled, "Bio of Commander Jeff
PX-2799       Schoep"                                                                      NOCUSTODIAN00047980   NOCUSTODIAN00047987
              ARTICLE - NBC news article by Ben Collins, Brandy Zadrozny, and
              Emmanuelle Saliba entitled, "After George Floyd White Nationalist Group
PX-2800       Posing as Antifa Called for Violence on Twitter"                             NOCUSTODIAN00048005   NOCUSTODIAN00048011
              ARTICLE - The California Report article by John Sepulvado & Bert Johnson
              entitled, "Californian Who Helped Lead Charlottesville Protests Used
PX-2801       Berkeley as a Test Run"                                                      NOCUSTODIAN00048023   NOCUSTODIAN00048036
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled, "Texas
PX-2802       is Ours Event Report!"                                                       NOCUSTODIAN00048037   NOCUSTODIAN00048042
              ARTICLE - Northern California Anti-Racist Action article entitled, "East Bay
              Identity Evropa Organizer Brodin Sutherland Exposed; Brother in Law
PX-2803       Enforcement"                                                                 NOCUSTODIAN00048044   NOCUSTODIAN00048054
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled,
              "Donating to the Daily Stormer Legal Defense Fund is Your Duty as a White
PX-2804       Man"                                                                         NOCUSTODIAN00048056   NOCUSTODIAN00048067
              PHOTO - Photo of Robert Azzmador Ray and Christopher Cantwell on
PX-2805       August 11, 2017                                                              NOCUSTODIAN00048068   NOCUSTODIAN00048068
PX-2806       VID - Video of Patrick C. in Charlottesville                                 NOCUSTODIAN00048070   NOCUSTODIAN00048070
              DOC - Arizona Corporation Commission Corporations Division - Foundation
PX-2807       for American Society                                                         NOCUSTODIAN00048073   NOCUSTODIAN00048078
PX-2808       TWITTER - Tweet by Richard Spencer                                           NOCUSTODIAN00048079   NOCUSTODIAN00048082

PX-2809       TWITTER - Tweet by Richard Spencer                                          NOCUSTODIAN00048079    NOCUSTODIAN00048082
              PHOTO - Photo of Robert Azzmador Ray and Christopher Cantwell on
PX-2810       August 11, 2017                                                             NOCUSTODIAN00048118    NOCUSTODIAN00048118
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled, "Join
              Azzmador and Vanguard Texas at the Daily Stormer Houston Blitzkrieg This
PX-2811       Saturday!"                                                                  NOCUSTODIAN00048171    NOCUSTODIAN00048175
              ARTICLE - Expressen article by Anne-Sofie Naslund entitled, "Naziledaren
PX-2812       Schoeps mal: "Tatillbaka USA till de vita""                                 NOCUSTODIAN00048184    NOCUSTODIAN00048193
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray (with Andrew
              Anglin) entitled, "Charlottesville: Why You Must Attend and What to Bring
PX-2813       and Not to Bring!"                                                          NOCUSTODIAN00048194    NOCUSTODIAN00048201
PX-2814       ARTICLE - Southern Poverty Law Center article entitled, “The Brawler”       NOCUSTODIAN00048222    NOCUSTODIAN00048231
PX-2815       ARTICLE - The Daily Stormer Tag Archives: Salting the Earth                 NOCUSTODIAN00048232    NOCUSTODIAN00048239
PX-2816       ARTICLE - Wikipedia article entitled, "Schutzstaffel"                       NOCUSTODIAN00048255    NOCUSTODIAN00048296
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Exhibit No.   Description                                                                 Beginning Bates         End Bates
              DOC - Document entitled, "Michigan Department of Labor & Economic
              Growth Bureau of Commercial Services - Articles of Incorporation for Use by
PX-2817       Domestic Nonprofit Corporation"                                             NOCUSTODIAN00048297     NOCUSTODIAN00048300
              ARTICLE - Anti-Defamation League article entitled, "Hate on Display: Hate
PX-2818       Symbols Database"                                                           NOCUSTODIAN00048301     NOCUSTODIAN00048360

              ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Heather Heyer:
PX-2819       Woman Killed in Road Rage Incident was a Fat, Childness 32-year-old Slut" NOCUSTODIAN00048361       NOCUSTODIAN00048367
PX-2820       VID - Video of Robert "Azzmador" Ray interview on August 11, 2017             NOCUSTODIAN00048368   NOCUSTODIAN00048368
PX-2821       VID - Video of Robert "Azzmador" Ray interview on August 11, 2017             NOCUSTODIAN00048368   NOCUSTODIAN00048368
              ARTICLE - Daily Stormer article by Robert "Azzmador" Ray entitled, "The
PX-2822       Battle of Charlottesville Full Video!"                                        NOCUSTODIAN00048369   NOCUSTODIAN00048400
              ARTICLE - Southern Poverty Law Center article by Hannah Gais entitled,
PX-2823       "YouTube Takes Down Red Ice's Main Channel"                                   NOCUSTODIAN00048422   NOCUSTODIAN00048425
              ARTICLE - Daily Stormer article by Andrew Anglin entitled "Register Now
PX-2824       for the IRL Troll Army AKA The Stormer Book Club"                             NOCUSTODIAN00048427   NOCUSTODIAN00048435
PX-2825       VID - Joe Rogan Interview introducing Proud Boys                              NOCUSTODIAN00048437   NOCUSTODIAN00048437
PX-2826       ARTICLE - Champion Helmets products page for helmets and gloves               NOCUSTODIAN00048443   NOCUSTODIAN00048459
              ARTICLE - Mother Jones article by Shane Bauer entitled, "A Punch in the
PX-2827       Face Was Just the Start of the Alt-Right's Attack on a Berkeley Protester"    NOCUSTODIAN00048460   NOCUSTODIAN00048462
              ARTICLE - The Modesto Bee article entitled, "Polo-wearing intellectual, or
PX-2828       racist bigot? A look at Nathan Damigo of Oakdale"                             NOCUSTODIAN00048463   NOCUSTODIAN00048470
              ARTICLE - Northern California Anti-Racist Action (NoCARA) article
              entitled, "DIY Division: The Violent neo-Nazi Group Central to the California
PX-2829       Alt-Right and Alt-Light Protest Movements"                                    NOCUSTODIAN00048471   NOCUSTODIAN00048505
PX-2830       ARTICLE - Southern Poverty Law Center Profile of Nathan Damigo                NOCUSTODIAN00048535   NOCUSTODIAN00048540
              ARTICLE - Daily Stormer article entitled, "#UniteTheRight Charlottesville
PX-2831       Live Updates"                                                                 NOCUSTODIAN00048541   NOCUSTODIAN00048576
              ARTICLE - Mother Jones article by Shane Bauer entitled, "I Met the White
PX-2832       Nationalist Who "Flacon Punched" a 95-Pound Female Protester"                 NOCUSTODIAN00048664   NOCUSTODIAN00048666

PX-2833       ARTICLE - The Daily Stormer Archives: articles by Robert "Azzmador" Ray       NOCUSTODIAN00048672   NOCUSTODIAN00048700
              ARTICLE - Expressn Article entitled, "Nazi Leader Schoep's Goal: 'Take
PX-2834       Back the United States to the Whites'"                                        NOCUSTODIAN00048702   NOCUSTODIAN00048713
PX-2835       VID - Video of Nathan Damigo                                                  NOCUSTODIAN00048723   NOCUSTODIAN00048723
PX-2836       VID - Video of Nathan Damigo                                                  NOCUSTODIAN00048723   NOCUSTODIAN00048723

PX-2837       VIDEO - Video of August 12, 2017                                              NOCUSTODIAN00048727   NOCUSTODIAN00048727

PX-2838       VIDEO - Video of August 12, 2017                                              NOCUSTODIAN00048727   NOCUSTODIAN00048727
PX-2839       VIDEO - Video of August 12, 2017                                              NOCUSTODIAN00048728   NOCUSTODIAN00048728
PX-2840       VID - Video of Patrick C.                                                     NOCUSTODIAN00048813   NOCUSTODIAN00048813
PX-2841       AUD - Fash the Nation interview with Nathan Damigo                            NOCUSTODIAN00048874   NOCUSTODIAN00048874
PX-2842       AUD - Fash the Nation interview with Nathan Damigo                            NOCUSTODIAN00048874   NOCUSTODIAN00048874
PX-2843       AUD - Fash the Nation interview with Nathan Damigo                            NOCUSTODIAN00048874   NOCUSTODIAN00048874
PX-2844       VID - Video recording of Nathan Damigo at "Free Speech" Rally                 NOCUSTODIAN00048876   NOCUSTODIAN00048876
PX-2845       VID - Video recording of Nathan Damigo at "Free Speech" Rally                 NOCUSTODIAN00048876   NOCUSTODIAN00048876
PX-2846       VID - Video recording of Nathan Damigo at "Free Speech" Rally                 NOCUSTODIAN00048876   NOCUSTODIAN00048876
PX-2847       VID - Video of Nathan Damigo                                                  NOCUSTODIAN00048877   NOCUSTODIAN00048877
PX-2848       VID - Video of Nathan Damigo                                                  NOCUSTODIAN00048877   NOCUSTODIAN00048877
PX-2849       VID - Video recording of Nathan Damigo at "Free Speech" Rally                 NOCUSTODIAN00049362   NOCUSTODIAN00049362
PX-2850       VIDEO - Nathan Damigo Periscope video                                         NOCUSTODIAN00048881   NOCUSTODIAN00048881
PX-2851       VIDEO - Nathan Damigo Periscope video                                         NOCUSTODIAN00048881   NOCUSTODIAN00048881
PX-2852       VIDEO - Nathan Damigo Periscope video                                         NOCUSTODIAN00048881   NOCUSTODIAN00048881
PX-2853       AUD - Audio recording of Robert "Azzmador" Ray                                NOCUSTODIAN00048884   NOCUSTODIAN00048884

PX-2854       VID - Frontline documentary video of ProPublica reporter on Charlottesville   NOCUSTODIAN00048890   NOCUSTODIAN00048890
PX-2855       VID - Video of Nathan Damigo                                                  NOCUSTODIAN00048891   NOCUSTODIAN00048891
PX-2856       AUD - Audio recording of The War Room podcast, Episode 29                     NOCUSTODIAN00048910   NOCUSTODIAN00048910
PX-2857       PHOTO - Photo of August 11, 2017                                              NOCUSTODIAN00048915   NOCUSTODIAN00048915
              ARTICLE - LeagueoftheSouth.com article by Michael Hill entitled, "League
PX-2858       will be at Unite the Right rally, 12 August, Charlottesville, VA"             NOCUSTODIAN00048916   NOCUSTODIAN00048917
PX-2859       TWITTER – Tweets by Michael Tubbs                                             NOCUSTODIAN00048918   NOCUSTODIAN00048918
              ARTICLE - League of the South article entitled, "Southern Defense Force
PX-2860       formed"                                                                       NOCUSTODIAN00048919   NOCUSTODIAN00048922

PX-2861       PHOTO - Photo of James Fields with Vanguard members on August 12, 2017 NOCUSTODIAN00049396          NOCUSTODIAN00049396

PX-2862       PHOTO - Photo of James Fields with Vanguard members on August 12, 2017 NOCUSTODIAN00049409          NOCUSTODIAN00049409
              VID - Video recording of RWW News: League of the South President Burns
PX-2863       Talmud, Israeli Flag                                                   NOCUSTODIAN00048924          NOCUSTODIAN00048924
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PX-2864       PHOTO - Photo of Elliott Kline and James Fields on August 12, 2017            NOCUSTODIAN00049408   NOCUSTODIAN00049408
PX-2865       TWITTER – Tweet by Michael Tubbs                                              NOCUSTODIAN00048925   NOCUSTODIAN00048925
              ARTICLE - Southern Poverty Law Center article entitled, "C-4 and the
PX-2866       Confederacy"                                                                  NOCUSTODIAN00048932   NOCUSTODIAN00048934
PX-2867       TWITTER - Tweet by Michael Tubbs                                              NOCUSTODIAN00049415   NOCUSTODIAN00049418
PX-2868       PHOTO - Vanguard poster depicting Adolf Hitler                                NOCUSTODIAN00048935   NOCUSTODIAN00048935
PX-2869       VID - Video recording of Skyclad                                              NOCUSTODIAN00048939   NOCUSTODIAN00048939
              VID - Video recording of church service in Charlottesville with Seth
PX-2870       Wispelwey                                                                     NOCUSTODIAN00048951   NOCUSTODIAN00048951
PX-2871       PHOTO - Photo of Matthew Heimbach on August 12, 2017                          NOCUSTODIAN00048969   NOCUSTODIAN00048969
PX-2872       PHOTO - Photo of Richard Spencer being arrested                               NOCUSTODIAN00048970   NOCUSTODIAN00048970
PX-2873       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00048971   NOCUSTODIAN00048971
PX-2874       PHOTO - Photo of Hitler salute in front of crowd                              NOCUSTODIAN00048976   NOCUSTODIAN00048976
PX-2875       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00048977   NOCUSTODIAN00048977
PX-2876       VID - Video recording by Daniel S. of August 13, 2017                         NOCUSTODIAN00048978   NOCUSTODIAN00048978
PX-2877       VID - Video recording by Daniel S. of August 12, 2017                         NOCUSTODIAN00048979   NOCUSTODIAN00048979
PX-2878       DOC - YouTube page for Ludacris song                                          NOCUSTODIAN00048980   NOCUSTODIAN00048980
              DOC - Link from Discord Charlottesville 2.0 flags_banners_signs posted by
PX-2879       Tyrone                                                                        NOCUSTODIAN00048981   NOCUSTODIAN00048991
PX-2880       VID - Video recording by Daniel S. of August 11, 2017                         NOCUSTODIAN00048992   NOCUSTODIAN00048992
PX-2881       PHOTO - Reaction Info to Photo posted in Charlottesville 2.0                  NOCUSTODIAN00048993   NOCUSTODIAN00048993
PX-2882       PHOTO - U.S. Marine Corp photo of two individuals shaking hands               NOCUSTODIAN00048994   NOCUSTODIAN00048994
PX-2883       TWITTER – Tweet by Tyler                                                      NOCUSTODIAN00048923   NOCUSTODIAN00048923
PX-2884       VID - Video recording by Daniel S. of August 11, 2017                         NOCUSTODIAN00049020   NOCUSTODIAN00049020
PX-2885       VID - Video of August 12, 2017                                                NOCUSTODIAN00049021   NOCUSTODIAN00049021
PX-2886       FILING - United States v. Benjamin D. - Guilty Plea                           NOCUSTODIAN00049026   NOCUSTODIAN00049026
PX-2887       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049034   NOCUSTODIAN00049034
PX-2888       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049048   NOCUSTODIAN00049048
PX-2889       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049049   NOCUSTODIAN00049049
              FILING - United States of America v. Benjamin D., Photo of RAM at
PX-2890       Huntington Beach                                                              NOCUSTODIAN00049053   NOCUSTODIAN00049053
PX-2891       PHOTO - Photo of Benjamin D.                                                  NOCUSTODIAN00049054   NOCUSTODIAN00049054
PX-2892       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049055   NOCUSTODIAN00049055
PX-2893       PHOTO - Photo of books on sand with Benjamin D.                               NOCUSTODIAN00049055   NOCUSTODIAN00049055
PX-2894       SMS - Text message conversation between Eric B. and Benjamin D.               NOCUSTODIAN00049056   NOCUSTODIAN00049056
PX-2895       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049058   NOCUSTODIAN00049058
PX-2896       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049061   NOCUSTODIAN00049061
PX-2897       PHOTO - Photo of books around fire                                            NOCUSTODIAN00049064   NOCUSTODIAN00049064
PX-2898       SMS - Text message conversation between Benjamin D. and Michael M.            NOCUSTODIAN00049068   NOCUSTODIAN00049068
PX-2899       POST - Post by Christopher Cantwell                                           NOCUSTODIAN00049069   NOCUSTODIAN00049069
PX-2900       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00048936   NOCUSTODIAN00048936
PX-2901       PHOTO - Photo of August 12, 2017                                              NOCUSTODIAN00048937   NOCUSTODIAN00048937
PX-2902       PHOTO - Photo of TWP member who assaulted Deandre H.                          NOCUSTODIAN00048938   NOCUSTODIAN00048938
PX-2903       PHOTO - Photo of Benjamin D. on August 11, 2017                               NOCUSTODIAN00049153   NOCUSTODIAN00049153
PX-2904       PHOTO - Photo of Nathan Damigo with R.A.M. at Berkeley                        NOCUSTODIAN00049156   NOCUSTODIAN00049156
PX-2905       PHOTO - Photo of Benjamin D.                                                  NOCUSTODIAN00049218   NOCUSTODIAN00049218
PX-2906       FILING - United States of America v. Benjamin D., Tweet by R.A.M.             NOCUSTODIAN00049231   NOCUSTODIAN00049231
PX-2907       PHOTO - Photo of Cole W. at torch march on August 11, 2017                    NOCUSTODIAN00049233   NOCUSTODIAN00049233
PX-2908       PHOTO - Photos of Benjamin D. and Cole W. on August 12, 2017                  NOCUSTODIAN00049234   NOCUSTODIAN00049234
PX-2909       FILING - United States of America v. Benjamin D., Photo of Benjamin D.        NOCUSTODIAN00049236   NOCUSTODIAN00049236
PX-2910       VID - Video recording of Matthew Heimbach                                     NOCUSTODIAN00049237   NOCUSTODIAN00049237

PX-2911       PHOTO - Photo of Christopher Cantwell at Pikeville with Matthew Heimbach      NOCUSTODIAN00049238   NOCUSTODIAN00049238
PX-2912       PHOTO - Photo of Christopher Cantwell at D.C. free speech rally               NOCUSTODIAN00049239   NOCUSTODIAN00049239
              FILING - Court Proceedings, Commonwealth of Virginia v. Christopher
PX-2913       Cantwell                                                                      NOCUSTODIAN00049240   NOCUSTODIAN00049273
              VID - Video recording of Charlottesville 1.0 Periscope Spencer speech "It's
PX-2914       going south!"                                                                 NOCUSTODIAN00049312   NOCUSTODIAN00049312
PX-2915       INTENTIONALLY LEFT BLANK
PX-2916       VID - Video recording of Battle of Berkeley                                   NOCUSTODIAN00049317   NOCUSTODIAN00049317
PX-2917       VID - Video recording of Jeff Schoep speech                                   NOCUSTODIAN00049356   NOCUSTODIAN00049356
PX-2918       VID - Video recording of Jeff Schoep speech in Pikeville, KY                  NOCUSTODIAN00049357   NOCUSTODIAN00049357
PX-2919       INTENTIONALLY LEFT BLANK
PX-2920       INTENTIONALLY LEFT BLANK
PX-2921       DISC - Discord post                                                           NOCUSTODIAN00049363   NOCUSTODIAN00049364
PX-2922       DISC - Discord post                                                           NOCUSTODIAN00049393   NOCUSTODIAN00049395
PX-2923       VID - Video recording of Jeff Schoep Pikeville Pre-Rally Speech               NSM00000112           NSM00000112
PX-2924       VID - Video recording of Jeff Schoep Pikeville Pre-Rally Speech               NSM00000126           NSM00000126
PX-2925       SMS - Text message from Natalie Romero to Kimberly                            ROMERO00000011-C      ROMERO00000011-C
PX-2926       SMS - Text message from Natalie Romero to Jhonathan                           ROMERO00000018-C      ROMERO00000018-C
PX-2927       SMS - Text message from Natalie Romero                                        ROMERO00000021-C      ROMERO00000021-C
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PX-2928       SMS - Text message from Natalie Romero to Andrea                          ROMERO00000025-C   ROMERO00000025-C
PX-2929       SMS - Text message from Natalie Romero to Zaaklr                          ROMERO00000165-C   ROMERO00000165-C
PX-2930       SMS - Text message from Natalie Romero to Ms. Lauren                      ROMERO00000184-C   ROMERO00000184-C
PX-2931       EMAIL - Email from Natalie Romero to Cady                                 ROMERO00000221-C   ROMERO00000221-C
PX-2932       SMS - Text message from Natalie Romero to Clara                           ROMERO00000252-C   ROMERO00000252-C
PX-2933       SMS - Text message from Natalie Romero to Jose                            ROMERO00000262-C   ROMERO00000262-C
PX-2934       SMS - Text message from Natalie Romero to Dean and Mrs. Andrea            ROMERO00000285-C   ROMERO00000285-C
PX-2935       SMS - Text message from Natalie Romero to Sarra                           ROMERO00000300-C   ROMERO00000300-C
PX-2936       SMS - Text message from Natalie Romero                                    ROMERO00000314-C   ROMERO00000314-C
PX-2937       SMS - Text message from Natalie Romero to Brian                           ROMERO00000320-C   ROMERO00000320-C
PX-2938       SMS - Text message from Natalie Romero to Grammy Bear                     ROMERO00000324-C   ROMERO00000324-C
PX-2939       SMS - Text message from Natalie Romero to Papa Bear and Mama              ROMERO00000334-C   ROMERO00000334-C
PX-2940       SMS - Text message from Natalie Romero to Wifeyy                          ROMERO00000338-C   ROMERO00000338-C
PX-2941       SMS - Text message from Natalie Romero to Jonathan                        ROMERO00000341-C   ROMERO00000341-C
PX-2942       SMS - Natalie Romero to Dean B.                                           ROMERO00000611-C   ROMERO00000611-C
PX-2943       DOC - UVA Student Disability Access Center Accommodations                 ROMERO00000617-C   ROMERO00000618-C
PX-2944       EMAIL - Email from Kendall K to Natalie Romero regarding "expenses"       ROMERO00000640-C   ROMERO00000640-C
PX-2945       MEDICAL - Receipt for Natalie Romero from UVA Health                      ROMERO00000641-C   ROMERO00000641-C
PX-2946       MEDICAL - Receipt for Natalie Romero from Mudhouse Bella IR LLC           ROMERO00000642-C   ROMERO00000642-C
PX-2947       MEDICAL - Receipt for Natalie Romero from UVA Health                      ROMERO00000643-C   ROMERO00000643-C
PX-2948       MEDICAL - Receipt for Natalie Romero from Walgreens                       ROMERO00000645-C   ROMERO00000645-C
PX-2949       MEDICAL - Receipt for Natalie Romero from Walgreens                       ROMERO00000646-C   ROMERO00000646-C
PX-2950       MEDICAL - Billing record for Natalie Romero from UVA Health               ROMERO00000684-C   ROMERO00000695-C
PX-2951       MEDICAL - Billing record for Natalie Romero from UVA Health               ROMERO00000696-C   ROMERO00000698-C
PX-2952       MEDICAL - Health record for Natalie Romero from UVA Health                ROMERO00000702-C   ROMERO00000702-C
PX-2953       SMS - Text message from Natalie Romero to Wifeyy                          ROMERO00000703-C   ROMERO00000703-C
PX-2954       SMS - Text message from Natalie Romero to Mrs. Andrea                     ROMERO00000708-C   ROMERO00000708-C
PX-2955       SMS - Text message from Natalie Romero to Alvin                           ROMERO00000709-C   ROMERO00000709-C
              DOC - Document written by Natalie Romero, entitled "Part 1: What do you
PX-2956       fight for?"                                                               ROMERO00000725-C   ROMERO00000725-C
PX-2957       MEDICAL - Billing record for Natalie Romero from UVA Health               ROMERO00000731-C   ROMERO00000734-C
PX-2958       MEDICAL - Insurance record for Natalie Romero from Aetna                  ROMERO00000737-C   ROMERO00000742-C
PX-2959       MEDICAL - Billing record for Natalie Romero from UVA Health               ROMERO00000743-C   ROMERO00000752-C
              MEDICAL - Health record for Natalie Romero from Jeffrey Y./UVA Health
PX-2960       System                                                                    ROMERO00000763-C   ROMERO00000770-C
              MEDICAL - Health record for Natalie Romero from Jeffrey Y./UVA Health
PX-2961       System                                                                    ROMERO00000807-C   ROMERO00000820-C
PX-2962       MEDICAL - Billing record for Natalie Romero from UVA Health               ROMERO00000821-C   ROMERO00000838-C
              MEDICAL - Health record for Natalie Romero from Lindsey C./UVA Health
PX-2963       System                                                                    ROMERO00000839-C   ROMERO00000877-C
PX-2964       SMS - Text message from Natalie Romero to Mrs. Andrea                     ROMERO00000890-C   ROMERO00000890-C
PX-2965       SMS - Text message from Natalie Romero to Alvin                           ROMERO00000893-C   ROMERO00000893-C
PX-2966       SMS - Text message from Natalie Romero to Alvin                           ROMERO00000896-C   ROMERO00000896-C
PX-2967       SMS - Text message from Alvin to Natalie Romero                           ROMERO00000898-C   ROMERO00000898-C
PX-2968       SMS - Text message from Natalie Romero to Alvin                           ROMERO00000905-C   ROMERO00000905-C
PX-2969       SMS - Text message from Natalie Romero to Jaimeee                         ROMERO00000906-C   ROMERO00000906-C
PX-2970       SMS - Text message from Natalie Romero to Papa Bear                       ROMERO00000907-C   ROMERO00000907-C
PX-2971       SMS - Text message from Natalie Romero to Sierra                          ROMERO00000910-C   ROMERO00000910-C
PX-2972       SMS - Text message from Natalie Romero to Frank                           ROMERO00000911-C   ROMERO00000911-C
PX-2973       SMS - Text message from Natalie Romero to Jose                            ROMERO00000917-C   ROMERO00000917-C
PX-2974       SMS - Text message from Natalie Romero to Chelsea Alvarado                ROMERO00000942-C   ROMERO00000942-C
PX-2975       SMS - Text message from Natalie Romero                                    ROMERO00000943-C   ROMERO00000943-C
PX-2976       SMS - Text message from Natalie Romero to Dr. G                           ROMERO00000946-C   ROMERO00000946-C
PX-2977       SMS - Text message from Natalie Romero to Dr. G                           ROMERO00000947-C   ROMERO00000947-C
PX-2978       SMS - Text message from Natalie Romero to Dr. G                           ROMERO00000950-C   ROMERO00000950-C
PX-2979       SMS - Text message from Natalie Romero to Dr. G                           ROMERO00000951-C   ROMERO00000951-C
PX-2980       SMS - Text message from Natalie Romero to Dr. G                           ROMERO00000952-C   ROMERO00000952-C
PX-2981       SMS - Text message from Natalie Romero to Mama                            ROMERO00000953-C   ROMERO00000953-C
PX-2982       SMS - Text message from Natalie Romero to James                           ROMERO00000956-C   ROMERO00000956-C
PX-2983       SMS - Text message from Natalie Romero to James                           ROMERO00000957-C   ROMERO00000957-C
PX-2984       SMS - Text message from Natalie Romero to James                           ROMERO00000958-C   ROMERO00000958-C
PX-2985       SMS - Text message from Natalie Romero to James                           ROMERO00000959-C   ROMERO00000959-C
PX-2986       DOC - Week 1 - Week 4 Journals by Natalie Romero                          ROMERO00000961-C   ROMERO00000962-C
PX-2987       SMS - Text message from Natalie Romero                                    ROMERO00001018-C   ROMERO00001018-C
PX-2988       SMS - Text message from Natalie Romero to James                           ROMERO00001031-C   ROMERO00001031-C
PX-2989       SMS - Text message from Natalie Romero to James                           ROMERO00001032-C   ROMERO00001032-C
PX-2990       EMAIL - Email from Lisa K. to Natalie Romero                              ROMERO00001069-C   ROMERO00001070-C
PX-2991       SMS - Text message from Natalie Romero to Wifeyy                          ROMERO00001162-C   ROMERO00001162-C
PX-2992       SMS - Text message from Natalie Romero to Wifeyy                          ROMERO00001166-C   ROMERO00001166-C
PX-2993       SMS - Text message from Natalie Romero to Wifeyy                          ROMERO00001167-C   ROMERO00001167-C
PX-2994       SMS - Text message from Natalie Romero to FBI-Donna                       ROMERO00001169-C   ROMERO00001169-C
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Exhibit No.   Description                                                                 Beginning Bates    End Bates
PX-2995       MEDICAL - Health record for Natalie Romero from UVA Health                  ROMERO00001170-C   ROMERO00001250-C
PX-2996       MEDICAL - Insurance record for Natalie Romero from Aetna                    ROMERO00001269-C   ROMERO00001284-C
PX-2997       PHOTO - Photo of group of protesters with "Reclaim Our Grown" sign          ROMERO00001290-C   ROMERO00001290-C
PX-2998       PHOTO - Photo of August 11, 2017                                            ROMERO00001296     ROMERO00001296
PX-2999       PHOTO - Photo of KKK members in robes burning cross                         ROMERO00001317-C   ROMERO00001317-C
PX-3000       PHOTO - Riot police line between protestors                                 ROMERO00001320-C   ROMERO00001320-C
PX-3001       PHOTO - Photo of August 11, 2017                                            ROMERO00001321-C   ROMERO00001321-C
              PHOTO - Photo of 3 counterprotesters on the UVa Thomas Jefferson statue
PX-3002       holding signs with the slogans, "End Hate Now" and "TJ is a Racist"         ROMERO00001332-C   ROMERO00001332-C
              PHOTO - Photo of counterprotesters confronting the Unite the Right rally
PX-3003       participants                                                                ROMERO00001347     ROMERO00001347
PX-3004       FB - Facebook conversation between Natalie Romero and Ericka C.             ROMERO00001512-C   ROMERO00001512-C
PX-3005       PHOTO - Photo of August 11, 2017                                            ROMERO00001576-C   ROMERO00001576-C
PX-3006       PHOTO - Photo of August 11, 2017                                            ROMERO00001593-C   ROMERO00001593-C
PX-3007       PHOTO - Photo of August 11, 2017                                            ROMERO00001599-C   ROMERO00001599-C
PX-3008       PHOTO - Photo of August 12, 2017                                            ROMERO00001629     ROMERO00001629
PX-3009       PHOTO - Photo of August 12, 2017                                            ROMERO00001633     ROMERO00001633
PX-3010       PHOTO - Photo of August 11, 2017                                            ROMERO00001663     ROMERO00001663
PX-3011       PHOTO - Photo of August 11, 2017                                            ROMERO00001664     ROMERO00001664
PX-3012       PHOTO - Photo of car attack on August 12, 2017                              ROMERO00001665-C   ROMERO00001665-C
PX-3013       PHOTO - Photo of August 12, 2017                                            ROMERO00001669-C   ROMERO00001669-C
PX-3014       PHOTO - Photo of August 12, 2017                                            ROMERO00001670-C   ROMERO00001670-C
PX-3015       PHOTO - Photo of August 12, 2017                                            ROMERO00001671-C   ROMERO00001671-C
PX-3016       PHOTO - Photo of August 12, 2017                                            ROMERO00001676-C   ROMERO00001676-C
PX-3017       PHOTO - Photo of August 12, 2017                                            ROMERO00001687-C   ROMERO00001687-C
PX-3018       PHOTO - Photo of August 12, 2017                                            ROMERO00001721-C   ROMERO00001721-C
PX-3019       PHOTO - Photo of August 12, 2017                                            ROMERO00001726-C   ROMERO00001726-C
PX-3020       VID - Video recording of August 12, 2017                                    ROMERO00001745-C   ROMERO00001745-C
PX-3021       VID - Video recording of August 12, 2017                                    ROMERO00001747-C   ROMERO00001747-C
PX-3022       VID - Video recording of August 12, 2017                                    ROMERO00001753-C   ROMERO00001753-C
PX-3023       VID - Video recording of August 12, 2017                                    ROMERO00001760-C   ROMERO00001760-C
PX-3024       VID - Video recording of August 12, 2017                                    ROMERO00001763-C   ROMERO00001763-C
              EMAIL - Email from Dr. Jessica S. to Natalie Romero regarding "NR ESA
PX-3025       Letter"                                                                     ROMERO00001776-C   ROMERO00001776-C
PX-3026       PHOTO - Photo of Natalie Romero's medicine                                  ROMERO00001793-C   ROMERO00001793-C
PX-3027       MEDICAL - Health record for Natalie Romero from UVA Health                  ROMERO00001795-C   ROMERO00001795-C
PX-3028       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001805-C   ROMERO00001805-C
PX-3029       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001807-C   ROMERO00001807-C
PX-3030       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001811-C   ROMERO00001811-C
PX-3031       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001812-C   ROMERO00001812-C
PX-3032       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001813-C   ROMERO00001813-C
PX-3033       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001816-C   ROMERO00001816-C
PX-3034       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001817-C   ROMERO00001817-C
PX-3035       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001819-C   ROMERO00001819-C
PX-3036       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001828-C   ROMERO00001828-C
PX-3037       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001834-C   ROMERO00001834-C
PX-3038       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001854-C   ROMERO00001854-C
PX-3039       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001881-C   ROMERO00001881-C
PX-3040       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001885-C   ROMERO00001885-C
              VID - Video recording of Natalie Romero reading her poem written to James
PX-3041       Fields                                                                      ROMERO00001896-C   ROMERO00001896-C
PX-3042       FB - Facebook conversation between Natalie Romero and Brian                 ROMERO00001899-C   ROMERO00001899-C
PX-3043       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001921-C   ROMERO00001921-C
PX-3044       PHOTO - Photo of Natalie Romero's injuries                                  ROMERO00001962     ROMERO00001962
PX-3045       PHOTO - Photo of August 12, 2017                                            ROMERO00001977-C   ROMERO00001977-C

PX-3046       MEDICAL - Billing record for Natalie Romero from UVA Physicians Group       ROMERO00002003-C   ROMERO00002003-C
              MEDICAL - Health record for Natalie Romero from the University of
PX-3047       Virginia Health System                                                      ROMERO00002004-C   ROMERO00002151-C
PX-3048       MEDICAL - Receipt for Natalie Romero from Mattress Firm                     ROMERO00002152     ROMERO00002152
PX-3049       DOC - Natalie Romero's diary entry                                          ROMERO00002153     ROMERO00002153
PX-3050       DOC - Natalie Romero's diary entry                                          ROMERO00002154     ROMERO00002154
PX-3051       DOC - Natalie Romero's diary entry                                          ROMERO00002155     ROMERO00002155
PX-3052       DOC - Natalie Romero's diary entry                                          ROMERO00002156     ROMERO00002156
PX-3053       DOC - Natalie Romero's diary entry                                          ROMERO00002157     ROMERO00002157
PX-3054       DOC - Natalie Romero's diary entry                                          ROMERO00002158     ROMERO00002158
              MEDICAL - Health record for Natalie Romero from the University of
PX-3055       Virginia Health System                                                      ROMERO00002159     ROMERO00002382
              MEDICAL - Health record for Natalie Romero from the University of
PX-3056       Virginia Health System                                                      ROMERO00002383     ROMERO00002430
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              MEDICAL - Health record for Natalie Romero from the University of
PX-3057       Virginia Health System                                                        ROMERO00002431    ROMERO00002635
              MEDICAL - Billing records for Natalie Romero from the University of
PX-3058       Virginia Health System                                                        ROMERO00002636    ROMERO00002671
PX-3059       SMS - Text message from Carter H. to Robert "Azzmador" Ray                    RR00000001        RR00000001
PX-3060       ARTICLE - Daily Stormer Vol. 19                                               RR00190091        RR00190190
PX-3061       EMAIL - Email from Christopher Cantwell to Robert "Azzmador" Ray              RR00193887        RR00193887
PX-3062       EMAIL - Email from Col B. to Robert "Azzmador" Ray                            RR00197884        RR00197885
PX-3063       EMAIL - Email from Christopher Cantwell to Robert "Azzmador" Ray              RR00197925        RR00197927
              DOC - Document regarding Unite the Right Charlottesville 2.0, version dated
PX-3064       8/10/2017                                                                     RR00197936        RR00197949
PX-3065       EMAIL - Email from Syd C. to Azzmador                                         RR00198011        RR00198016
PX-3066       EMAIL - Email from Discord Support to Robert "Azzmador" Ray                   RR00199823        RR00199824
PX-3067       EMAIL - Email from Robert "Azzmador" Ray to Alfred A.                         RR00200689        RR00200692
PX-3068       EMAIL - Email from Robert "Azzmador" Ray to Syd C.                            RR00200949        RR00200953
PX-3069       EMAIL - Email from Robert "Azzmador" Ray to Vanguard Texas                    RR00201027        RR00201027
PX-3070       SMS - Text message from Robert "Azzmador" Ray to D'Marcus L.                  RR00201133        RR00201133
PX-3071       SMS - Text message from Evan M. to Richard Spencer                            RS00007905        RS00007905
PX-3072       SMS - Text message from Richard Spencer to Jack T.                            RS00012454        RS00012454
PX-3073       INTENTIONALLY LEFT BLANK
PX-3074       SMS - Text message from Daniel F. and Richard Spencer                         RS00013419        RS00013419
PX-3075       SMS - Text message from Richard Spencer to Rebecca C.                         RS00013772        RS00013772
PX-3076       INTENTIONALLY LEFT BLANK
PX-3077       SMS - Text message from Colton M. to Richard Spencer                          RS00016085        RS00016085
PX-3078       SMS - Text message conversation between Richard Spencer and Mike M.           RS00016526        RS00016527
PX-3079       SMS - Text message from Richard Spencer to Samantha F.                        RS00028694        RS00028694
PX-3080       SMS - Text message from Evan M. to Richard Spencer                            RS00030215        RS00030215
PX-3081       SMS - Text message from Richard Spencer to Nathan Damigo                      RS00031786        RS00031786
              SMS - Text message conversation between Nathan Damigo and Richard
PX-3082       Spencer                                                                       RS00031821        RS00031828
              SMS - Text message conversation between Nathan Damigo and Richard
PX-3083       Spencer                                                                       RS00031934        RS00031939
              SMS - Text message conversation between Nathan Damigo and Richard
PX-3084       Spencer                                                                       RS00031955        RS00031958

PX-3085       SMS - Text message conversation between Elliott Kline and Richard Spencer RS00032999            RS00033002

PX-3086       SMS - Text message conversation between Elliott Kline and Richard Spencer     RS00033175        RS00033179
PX-3087       SMS - Text message from Elliott Kline to Richard Spencer                      RS00033397        RS00033397
PX-3088       SMS - Text message from Elliott Kline to Richard Spencer                      RS00033535        RS00033535
PX-3089       SMS - Text message from Elliott Kline to Richard Spencer                      RS00033558        RS00033558
PX-3090       SMS - Text message from Elliott Kline to Richard Spencer                      RS00033926        RS00033926
PX-3091       SMS - Text message from Richard Spencer to Elliott Kline                      RS00033927        RS00033927
PX-3092       SMS - Text message from Elliott Kline to Richard Spencer                      RS00033969        RS00033969
PX-3093       SMS - Text message from Elliott Kline to Richard Spencer                      RS00033971        RS00033971
PX-3094       SMS - Text message from Richard Spencer to Elliott Kline                      RS00034279        RS00034279

PX-3095       SMS - Text message conversation between Richard Spencer and Reinhard W.       RS00036847        RS00036851
PX-3096       SMS - Text message from Richard Spencer to Jason Kessler                      RS00039520        RS00039520
PX-3097       SMS - Text message from Jason Kessler to Richard Spencer                      RS00039521        RS00039521
PX-3098       SMS - Text message from Jason Kessler to Richard Spencer                      RS00039522        RS00039522
PX-3099       SMS - Text message from Jason Kessler to Richard Spencer                      RS00039532        RS00039532
              SMS - Text message conversation between Jason Kessler and Richard
PX-3100       Spencer                                                                       RS00039541        RS00039543
              SMS - Text message conversation between Jason Kessler and Richard
PX-3101       Spencer                                                                       RS00039566        RS00039569
              SMS - Text message conversation between Jason Kessler and Richard
PX-3102       Spencer                                                                       RS00039574        RS00039575
PX-3103       SMS - Text message from Richard Spencer to Jason Kessler                      RS00039577        RS00039577
PX-3104       SMS - Text message from Richard Spencer to Jason Kessler                      RS00039585        RS00039585
              SMS - Text message conversation between Jason Kessler and Richard
PX-3105       Spencer                                                                       RS00039596        RS00039600
PX-3106       SMS - Text message from Jason Kessler to Richard Spencer                      RS00039624        RS00039624
PX-3107       SMS - Text message from Jason Kessler to Richard Spencer                      RS00039625        RS00039625
PX-3108       SMS - Text message from Richard Spencer to Tim T.                             RS00076971        RS00076971
PX-3109       SMS - Text message from Laura S. to Richard Spencer                           RS00090021        RS00090021
PX-3110       SMS - Text message from Laura S. to Richard Spencer                           RS00090029        RS00090029
PX-3111       SMS - Text message from Richard Spencer to Laura S.                           RS00090059        RS00090059
PX-3112       SMS - Text message from Nathan Damigo to Richard Spencer                      RS00093525        RS00093525
PX-3113       SMS - Text message from Elliott Kline to Richard Spencer                      RS00094963        RS00094963
PX-3114       SMS - Text message from Richard Spencer to Elliott Kline                      RS00095071        RS00095071
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PX-3115       SMS - Text message from Elliott Kline to Richard Spencer                   RS00095766        RS00095766
PX-3116       SMS - Text message from Elliott Kline to Richard Spencer                   RS00095771        RS00095771
PX-3117       SMS - Text message from Ryan W. to Richard Spencer                         RS00100974        RS00100974
PX-3118       SMS - Text message from Jason Kessler to Richard Spencer                   RS00101427        RS00101427
PX-3119       SMS - Text message from Jason Kessler to Richard Spencer                   RS00101529        RS00101529
PX-3120       EMAIL - Email from Richard Spencer to Richard Spencer                      RS00308437        RS00308439
PX-3121       EMAIL - Email from Richard Spencer to Richard Spencer                      RS00308847        RS00308848

PX-3122       EMAIL - Email from Sam D., copying Evan M., Gregory R., Richard Spencer    RS00317854        RS00317856
              EMAIL - Email from Evan M. to Richard Spencer, Nathan Damigo, Elliot
PX-3123       Kline, Sam D.                                                              RS00546309        RS00546309
PX-3124       EMAIL - Email from Jason Kessler to Sam D., Kyle B., Richard Spencer       RS00549263        RS00549263
PX-3125       EMAIL - Email from Jason Kessler to Kyle B., Sam D                         RS00549325        RS00549326
PX-3126       EMAIL - Email from Richard Spencer to Augustus Sol Invictus                RS00549331        RS00549332
PX-3127       EMAIL - Email from Google Calendar to Richard Spencer                      RS00549348        RS00549348
              EMAIL - Email from Cory R. to Evan M. copying Richard Spencer, Cameron
PX-3128       P., Elliott Kline, Gregory R.                                              RS00549906        RS00549906
PX-3129       EMAIL - Email from Gregory R. to Richard Spencer                           RS00550307        RS00550307
PX-3130       EMAIL - Email from Jason Kessler                                           RS00551293        RS00551293
PX-3131       EMAIL - Email from Ryan W. to Richard Spencer                              RS00552993        RS00552993
PX-3132       EMAIL - Email from Trezbond to Richard Spencer                             RS00554524        RS00554531
PX-3133       DOC - Document regarding Charlottesville itinerary                         RS00676233        RS00676241
PX-3134       EMAIL - Email from Jason Kessler regarding Charlottesville                 RS00678521        RS00678521
PX-3135       DOC - Excel spreadsheet re: attendee list                                  RS00689740        RS00689740
PX-3136       TWITTER – Tweet by Richard Spencer                                         RS00747467        RS00747467
PX-3137       SMS - Text message from Richard Spencer to Matthew Heimbach                RS01007399        RS01007399
              SMS - Text message conversation between Christopher Cantwell and Richard
PX-3138       Spencer                                                                    RS01007796        RS01007797
PX-3139       SMS - Text message conversation between Scott H. and Richard Spencer       RS01007816        RS01007817
PX-3140       SMS - Text message from Richard Spencer to Scott H.                        RS01007817        RS01007818
PX-3141       SMS - Text message from Richard Spencer to Greg C., Evan M.                RS01007833        RS01007833
PX-3142       SMS - Text message from Richard Spencer to Greg C. and Evan M.             RS01007834        RS01007834
PX-3143       SMS - Text message from Jason Kessler to Richard Spencer                   RS01007851        RS01007851
PX-3144       SMS - Text message from Richard Spencer to Glenna G.                       RS01007855        RS01007855
PX-3145       SMS - Text message from Greg C. to Richard Spencer                         RS01007858        RS01007858
              SMS - Text message conversation between Augustus Invictus and Nathan
              Damigo, Christopher Cantwell, Area code 951 number, Michael Hill, and
PX-3146       Jason Kessler                                                              RS01007861        RS01007864
PX-3147       SMS - Text message from Richard Spencer to David D.                        RS01007867        RS01007867
PX-3148       SMS - Text message from Christopher Cantwell to Richard Spencer            RS01007877        RS01007877
              SMS - Text message conversation between Christopher Cantwell and Richard
PX-3149       Spencer                                                                    RS01007895        RS01007907
PX-3150       SMS - Text message from Greg C. to Richard Spencer                         RS01007913        RS01007913
              SMS - Text message conversation between Christopher Cantwell and Richard
PX-3151       Spencer                                                                    RS01007916        RS01007935
PX-3152       SMS - Text message from Greg C. to Richard Spencer                         RS01007995        RS01007995
PX-3153       SMS - Text message from Richard Spencer to Mike Enoch                      RS01008244        RS01008244
              SMS - Text message conversation between Matthew Heimbach and Richard
PX-3154       Spencer                                                                    RS01008258        RS01008260
PX-3155       SMS - Text message from Richard Spencer to Nathan Damigo                   RS01008652        RS01008652
PX-3156       SMS - Text message from Dagna G. to Richard Spencer                        RS01009487        RS01009487
PX-3157       SMS - Text message from Christopher Cantwell                               RS01012398        RS01012398
              DOC - Document containing Elizabeth Sines's statement of events of the
PX-3158       August 11-12, 2017                                                         SINES00000001     SINES000000003
PX-3159       SMS - Text message from Pat D. to Elizabeth Sines                          SINES00000132-C   SINES00000132-C
PX-3160       SMS - Text message from Elizabeth Sines to Tyler                           SINES00000148-C   SINES00000148-C
              EMAIL - Email from Elizabeth Sines to Kimma regarding Charlottesville
PX-3161       Personal Reflections                                                       SINES00000170-C   SINES00000170-C
PX-3162       SMS - Text message from Elizabeth Sines to Pat D.                          SINES00000823-C   SINES00000823-C
PX-3163       DOC - Elizabeth Sines's police statement                                   SINES00000824-C   SINES00000824-C
PX-3164       SMS - Text message from Elizabeth Sines to Will T.                         SINES00000827-C   SINES00000827-C
PX-3165       SMS - Text message from Elizabeth Sines to Will T.                         SINES00000828-C   SINES00000828-C
PX-3166       SMS - Text message from Elizabeth Sines to Liz M.                          SINES00000831-C   SINES00000831-C
PX-3167       SMS - Text message from Elizabeth Sines to Patt D.                         SINES00000833-C   SINES00000833-C
PX-3168       SMS - Text message from Elizabeth Sines to J.C.                            SINES00000835-C   SINES00000835-C
PX-3169       SMS - Text message from Elizabeth Sines to Tyler                           SINES00000836-C   SINES00000836-C
PX-3170       SMS - Text message from Tyler to Elizabeth Sines                           SINES00000837-C   SINES00000837-C
PX-3171       SMS - Text message from Elizabeth Sines to Tyler                           SINES00000838-C   SINES00000838-C
PX-3172       SMS - Text message from Tyler to Elizabeth Sines                           SINES00000839-C   SINES00000839-C
PX-3173       SMS - Text message from Elizabeth Sines to Tyler                           SINES00000843-C   SINES00000843-C
PX-3174       SMS Text message from Elizabeth Sines to Tyler                             SINES00000873-C   SINES00000873-C
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Exhibit No.   Description                                                                 Beginning Bates       End Bates
PX-3175       SMS - Text message from Elizabeth Sines to Tyler                            SINES00000875-C       SINES00000875-C
PX-3176       SMS - Text message from Elizabeth Sines to Tyler                            SINES00000882-C       SINES00000882-C
PX-3177       SMS - Text message from Elizabeth Sines to Tyler                            SINES00000883-C       SINES00000883-C
PX-3178       SMS - Text message from Elizabeth Sines to Tyler                            SINES00000884-C       SINES00000884-C
              EMAIL - Email from studenthealth@virgina.edu to Elizabeth Sines regarding
PX-3179       "Appointment Reminder"                                                      SINES00000885-C       SINES00000885-C
PX-3180       EMAIL - Email from Elizabeth Sines to Jackie W. regarding "Resources"       SINES00000888-C       SINES0000890-C
PX-3181       SMS - Text message from Elizabeth Sines to Pat D.                           SINES00000891-C       SINES00000891-C
PX-3182       SMS - Text message from Elizabeth Sines to Pat D.                           SINES00000902-C       SINES00000902-C
PX-3183       DOC - Document written by Elizabeth Sines                                   SINES00000910         SINES00000910
PX-3184       DOC - Document regarding living in Charlottesville                          SINES00000911         SINES00000915
PX-3185       VID - Video recording of August 12, 2017                                    SINES00000917-C       SINES00000917-C
PX-3186       MEDICAL - Health record for Elizabeth Sines from UVA Health                 SINES00001015-C       SINES00001034-C
PX-3187       SMS - Text message from Elizabeth Sines to Will T.                          SINES00001069-C       SINES00001069-C
PX-3188       SMS - Text message from Elizabeth Sines to Will T.                          SINES00001070-C       SINES00001070-C
PX-3189       MEDICAL - Health record for Elizabeth Sines from UVA Health                 SINES00001138-C       SINES00001156-C
PX-3190       VID - Video recording of Elizabeth Sines of August 12                       SINES00001175-C       SINES00001175-C
PX-3191       SMS - Text message from Elizabeth Sines to Tyler                            SINES00001248-C       SINES00001248-C
PX-3192       PHOTO - Photo taken at McGuffrey                                            SINES00001325-C       SINES00001325-C
PX-3193       PHOTO - Photo taken at McGuffrey                                            SINES00001332-C       SINES00001332-C
PX-3194       PHOTO - Photo of counter-protestors before the car attack                   SINES00001334-C       SINES00001334-C
              PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in
PX-3195       Charlottesville                                                             SINES00001342-C       SINES00001342-C
              PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in
PX-3196       Charlottesville                                                             SINES00001343-C       SINES00001343-C
              PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in
PX-3197       Charlottesville                                                             SINES00001346-C       SINES00001346-C
              PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in
PX-3198       Charlottesville                                                             SINES00001347-C       SINES00001347-C
PX-3199       PHOTO - Photo of anti-Semitic sign at KKK rally in Charlottesville          SINES00001353-C       SINES00001353-C
PX-3200       FB - Facebook post by Elizabeth Sines                                       SINES00001955-C       SINES00001956-C
PX-3201       FB - Facebook message from Brian C. to Elizabeth Sines                      SINES00002018-C       SINES00002018-C
PX-3202       FB - Facebook post by Elizabeth Sines                                       SINES00002057-C       SINES00002057-C
PX-3203       FB - Facebook post by Elizabeth Sines                                       SINES00002160-C       SINES00002174-C
PX-3204       VID - Video recording of August 11, 2017                                    SINES00002700-C       SINES00002700-C
PX-3205       FB - Facebook post by Elizabeth Sines                                       SINES00004546-C       SINES00004547-C
PX-3206       IG - Post by Elizabeth Sines                                                SINES00004593-C       SINES00004593-C
PX-3207       VID - Video recording of Elizabeth Sines of August 12                       SINES00004640-C       SINES00004640-C
PX-3208       FB - Facebook message from Elizabeth A. to Kimma B.                         SINES00004672-C       SINES00004672-C
PX-3209       VID - Video recording of car attack on August 12, 2017                      SINES00004686-C       SINES00004686-C
              PR - SPRINT - Phone Records for Jeff Schoep (CDMA Cell Sites, Call Detail
PX-3210       Report)                                                                     SPRINT_00000001       SPRINT_00000010
              PR - SPRINT - Phone Records for James Fields (Agreement to Respect
              Confidential Information, Payment Update Notice, Text Message Detail
              Report, Location Information, Response Cover Sheet, and Key to
PX-3211       Understanding CDMA Call Detail Reports)                                     SPRINT_00000026       SPRINT_00000041
PX-3212       DOC - Airline Ticket from Benjamin D.                                       NOCUSTODIAN00049063   NOCUSTODIAN00049063
PX-3213       DOC - Airline Ticket from Michael M.                                        NOCUSTODIAN00049067   NOCUSTODIAN00049067
PX-3214       DOC - Airline Ticket from Thomas G.                                         NOCUSTODIAN00049052   NOCUSTODIAN00049052
PX-3215       DOC - Certificate of Authenticity from Discord                              NOCUSTODIAN00049365   NOCUSTODIAN00049392
PX-3216       DOC - Identity Evropa Project Siege flyer                                   NOCUSTODIAN00049348   NOCUSTODIAN00049353
PX-3217       DOC - Police Crash Report                                                   CLTHOMAS00000035      CLTHOMAS00000055
PX-3218       DOC - Police Crash Report                                                   CLTHOMAS00000079      CLTHOMAS00000099
PX-3219       DOC - Trooper Thomas Crash Team Report                                      CLTHOMAS00000001      CLTHOMAS00000016
PX-3220       DOC - Trooper Thomas Crash Team Report                                      CLTHOMAS00000017      CLTHOMAS00000019
PX-3221       DOC - Trooper Thomas Crash Team Report                                      CLTHOMAS00000020      CLTHOMAS00000034
PX-3222       DOC - Virginia State Police Crash Team Report Division III                  CLTHOMAS00000100      CLTHOMAS00000144
PX-3223       DOC - Virginia State Police Crash Team Report Supplement Division III       CLTHOMAS00000056      CLTHOMAS00000078
              FILING - Document from United States of America v. Benjamin D., entitled
PX-3224       "Plea Agreement"                                                            NOCUSTODIAN00049219   NOCUSTODIAN00049230
PX-3225       MEDICAL - Health Record for Thomas Baker from UVA Health                    BAKER00001602         BAKER00001607
PX-3226       PHOTO - Photo of books around fire                                          NOCUSTODIAN00049215   NOCUSTODIAN00049215
PX-3227       PHOTO - Photo of Juan C. and Benjamin D.                                    NOCUSTODIAN00049217   NOCUSTODIAN00049217
PX-3228       PHOTO - Photo of Michael Tubbs on August 12, 2017
PX-3229       PHOTO - Photo of Nathan Damigo running away after punching someone          NOCUSTODIAN00047590   NOCUSTODIAN00047590
PX-3230       PHOTO - Photo of Nathan Damigo with R.A.M. at Berkeley                      NOCUSTODIAN00049156   NOCUSTODIAN00049156
PX-3231       PHOTO - Photo of Benjamin D., Michael M., and Nathan Damigo                 NOCUSTODIAN00049235   NOCUSTODIAN00049235
PX-3232       INTENTIONALLY LEFT BLANK
PX-3233       PR - Extraction report for Jason Kessler's iPhone
PX-3234       VID - Video of August 12, 2017                                              NOCUSTODIAN00048875   NOCUSTODIAN00048875
PX-3235       VID - Video recording by Sandi B. of August 12, 2017                        NOCUSTODIAN00048885   NOCUSTODIAN00048885
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Exhibit No.   Description                                                                 Beginning Bates        End Bates
PX-3236       VID - Video produced by NSM Media of the Charlottesville rally
              VID - Video produced by NSM Media of the Charlottesville rally and hosted
PX-3237       by YouTuber BraveryJerk
PX-3238       VID - Video recording Charlottesville rally turned violent                  NOCUSTODIAN00049317    NOCUSTODIAN00049317
PX-3239       VID - Video recording of "Live Satellite News"
PX-3240       INTENTIONALLY LEFT BLANK
PX-3241       VID - Video recording of Bodycam footage, McIntyre Park meeting
PX-3242       VID - Video recording of Bodycam footage, Walmart parking lot
PX-3243       VID - Video recording of Cantwell spraying, torch swinging, punching
              VID - Video recording of interview with man in Daily Stormer t-shirt at
PX-3244       protest regarding Confederate statue                                        NOCUSTODIAN00048726    NOCUSTODIAN00048726
PX-3245       VID - Video recording of Kline Red Ice Interview                            NOCUSTODIAN00044657    NOCUSTODIAN00044657
PX-3246       VID - Video of Nathan Damigo                                                NOCUSTODIAN00028701    NOCUSTODIAN00028701
PX-3247       VID - Video recording of August 12, 2017

PX-3248       VID - Video recording of National Geographic interview with Jason Kessler
PX-3249       INTENTIONALLY LEFT BLANK
PX-3250       INTENTIONALLY LEFT BLANK
PX-3251       INTENTIONALLY LEFT BLANK
PX-3252       VID - Video recording of Vanguard America and Elliot Kline marching         NOCUSTODIAN00049301    NOCUSTODIAN00049301
PX-3253       VID - Video of Robert "Azzmador" Ray on August 12, 2017                     NOCUSTODIAN00048882    NOCUSTODIAN00048882
PX-3254       VID - Video recording of August 12, 2017
PX-3255       VID - Video recording of August 12, 2017                                    NOCUSTODIAN00048888    NOCUSTODIAN00048888

              PR - TMOBILE - Phone Records for Michael Tubbs (Call Detail Report,
PX-3256       Subscriber Information, Certification, Subpoena to T-Mobile, Usage Details) TMOBILE_00000001       TMOBILE_00000007
              PR - VERIZON - Phone Records for Matthew Heimbach (Talk Activity,
PX-3257       Subpoena to Verizon, Response Cover Letter)                                     VERIZON_00000001   VERIZON_00000003
              PR - VERIZON - Phone Records for Jason Kessler (Message Detail,
              Subscriber Information, Historical SMS, Historical Call Detail with Cell Sites,
PX-3258       Call Detail, Subpoena to Verizon, Volte Cell Site Information)                  VERIZON_00000004   VERIZON_00000018

              PR - VERIZON - Phone Records for Christopher Cantwell (Invoice for
              Subpoena, Location Information, Message Detail, Volte Cell Site Information,
              Historical SMS Detail Report, Subscriber Information, Cell Site Information,
PX-3259       Message Detail, Call Detail and Cell Site Information Report)                VERIZON_00000019      VERIZON_00000044
              EMAIL - Email from Walt H. to Megan B., Brenda L., Nathan M., Devin
PX-3260       Willis, Zoe K. regarding "Daily updates"                                     WILLIS_00000351-C     WILLIS_00000352-C
              DOC - Document entitled, "Media Advisory for Immediate Release" regarding
PX-3261       August 12, 2017 counter protesters                                           WILLIS_00000356-C     WILLIS_00000356-C
PX-3262       PHOTO - Photo of Devin Willis on August 12, 2017                             WILLIS_00001424-C     WILLIS_00001424-C
PX-3263       PHOTO - Photo of Devin Willis on August 12, 2017                             WILLIS_00001430-C     WILLIS_00001430-C
PX-3264       VID - Video recording of August 12, 2017                                     WILLIS_00001441-C     WILLIS_00001441-C
PX-3265       VID - Video recording of August 12, 2017                                     WILLIS_00001443-C     WILLIS_00001443-C
PX-3266       VID - Video recording of August 12, 2017                                     WILLIS_00001445-C     WILLIS_00001445-C
PX-3267       VID - Video recording of August 12, 2017                                     WILLIS_00001449-C     WILLIS_00001449-C
PX-3268       PHOTO - Photo of Devin Willis on August 12, 2017                             WILLIS_00001459-C     WILLIS_00001459-C
PX-3269       PHOTO - Seth Wispelwey holding young child                                   WISPELWEY00001099-C   WISPELWEY00001099-C
PX-3270       PHOTO - Photo of Seth Wispelwey on August 12, 2017                           WISPELWEY00002971-C   WISPELWEY00002971-C
PX-3271       PHOTO - Photo of Seth Wispelwey on August 12, 2017                           WISPELWEY00004601-C   WISPELWEY00004601-C
PX-3272       PHOTO - Photo of Seth Wispelwey on August 12, 2017                           WISPELWEY00004604-C   WISPELWEY00004604-C
PX-3273       PHOTO - Photo of Seth Wispelwey on August 12, 2017                           WISPELWEY00009624-C   WISPELWEY00009624-C
PX-3274       MEDICAL - Health record for Seth Wispelwey from UVA Health                   WISPELWEY00009964-C   WISPELWEY00009974-C
PX-3275       MEDICAL - Letter from Carol S. regarding Seth Wispelwey                      WISPELWEY00009975-C   WISPELWEY00009976-C
PX-3276       PHOTO - Photo of Seth Wispelwey on August 12, 2017                           WISPELWEY00010044-C   WISPELWEY00010044-C

PX-3277       MEDICAL - Health record for Seth Wispelwey from River Bend Counseling       WISPELWEY00010135-C    WISPELWEY00010136-C
PX-3278       MEDICAL - Health record for Seth Wispelwey from UVA Health                  WISPELWEY00010137-C    WISPELWEY00010140-C
PX-3279       MEDICAL - Letter from Carol S. regarding Seth Wispelwey                     WISPELWEY00010147-C    WISPELWEY00010147-C
PX-3280       MEDICAL - Insurance records from Blue Shield for Seth Wispelwey             WISPELWEY00010148-C    WISPELWEY00010148-C
PX-3281       PHOTO - Photo of August 12, 2017                                            WISPELWEY00011653-C    WISPELWEY00011653-C
PX-3282       PHOTO - Photo of August 12, 2017                                            WISPELWEY00011675-C    WISPELWEY00011675-C
PX-3283       PHOTO - Photo of people in church on August 12, 2017                        WISPELWEY00011683-C    WISPELWEY00011683-C
PX-3284       PHOTO - Photo taken by Seth Wispelwey                                       WISPELWEY00015317      WISPELWEY00015317
              MEDICAL - Health record for Seth Wispelwey for Banner Health Care,
PX-3285       University of AZ                                                            WISPELWEY00015323-C    WISPELWEY00015343-C
PX-3286       MEDICAL - Letter from Carol S. regarding Seth Wispelwey                     WISPELWEY00015344-C    WISPELWEY00015345-C
PX-3287       INSURANCE RECORDS - Highmark Insurance Records (Certified)                  WISPELWEY00015346-C    WISPELWEY00015616-C
              INSURANCE RECORDS - Highmark Insurance Business Certification for
PX-3288       2017 - 2019 Records                                                         WISPELWEY00015617      WISPELWEY00015617
PX-3289       INTENTIONALLY LEFT BLANK
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Exhibit No.   Description                                                                   Beginning Bates       End Bates
PX-3290       AUD - Audio recording of Christopher Cantwell phone call
PX-3291       AUD - Audio recording of Christopher Cantwell phone call
PX-3292       AUD - Audio recording of Christopher Cantwell phone call
PX-3293       AUD - Audio recording of Christopher Cantwell phone call
PX-3294       AUD - Audio recording of Christopher Cantwell phone call
PX-3295       AUD - Audio recording of Christopher Cantwell phone call
PX-3296       AUD - Audio recording of Christopher Cantwell phone call
PX-3297       AUD - Audio recording of Christopher Cantwell phone call
PX-3298       AUD - Audio recording of Christopher Cantwell phone call
PX-3299       AUD - Recording of White Rabbit Radio of Jason Kessler
              DISCOVERY - Defendants' Exhibit A to Stipulation and Order for the
PX-3300       Imaging, Preservation, and Production of Documents
              DISCOVERY - Defendants' Federal Rule of Civil Procedure 26(a) Initial
PX-3301       Disclosures
              DISCOVERY - Defendants' Responses to Plaintiffs' First Requests for
PX-3302       Admission

              DISCOVERY - Defendants' Responses to Plaintiffs' First Set of
PX-3303       Interrogatories and Requests for Production of Documents to All Defendants

PX-3304       DISCOVERY - Defendants' Responses to Plaintiffs' Second of Interrogatories
              DISCOVERY - James Fields' Responses to Plaintiffs' Third Second of
PX-3305       Interrogatories
              DISCOVERY - Plaintiffs' Corrected First Set of Requests for Production of
PX-3306       Documents to All Defendants
PX-3307       DISCOVERY - Plaintiffs' First Requests for Admission to Defendants
PX-3308       DISCOVERY - Plaintiffs' First Set of Interrogatories to All Defendants
              DISCOVERY - Plaintiffs' Second Set of Interrogatories to All Individual
PX-3309       Defendants, including Michael Peinovich and Richard Spencer
              DISCOVERY - Plaintiffs' Second Set of Interrogatories to All Non-Defaulted
PX-3310       Entity Defendants
              DISCOVERY - Plaintiffs' Second Set of Requests for Production of
PX-3311       Documents to Jason Kessler
PX-3312       DISCOVERY - Plaintiffs' Third Set of Interrogatories to James Fields
PX-3313       DISCOVERY - Robert "Azzmador" Ray's usernames and devices
              DOC - Document entitled, "Operation Unite the Right Charlottesville 2.0" -
PX-3314       Report Version: 6/11/2017 Initial OPORD, Next Version release 6/18/2017
              DOC - Document entitled, "Operation Unite the Right Charlottesville 2.0" -
PX-3315       Report Version: 8/1/2017 OPORD
              FILING - Defendant's Motion for Review and Revocation of Detention Order,
PX-3316       USA v. Cantwell                                                            NOCUSTODIAN00045867      NOCUSTODIAN00045886
              SMS - Cantwell produced text messages with various codefendants and third
PX-3317       parties
PX-3318       SMS - Messages produced by Cantwell in answers
PX-3319       SMS/EMAILS - Collection of Text Messages from Matthew Parrott

PX-3320       Summary exhibit pursuant to Federal Rule of Evidence 1006 for April Muniz
              Summary exhibit pursuant to Federal Rule of Evidence 1006 for Chelsea
PX-3321       Alvarado

PX-3322       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Devin Willis
              Summary exhibit pursuant to Federal Rule of Evidence 1006 for Elizabeth
PX-3323       Sines
              Summary exhibit pursuant to Federal Rule of Evidence 1006 for Marcus
PX-3324       Martin

PX-3325       Summary exhibit pursuant to Federal Rule of Evidence 1006 for Marissa Blair
              Summary exhibit pursuant to Federal Rule of Evidence 1006 for Natalie
PX-3326       Romero
              Summary exhibit pursuant to Federal Rule of Evidence 1006 for Seth
PX-3327       Wispelwey
              Summary exhibit pursuant to Federal Rule of Evidence 1006 for Thomas
PX-3328       Baker
PX-3329       FB - Facebook post by Chelsea Alvarado                                        ALVARADO00001172-C    ALVARADO00001172-C
PX-3330       FB - Facebook post by Chelsea Alvarado                                        ALVARADO00001295-C    ALVARADO00001295-C
PX-3331       FINANCIAL – Payroll for 2017 for Thomas Baker from Ivy Nursery                BAKER00001556         BAKER00001556
PX-3332       PHOTO - Photo of torch march on August 11, 2017                               JK00027404            JK00027404
PX-3333       DISC - Discord post                                                           JK00107678            JK00107678
PX-3334       DISC - Discord post                                                           NOCUSTODIAN00012264   NOCUSTODIAN00012264
PX-3335       DISC - Discord post                                                           NOCUSTODIAN00013310   NOCUSTODIAN00013310
PX-3336       DISC - Discord post                                                           NOCUSTODIAN00036652   NOCUSTODIAN00036652
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Exhibit No.   Description                                                                Beginning Bates       End Bates
PX-3337       DISC - Discord post                                                        NOCUSTODIAN00036773   NOCUSTODIAN00036773
PX-3338       DISC - Discord post                                                        NOCUSTODIAN00038721   NOCUSTODIAN00038721
PX-3339       PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00046257   NOCUSTODIAN00046257
PX-3340       VIDEO - Video recording of Robert "Azzmador" Ray on August 12, 2017        NOCUSTODIAN00048722   NOCUSTODIAN00048722
              ARTICLE - League of the South article by Michael Hill entitled, “The New
PX-3341       Red Terror”                                                                NOCUSTODIAN00048926   NOCUSTODIAN00048931
PX-3342       PHOTO - Photo of Benjamin D.                                               NOCUSTODIAN00049057   NOCUSTODIAN00049057
PX-3343       PHOTO - Photo of Cole W. at Unite the Right                                NOCUSTODIAN00049154   NOCUSTODIAN00049154
PX-3344       PHOTO - Photo of Benjamin D. at torch march on August 11, 2017             NOCUSTODIAN00049232   NOCUSTODIAN00049232
              SMS - Text message conversation between Richard Spencer and Christopher
PX-3345       Cantwell                                                                   RS01007875            RS01007875
PX-3346       PHOTO - Photo of August 12, 2017                                           SINES00004687-C       SINES00004687-C
PX-3347       AUD - Audio Clip from Radical Agenda EP339 – Cosmopolitan Bias             TBD                   TBD
PX-3348       AUD - Audio Clip from Radical Agenda EP339 – Cosmopolitan Bias             TBD                   TBD
              AUD - Audio Clip from Radical Agenda EP340 – Agreeing With Liberals
PX-3349       Blitzkrieg                                                                 TBD                   TBD
              AUD - Audio Clip from Radical Agenda EP340 – Agreeing With Liberals
PX-3350       Blitzkrieg                                                                 TBD                   TBD
PX-3351       Jason Kessler's social media posts                                         TBD                   TBD
PX-3352       SMS - Text messages between Jason Kessler and Matthew Parrott              JK00121854            JK00121854
PX-3353       DOC - Letter from the City of Charlottesville to Jason Kessler             JK00438307            JK00438308
PX-3354       TWITTER - Tweet by Michael B.                                              TBD                   TBD
PX-3355       VID - Tweet by Michael B.                                                  TBD                   TBD
PX-3356       DISC - Return of James Fields' discord account information                 DOJ00006170           DOJ00006170
PX-3357       EMAIL - Email from Discord to James Fields                                 DOJ00001079           DOJ00001080
PX-3358       MEDICAL - Health Record for Thomas Baker from UVA Health                   TBD                   TBD
              FINANCIAL - Statement of Certification and 2018 W-2 Wage and Tax
PX-3359       Statement for Thomas Baker                                                 TBD                   TBD
              EMAIL - Email from Move Medical Massage & Sports Therapy LLC to
PX-3360       Thomas Baker                                                               TBD                   TBD
              MEDICAL - Statement of Certification for Marissa Blair Billing and
              Insurance Records from UnitedHealthcare for documents produced at
              BLAIR00000954-C through BLAIR00001003-C and BLAIR00001004-C
PX-3361       through BLAIR00001017-C                                                    BLAIR00001018-C       BLAIR00001026-C
